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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ROBERT (BOB) ROSS,                              §
                                                §
  Plaintiff/Counterclaim Defendant,             §
                                                §
v.                                              §       Civil Action No. 4:22-CV-00343-Y
                                                §
ASSOCIATION OF PROFESSIONAL                     §
FLIGHT ATTENDANTS,                              §
MCGAUGHEY, REBER AND                            §
ASSOCIATES, INC., JULIE                         §
HEDRICK, AND ERIK HARRIS,                       §
                                                §
  Defendants/Counterclaim Plaintiffs            §

         APPENDIX TO MOTION FOR SUMMARY JUDGMENT BY DEFENDANT
             COUNTERCLAIM PLAINTIFF APFA FOR ENFORCEMENT
                OF THE ARBITRATOR’S DECISIONS IN THIS CASE

         Defendant Counterclaim Plaintiff Association of Professional Flight Attendants

(“APFA”), by its undersigned counsel, pursuant to Local Rules 7.1(i) and 56.3((a)(2), 56.5(c)

and 56.6, submits the following appendix to its motion and brief in support for summary

judgment in its favor (Docs. ___ and ___) on its counterclaim (Doc. 8 at PageID 107-117) to

confirm and enforce the decisions of the arbitrator against Plaintiff Counterclaim Defendant

Robert Ross (“Ross”) at issue in this case. Pursuant to this Court’s requirements, the portion of

each page of this appendix on which APFA relies in its brief in support of its motion have been

either underlined or bracketed in the margin.

 TAB                               DESCRIPTON                                     APFA APP.
                                                                                   PAGES

     A    Constitution and Policy Manual of the Association of Professional    001 – 019
          Flight Attendants (Excerpts)

     B    Arbitrator’s Decision issued on March 19, 2022                       020 – 043

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  D    Ross’s Post-Hearing Brief to the Arbitrator                         047 - 048

  E    Ross’s Resignation as San Francisco (SFO) Base President            049

  F    Non-Published Cases (Lexis or WestLaw)
            Allied Waste Systems Inc. v. Teamsters Local 767, 2007 U.S.    050 – 057
            Dist. LEXIS 43035, 2007 WL 1703634 at *11-13, 19-21
            (N.D. Tex. 2007) (J. Means)

            Ball Metal Container Corp. v. UAW Local 129, 2022 U.S.         058 – 070
            App. LEXIS 33214, 2022 WL 340573 at *7-8 (5th Cir. 2022)
            (unpublished).

            Bldg. Materials Mfg. Co. v. Steelworkers, 2020 U.S. Dist.
            LEXIS 37075, 2020 WL 1047895 at *7-8 (N.D. Tex. 2020)          071 – 077

            Hampton v. Int’l Longshoreman’s Ass’n, 2017 U.S. Dist.
                                                                           078 - 083
            LEXIS 218154 at *5-6 (S.D. Tex. 2007).


Date: September 20, 2022                   Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on this 20th day of September 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record by a means permitted by Rule 5(b)(2)
of the Federal Rules of Civil Procedure (“F.R.C.P.”).

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                                                               Exhibit A
              Constitution and Policy Manual of the APFA (Excerpts)
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                                                            Exhibit A
                                                              APFA App. 001
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                                                              APFA App. 019
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                                                               Exhibit B
                       Arbitrator’s Decision issued on March 19, 2022
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In the Matter of Arbitration Between__
                                         )
Melissa Chinery                          )
Sandra Lee                               )     RE: Article VII Charges
                                         )     Violations of APFA Constitution
      APFA Charging Party Members        )     and APFA Policy Manual
           (Plaintiff)                   )
                                         )
And                                      )
                                         )
Robert Ross, Former APFA National        )
President                                )
                                         )
      APFA Charged Party Member          )
           (Defendant)                   )
                                         )
__________________________________

Before:                                  Alternate Article VII Arbitrator Ruben R.
                                         Armendariz



Place and Dates of Hearing:              The Westin Irving Convention Center at Las
                                         Colinas, 400 West Las Colinas Boulevard,
                                         located in the City of Irving, Texas.

                                         June 16, 2021, continued to November 17 and 18,
                                         2021

Appearances:

      For Charging Party Members:        Melissa Chinery, Representative
            (Plaintiff’s)                Sandra Lee, Representative


      For Charged Party Member:          Kit Gomez Alba, Esq.
            (Defendant)                  Gina Guidry, Representative
                                         Robert Ross, Representative




                                                                       Exhibit B

                                                                           APFA App. 020
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                                              INTRODUCTION

        This is an Article VII Hearing that was heard at the Westin Irving Convention Center at
Las Colinas, Irving, Texas on June 16, 2021 and continued to November 17 and 18, 2021. The
arbitration hearing was transcribed by Carson Reporting & Associates.

        Charging Party Melissa Chinery and Sandra Lee, will be hereinafter referred to as the
“Plaintiff.” Charged Party Robert Ross, will be hereinafter referred to as the “Defendant.”

       Plaintiff presented for testimony Cathy Lukensmeyer, Erik Harris, Michael Trapp, John
Nikides and Melissa Chinery.

        Defendant presented for testimony Casey Veloso, Anthony Thuriault and Robert Ross.

        All of these witnesses were afforded full opportunity to be heard, to be examined, and to
be cross-examined. The parties were allowed to introduce evidence on the issues. Based on the
entire record, my observation of the witnesses, examination of the evidence, exhibits presented,
post-hearing briefs1 submitted, and arguments presented therein, this arbitrator makes the
following findings and renders the following Discussion, Opinion, and Award.

                                                 THE ISSUES

        Plaintiff submits the issue to be addressed by the Alternate Article VII Arbitrator is stated
as follows:

        Did Bob Ross, the Defendent herein violate the APFA Policy Manual and the
        APFA Constitution by engaging in malfeasance, fraud, misappropriation of funds
        while he was in office during the term of April 1, 2016 to March 2, 2018. If so,
        what shall be the appropriate remedy?

    Defendant submits the issue to be addressed by the Alternate Article VII Arbitrator is stated as
follows:

        Whether the Plaintiff’s allegations raised against him are true or false? Did former
        National President Ross knowingly or “willfully” violate any express Article of the
        APFA Constitution or Policy Manual? If so, what is the appropriate remedy?

                                                     FACTS

       The facts in this matter center on Defendant Ross assuming office as the APFA National
President and moving to Dallas, TX during the months of April 2016 through October 2016.



1
  The parties agreed to submit post-hearing briefs by e-mail to arbruben@gmail.com on January 31, 2021 and extended
to February 18, 2021. The post-hearing briefs were timely emailed and received. Thus, the arbitrator finds the record
in this matter closed on February 18, 2021.


                                                         2
                                                                                                APFA App. 021
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Defendant Ross is alleged to have misused the APFA credit card on several matters during his
term in office.

       Plaintiff alleged in the Article VII grievance and heard are described as follows:

       Defendant is charged with eight (8) specific violations of the Policy Manual and the APFA
Constitution.

   (1) Misuse of Credit Card:

       As APFA National President, Plaintiff Ross was provided an APFA credit card.
          a. Defendant Ross spent thousands on purchasing sheets, blankets, pillows,
             mattresses, furniture as well as smaller items such as toilet paper and candy.
          b. Defendant Ross purchased over $3600 in furniture on his APFA credit card and had
             it delivered to his personal residence in South Lake, Texas.
          c. Defendant Ross charged an APFA rental truck in August 2016.

   (2) Rental Car:
       Defendant Ross is charged with billing APFA for a rental car for six months at a cost of
       over $6200.00 Ross was considered living in the DFW area and was not entitled to a
       rental car.
   (3) Reimbursement:
       Defendant Ross claimed mileage that he was not entitled to, including the period when he
       had a rental car.
   (4) SAF/MEA and meal expenses--Change of formula to include Meal Expense
       Allowance (MEA) and Special Assignment Fee (SAF):
       Defendant Ross and his fellow officers changed the longstanding formula for Vacation
       reimbursement. Defendant Ross also violated the detailed language of the APFA expense
       policy by charging thousands of dollars of unauthorized meals to his APFA credit card.
   (5) Payout of Vacation-Change of Formula to include MEA and SAF and an office stipend
       in with wages when considering the reimbursement of sick and vacation time. This was
       discovered when the pay for the Vice President, Secretary and Treasurer was looked at
       more closely by the next administration long after the Ross Administration had left office.
   (6) Maintaining an Office:
       Defendant Ross claimed thousands for maintaining an office he was not entitled to.
   (7) Payout of Vacation Days:
       Defendant Ross received compensation for expense payments beyond his term in office.
   (8) Buyout: Defendant Ross collected compensation in two forms. (1) MEA and SAF (2)
       Maintaining an office outside Residence.

        Defendant argued at the hearing that these Article VII charges were filed by the Charging
Party (Plaintiff) as a weapon against Ross and the Officers of the Ross Administration.

       This matter was submitted to this Alternate Article VII Arbitrator to make a decision on
the charges cited herein.



                                                3
                                                                                 APFA App. 022
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     THE RELEVANT PORTIONS OF THE APFA CONSTITUTION AND POLICY
                              MANUAL

THE APFA CONSTITUTION

Article I. Section 7. DEFINITIONS:

As used in this Constitution, the following words or terms shall mean:

       E.      "Duty" means an obligation of performance, care or observance
               which rests upon a person in any position or fiduciary capacity with
               or as a member of the APFA.
       M.      "Privilege" means a benefit or advantage enjoyed by a person in
               any position or fiduciary capacity with or as a member of the APFA.
       O.      "Responsibility" means an obligation to answer for a duty to act or a
               failure to act by a person in any position or fiduciary capacity with or as
              a member of the APFA.
       Q      "Rights" means those powers and/or privileges inherent to a person
              in any position or fiduciary capacity with or as a member of the
              APFA.

Article II. Section 2. OBLIGATIONS OF MEMBERS:

   Members of the Association do accept and agree to abide by this Constitution
   of the APFA as it is in force or as it may be altered, added to, deleted from, or
   amended in accordance with the provisions of this Constitution. Ignorance of
   this Constitution will not be considered a proper excuse for any violation of the
   provisions contained herein. Inherent in the rights, privileges, duties, and
   responsibilities of membership in the APFA is the obligation to responsibly
   exercise these rights, privileges, duties, and responsibilities.

   Section 3. BILL OF RIGHTS OF MEMBERS

       B.      All members of the APFA shall have access to all administrative and
               financial reports and records except as provided in Section 5.B(1) of
               this Article II.

Article III, GOVERNMENT OF THE APFA
Section 3 Board of Directors
       A. The Board of Directors is authorized and empowered to take any and all
            lawful action consistent with this Constitution to safeguard and protect
            the APFA, and the rights and privileges, duties and responsibilities of
            the officers, representatives and members of the APFA. The Board of
            Directors is authorized to interpret this constitution and to establish,
            prescribe and adopt such other policies which may be consistent with
            this constitution as required for the direction and management of the
            affairs of the APFA.


                                                   4
                                                                                       APFA App. 023
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      L.     Jurisdiction and Duties: The Board of Directors shall have the following rights,
             privileges, duties and responsibilities;

             1.  Set policy for the APFA;
             2.  Modify the APFA Policy Manual as it deems appropriate;
             3.  Approve the annual budget;
             4.  Set annual goals for the APFA as it deems appropriate;
             5.  Assign to each Ad Hoc Member of the Executive Committee those Presidents
                 with whom s/he shall maintain regular contact and communication;
             6. Determine the number of administrative, committee, and support positions as
                 may be required under Article IX of this Constitution to meet the needs of the
                 membership;
             7. Nominate and appoint members of the National Balloting Committee and
                 Budget Committee when appointments are appropriate;
             8. Review the base assignment of any OAL Operation or satellite and, when
                 necessary alter operation or satellite assignments.
                 While not limited to the following, the Board of Directors may:
             9. Review the dues structure of the Association;
             10. Override the Executive Committee rejection of a proposed Collective
                 Bargaining Agreement;
             11. Establish the Regions and the National Vice President will assign the
                 Regional Representatives;
             12. Establish, combine, delete or change the duties, responsibilities and specific
                 job descriptions of administrative, committee and support personnel in
                 accordance with the provisions of Article IX of this Constitution for budgetary
                 or policy reasons, taking into consideration the recommendations of the
                 National Officers;
             13. Direct special mailings to the membership;
             14. Recognize the accomplishments and achievements of members of the APFA;
             15. Give annual awards;
             16. Confer Honorary membership;
             17. Approve hardship dues forgiveness and review other hardship requests that
                 may be brought before the Board;
             18. Appoint special committees;
             19. Appoint or change the Article VII Arbitrator or Alternate Article VII
                 Arbitrator(s);
             20. Approve Article VII administrative changes;
             21. Suspend officers or representatives pursuany to Article VII;
             22. Take any and all appropriate action deemed necessary by the Board and in
                 accordance with this Constitution to promote the welfare of the members of
                 the APFA, and this shall include the right to reverse an action or decision of
                 the Executive Committee, National Officers or other representatives, except as
                 provided in this Article III, Section 4.J.11 or Article VIII, Section 6.Bof this
                 Constitution.

Article VII. Section 1. Grounds For Charges:



                                              5
                                                                               APFA App. 024
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Any member is subject to fine, suspension or expulsion, or suspension from or
removal from office, for any of the following acts:

   A. Failure to pay dues, assessments or penalties levied by the Association.

   B. Advocating, or working toward, the displacement of the APFA as
      bargaining representative (providing that advocating, or working toward an
      affiliation, merger or federation of the APFA pursuant to Article XII of this
      Constitution shall not be grounds for discipline);

   C. Willfully acting as a strike breaker during any work stoppage duly
      authorized by the Association; (1) Notwithstanding Section 1.C., above
      (which provides as a grounds for charges willfully acting as a strike breaker
      during any work stoppage duly authorized by the Association) APFA shall
      not process any charge of willfully acting as a strike breaker during the
      November 1993 strike against American Airlines.

   D. Willful violation of a Flight Attendant's Collective Bargaining Agreement

   E. Theft or embezzlement of Association monies or property

   F. Willful violation of an express Article of this Constitution, or of a proper
      and express written resolution or policy of the Board of Directors or the
      Executive Committee

   G. Willfully acting in a manner that causes the Association to violate its legal
      obligations; or

   H. Willfully bringing charges without reasonable basis against another
      member, officer, or representative of the Association, should such charges
      be dismissed for any reason by the Article VII Arbitrator designated herein,
      or should such charges not be sustained by the Article VII Arbitrator.

APFA POLICY MANUAL

Section 5.G.1. Trip Removal and Expense Policy – Other Expenses

   1. Actual out-of-pocket expenses incurred by a member in conducting APFA
      business will be reimbursed to the extent provided in this policy. In all cases,
      receipts must be submitted to verify the expense and to substantiate
      reimbursement. Expense reimbursement is not intended to be for the
      personal profit of the APFA member, but to compensate him / her for actual
      expenses and losses and is exclusive of other applicable reimbursement
      provisions in this policy.

Section 5.F.5.a. Trip Removal and Expense Policy–Meal Expense/Allowance


                                                 6
                                                                                   APFA App. 025
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   a. Representatives are authorized to pay for and to be reimbursed for the meal,
      snack or beverage of a guest(s) or other business associate(s) on those
      occasions when the representative would reasonably be considered the host
      of an authorized APFA function or meeting.

   (1) Discretion and good judgment should be used when exercising this privilege
       and when incurring such legitimate and necessary Business-Related
       Expense. Abuse, as determined by the Executive Committee, may lead to
       limitation or revocation of this privilege.

   (2) The reimbursement of a Business-Related Expense shall not count against
       a representative's MEA.

Section 5.H. Relocation

       1.     Upon assuming office/appointment, National Officer(s)/Chairs shall
              be expected and, for the purpose of this policy, shall be considered
              to reside in the DFW area. The DFW area, for purposes of this
              policy, shall not exceed a seventy-five (75) mile radius from APFA
              Headquarters.
       2.     If, on the date of his/her election, a National Officer does not reside
              in the DFW area, s/he shall be reimbursed for actual moving
              expenses for relocation from/to his/her place of permanent primary
              residence by a certified mover as a condition of employment with
              the APFA, to a maximum of ten thousand ($10,000) per round trip
              move.
                   a. The provisions of H.2 above must be exercised within six (6)
                       months following the end of the last term of office of the
                       National Officer and must be substantiated by invoice or bill.

       3.     A National Officer may choose not to relocate to the DFW area but
              may, instead, choose to accept suitable furnished accommodations
              paid for by the APFA as provided in H.7. below. If a National
              Officer accepts such accommodations in lieu of relocation expenses
              as provided in H.2. above, the following will apply:

       ….

       7.     Incoming National Officers incoming and other Representatives
              shall normally be able to use outgoing National Officers or
              Representatives furniture and furnishings rather than replace these
              items with each change of National Officer or Representative,
              subject to the right to reasonably refuse furniture and furnishings.

                                  PLAINTIFF’S ARGUMENT




                                                7
                                                                                  APFA App. 026
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        Plaintiff argued the violations center on Defendant Ross assuming office as the APFA
National President and moving to Dallas, TX during the months of April 2016 through October
2016. Defendant Ross misused the APFA credit card on several matters during his term in office.
The APFA Policy Manual provides that National Officers will be provided up to $10,000 in
moving expenses or, provided they can demonstrate a permanent residence outside of DFW, the
officer can get a corporate apartment furnished by APFA. Defendant Ross leased an apartment at
the Bear Creek complex on June 1, 2016, thus he chose both options for relocation when he is only
to choose one option. Defendant Ross purchased $3600 of furniture from Ashley Furniture to be
delivered to his home in South Lake, Texas. Defendant Ross had a rental car for six months at a
cost of $6,200.00. He was living in the DFW area and was not entitled to a rental car. Defendant
Ross claimed mileage when he was not entitled to claim mileage. Defendant Ross and his fellow
officers changed the longstanding formula for Vacation reimbursement. Defendant Ross violated
the detailed language of the APFA expense policy by charging thousands of dollars of
unauthorized meals to his APFA credit card. The change of formula to include MEA and SAF with
an office stipend in wages when considering the reimbursement of sick and vacation time. This
was discovered when the pay for the Vice President, Secretary and Treasurer was looked at more
closely by the next administration long after the Ross Administration had left office. Defendant
Ross claimed for maintaining an office he was not entitled to. Defendant Ross received
compensation for expense payments beyond his term in office. Defendant Ross collected
compensation in two forms. (1) MEA and SAF (2) and maintaining an office outside Residence
when he was not working.

                                  DEFENDANT’S ARGUMENT

       Defendant Ross argued the alleged violations were the direct result of the “Ross Transition
Agreement.” Defendant argued that charged violation No. 5: Payout of Vacation, Charged
Violation, No. 6: Maintaining an Office, Charged Violation No. 7: Payout of Vacation Days and
Charged Violation No. 8: Buyout are a part of the Transition Agreement (TA).

        Defendant Ross argued the “Ross Transition Agreement” was deemed to be a legally
authorized by Arbitrator Valverde in the Arbitration case, Moyer vs BOD (2018) dated September
21, 2021. Arbitrator Valverde ruled the dispute that Ross received a benefit was “without merit.”
The charges in that case were dismissed. Defendant argued that it stands to reason the accusers
(Plaintiff) would have no claim that Defendant Ross received a benefit from the “Ross Transition
Agreement” that he was not entitled to and any alleged violation stemming from his acceptance of
the agreement, should be dismissed.

        Defendant Ross argued the arbitrator, designated in these Article VII proceedings, has the
jurisdiction and authority to rule on the validity of charges and the remedy sought by the Plaintiff
to the allegation. Did former National President Ross knowingly or “willfully” violate an express
Article of the APFA Constitution or Policy Manual, and did Ross “willfully” violate any express
Article of the Constitution and/or Policy Manual when he accepted the terms of the “Ross
Transition Agreement”? The arbitrator also has the jurisdiction and authority to dismiss the Article
VII Charges against the Defendant.




                                                 8
                                                                                  APFA App. 027
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       Defendant Ross argued with respect to the misuse of the APFA credit card that multiple
alleged purchases violated Policy Manual 5.G – Business Related Expenses. Defendant argued
Business Related Expenses are actually defined in Policy Manual Section 5.F.5. Section 5.G,
“Other Expenses” where it states,

       5.G Other Expenses – Actual out-of-pocket expenses incurred by a member
       conducting APFA business will be reimbursed to the extent provided in this policy.
       In all cases, receipts must be submitted to verify the expense and to substantiate
       reimbursement. Expense reimbursement is not intended to be for personal profit of
       the APFA member, but to compensate him/her for actual expenses and losses and
       is exclusive of other applicable reimbursement provisions in this policy.

        Defendant Ross argued the Plaintiff cited the wrong policy in their support of these charges,
evidence of their lack of understanding the process and policy. No purchases were made on the
APFA union credit card were submitted for reimbursement on the weekly/monthly expenses.
Receipts were submitted for each credit card charge and reviewed per policy by the appropriate
accounting and legal departments. Plaintiff admitted they did not review any other administrations
union credit card charges for similar purchases or past practice or for expenses when said officers
relocated to DFW.

         Defendant Ross argued with respect to the misuse of a Rental Car was billed to the National
President’s department during the timeframe according to the Plaintiff allegation, is coincidental
to the timeframe of the Ross relocation, but was not as a condition of the relocation. 2016 APFA
Policy Manual Section 5.H – Relocation – was silent on the use of rental cars in connection with
or during the timeframe of a relocation. This issue was previously reviewed by the APFA BOD at
the time the email was sent to the National Treasurer in March 2019. The APFA BOD and Budget
Committee members tasked with this review took no action on this matter and the issue was closed.
Defendant argued that several rental cars were rented through the President’s office for numerous
representatives during this time frame and not specifically to Bob Ross for personal use.
Department representatives having access to rental cars during this timeframe included, but is not
limited to, uniform committee members, toxic fume events and other committee representatives.
At no time did the Plaintiff cite evidence that a rental car was provided for Ross’ sole personal use.

       Defendant Ross argued with respect to mileage the following that he did not fail in his
responsibility to act in accordance with the APFA Policy Manual by citing a violation of Section
5.G. – Other Expenses / Mileage.
       5.G.1.b. (1).(a) Mileage:
       [2]. Mileage shall not be reimbursed for travel between the representatives’ residence and
       an APFA office that has been provided for the primary use of the representative for a
       period in excess of 31 days.

       Defendant Ross states that the Plaintiff have formed their own theory and alleged that
former APFA National President, Bob Ross is in violation for claiming mileage for attending
meetings with the Company or claiming mileage for any event outside of APFA headquarters
while conducting APFA business while using a rental car. At no time did Ross file for
reimbursement for mileage from his residence to the APFA headquarters. The Plaintiff did not


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present evidence that Ross claimed a mileage reimbursement while using a rental car and not his
own vehicle. Defendant Ross submits Section 5.G.b.1.a.1., is silent on a specific vehicle to be used
in the reimbursement of mileage. At any given time, an APFA Representative could be subject to
using their personal vehicle or a “Rental Car” for conducting APFA business.

        Defendant Ross argued with respect to SAF/MEA and meal expenses that he did not fail in
his responsibility to act in accordance with the APFA Policy Manual by citing a violation of
Section 5.F: Business Related Expenses. He states that the APFA had no policy on how to
differentiate or separate any amounts from the guaranteed MEA/SAF totals when National
Officers, Regional Representatives, National Chairs, or other Representatives, who are authorized
a full month trip removal pay and are receiving guaranteed stipends of MEA/SAF and are
considered a host of an authorized APFA meeting. APFA also had no policy in place until 2021,
for a National Officer in relation to one’s union credit card practice.

Special Assignment Fee (SAF) Policy:
The intent of the SAF is explained in Section 5.E.1

5.E.1.a. – The intent of the Special Assignment Fee (SAF) is to offer payment to the representatives
for the days that they conduct APFA business in excess of their normal scheduled bid line.
Amounts paid under this arrangement are reportable as wages on the representative’s W-2 and are
subject to withholding and payment of employment taxes.

5.E.4.a.(1) – If a Representative performs work for the APFA, and is not otherwise paid for that
day’s work by means of an APFA Paid Trip Removal.......such representative shall receive the
Daily SAF for work performed in accordance with the following schedule.

Calculation for the National Officers’ SAF is specifically delineated in Section 5.E.4.c – SAF
Rates – Monthly –

(c)National Officers and Regional Representatives: $400 minimum, but not to exceed $500
maximum.

Meal Expense/Meal Expense Allowance (MEA)

       Defendant Ross argued with respect to the payout of vacation that he did not fail in his
responsibility to act in accordance with the APFA Policy Manual by citing a violation of 5.E.4
Special Assignment Fee (SAF) above and 5.F.1 Meal Expense Allowance (MEA) rates.

Guaranteed MEA at Residence is explained in Section 5.F.3.a

5.F.3.a – On days a representative is both trip removed and performing work for the APFA at
his/her residence city, such representative will receive a “Guaranteed MEA at Residence” in lieu
of any actual MEA at residence as provided in F.2.




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5.F.3.d – National Officers, Regional Representatives, National Chairs and other representatives
who are authorized full month trip removal or the equivalent shall receive a “Guaranteed MEA at
Residence” of Three Hundred dollars ($300) per month.

Section 5.F.4.a – Calculation of MEA
National Officers, Regional Representatives, National Chairs and other representatives who are
authorized full month trip removal or the equivalent (e.g. “Payback as provided in D above) shall
receive a minimum MEA of Three Hundred dollars ($300) per month

Maintaining an Office Outside of Residence (MOOR)

Maintaining an Office outside of residence is required of APFA President, as the office is located
and maintained at APFA Headquarters and is paid in addition to SAF.

5.E.4.c.(3).(a) – A National Officer, Regional Representative, National Chair, Base President
and/or Base Vice-President who is required to maintain an APFA office outside of his/her place
of residence shall be paid an additional two hundred fifty dollars ($250) per month over and above
the minimum monthly SAF provided above, or the actual SAF subject to reimbursement,
whichever is greater.

5.F.1.a.(1) – Per Diem Rate (Accountable Plan)
(1) All members shall be entitled to an APFA Meal Expense Allowance (MEA) while
performing work for the APFA. Also required for the purposes of calculating how much Special
Assignment Fee (SAF) an officer receives, it is imperative that the officer fill out the required
weekly paperwork that would ascertain how many hours were worked for the APFA.

        Defendant Ross argued that all payouts and formula used to calculate the payout for
vacation, sick and end of term buyout of accrued and unused Sick and Vacation days occurred
after former APFA President Ross had left office and was the product of a Transition Agreement
and not specific to APFA Policy. Through sworn testimony, former APFA National Treasurer,
Eugenio Vargas, used full salary vs basic salary in these calculations, which include MEA and
SAF in compliance with the terms of the controlling document, the Ross TA.

        Defendant Ross argued that a National Officer or Regional Representative on a full month
trip removal shall receive per policy a $500 maximum of SAF payment. National Officers,
Regional Representatives, National Chairs and other APFA Representatives on a full month trip
removal shall receive a minimum Guaranteed MEA of $300 per month. Each National Officer, per
policy, each month received the guaranteed amount of $1050 ($500 SAF, $300 MEA and $250
MOOR) in addition to basic salary. This amount was determined by the APFA Accounting
Department. and was the combined stipend included as Salary and Benefits per the Ross TA used
by the former APFA Treasurer, after Ross left office, to calculate the daily rate of unused Sick and
Vacation Days that Ross was not allowed to use during his final 5 months as National President to
“make him whole.” These amounts were paid after Ross left office and as a condition of the Ross
TA. It is irrational for the Plaintiff to request that weekly timesheets were required to receive these
payments for the months after Ross left office.




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       Defendant Ross argued that on January 14, 2022, an APFA document surfaced that was
withheld from document retrieval that corroborates the Policy Manual was not the controlling
document to the Ross TA and therefore Ross was paid in compliance with the TA. This document
would have been exculpatory to the defense of Mr. Ross on this and other matters pertaining to the
Ross TA had it been provided.

         Defendant Ross with respect to “maintain an office outside of residence” that he did not
fail in his responsibility to act in accordance with the APFA Policy Manual by citing a violation
of Section 5.E.3 Maintaining an Office Outside of Residence. The maintaining an office outside
of residence is required of APFA President, as the office is located and maintained at APFA
Headquarters and is paid in addition to SAF.

5.E.4.c.(3).(a) – A National Officer, Regional Representative, National Chair, Base President
and/or Base Vice-President who is required to maintain an APFA office outside of his/her place
of residence shall be paid an additional two hundred fifty dollars ($250) per month over and above
the minimum monthly SAF provided above, or the actual SAF subject to reimbursement,
whichever is greater.

        Defendant Ross argued that each National Officer, per policy, each month received the
guaranteed amount of $1050. This amount included $500 for SAF, $300 for MEA and $250 for
office outside of residence. This amount was determined by the APFA Accounting Department
and provided to all National Officers as part of their salary. This charge also should be dismissed
as Ross did not pay himself the payments under the terms of the Ross TA.

        Defendant Ross argued with respect to the payout of vacation days that he did not fail in
his responsibility to act in accordance with the APFA Policy Manual by citing a violation of
Section 6.B.1: National Officer Salary and Benefits. Defendant Ross states that any change to the
formula used to calculate the payout for vacation, sick and end of term buyout occurred after
former APFA President Ross had left office. Through sworn testimony, former APFA National
Treasurer, Eugenio Vargas, used full salary vs basic salary in these calculations, in compliance
with the Ross TA.

        Defendant Ross argued the Ross Transition Agreement stated Ross would be paid any
and all accrued and unused sick and vacation from April 1, 2016 – July 31, 2018. The calculation
of the unused days was to be paid as though Ross was able to use any of those days while in
office as President for his remaining 5 months had he not resigned. There was no agreement that
these days were to be paid per Policy as the Plaintiff insists. An investigation into the payout of
the Sick and Vacation days paid, brought about by Plaintiff’s allegations that it was discovered
Ross was not properly paid “All” of his accrued and unused Sick days from April 1, 2016 – July
31, 2018. Ross earned and did not use 18 Sick days in each of the fiscal years April 2016-March
2017 and April 2017-March 2018. Ross was only paid Per Policy 6.B.3.d Offset/Loss of Sick
Time, of 12 days for each fiscal year. The additional 12 days, (6) days Apr. 2016-2017 and (6)
days Apr. 2017-2018 have still not been acknowledged or paid to Ross in accordance with the
Ross TA. The value of these lost Sick days, depending on the calculation used, is in excess of
$3400 still owed to Ross.




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        Defendant Ross argued that he received a buyout but it is cited as the Ross Transition
Agreement. The charging party submits that Ross collected more money than if he had remained
in office for the four (4) months left in his term. However, once Ross left office, he asked for and
collected from the APFA compensation in two forms he was not entitled to per the “agreement.”
One form of compensation which he received every month was MEA and SAF and Maintaining
an Office Outside Residence. Mr. Ross continued to collect one thousand and fifty dollars ($1050)
a month.”

“He collected these payments for the months of: March, April, May, June and July of 2018. This
stipend is clearly hinged on reimbursement related to work and not part of the National Officer
salary. To accept this money is in clear violation of the intent of the Policies written that allows a
representative extra compensation for working hours above and beyond their scheduled workload.
By taking this money this is another violation of the Section 5 policies outlined above.”

        Defendant Ross argued in Item no. 3 of the Ross Transition Agreement states “APFA
agrees that Ross will continue to receive from APFA his current full salary and benefits, including
full insurance coverage, through July 31, 2018. Full Salary for a National Officer, per the APFA
Policy Manual, Section 5 entitles the officer to receive guaranteed MEA, SAF, and Office Outside
of Residence payment. This guaranteed payment is $1050, which is considered gross wages and
recorded in “Box 1” of the National Officers W-2 tax form.

        Defendant Ross argued that former APFA National Treasurer Vargas has stated in sworn
testimony he used full salary vs basic salary for all calculations in compliance with the Ross
Transition Agreement. This full salary calculation would include the benefits of MEA, SAF and
any accrued and unused sick and vacation that he would have coming to him as President for those
5 months (4/1/16-7/31/18), as if he remained in office.

                                   DISCUSSION AND OPINION

        Defendant Ross assumed office on April 1, 2016 as National President of the APFA. In
that position he is entrusted with a Fiduciary duty to the APFA for cost and expenditures. This
report revealed that Defendant Ross abused his fiduciary duty to the members of the APFA. The
arbitrator has consolidated certain violations in this report.

   1. Misuse of the APFA Credit Card and
   2. SAF/MEA and Meal Expense Policy

        Plaintiff argued in these allegations that Defendant Ross moved into the South Lake home
during the week of August 11, 2016. Defendant Ross used the APFA credit card for his personal
use and was not for any Union related business activities and abused his fiduciary duty to the
APFA. He charged the renting of a moving truck on August 20, 2016 to move furniture after being
reimbursed for moving his belongings from Sacramento. He has purchased tools, sheets, blankets,
pillows, mattresses, furniture and even smaller items such as toilet paper and candy. None of the
larger items were ever inventoried or returned to the APFA upon cessation of his term of office.
Defendant Ross elected to relocate to the DFW area and was afforded a moving expense
reimbursement, he was not entitled to buy any furnishings using APFA funds. Plaintiff argued
Defendant Ross violated Section 5.G. Other Expenses of the Policy Manual. Kim Ross, wife of


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the Defendant packed up the California house in August 2016. Defendant Ross’s wife and kids
stayed in 5 different hotels as they drove across the country, including vacation stops at the Grand
Canyon and Flagstaff. They used the union credit card for these hotels, except for one hotel stay
on August 2nd that Ross expensed in his weekly report to the APFA. It also appears in the
documentation that APFA paid for all of Ross’s family meal expenses. (CLX-17, CLX-37, and
CLX-42) All of these expenses were billed to APFA as part of the cost of moving the Ross family
from California to Texas. Defendant Ross was not present for any of these hotel stays.

        The arbitrator finds that if his family was driving directly from California to Dallas, Texas,
the APFA would not have incurred additional costs for hotels, meals and mileage. It appears APFA
paid for Ross’s family vacation in the Grand Canyon with Defendant Ross’ APFA credit card. The
cost of this vacation to include meals and hotels should be borne by Defendant Ross. This is an
abuse of Ross’s fiduciary duty to the APFA membership. This is a per se violation of the Policy
Manual.

        On August 9, 2016 Defendant Ross bought tools at Home Depot on the APFA credit card.
On this same date, the APFA handyman delivers APFA furniture to the South Lake home. (CLX-
4). On August 12, 2016 the moving pods that Ross had rented arrived to the South Lake house. On
this same date, Defendant Ross charges $64.30 for gas at Shell Oil in South Lake on the union
credit card and bills it to the move but he also claimed mileage and was paid. On August 13, 2016
Defendant Ross purchased $3,637 in furniture on the APFA credit card from Ashley Furniture
(CLX-40) and had it delivered to his personal residence at the South Lake home. The furniture
was delivered to Kim Ross at the South Lake home in two installments – on August 18, 2016 and
August 25, 2016. Defendant Ross claimed the family did not move until September 2016 but the
record evidence clearly revealed they actually moved in August, 2016. A couple of bed frames and
small items were returned costing $331.28 to Ashley Furniture on August 24, 2016 (CLX-40).
John Nikides testified that Defendant Ross was ordered by APFA to repay $3600.00 to APFA for
this furniture and he did so through payroll deduction. Here, Defendant Ross abused his fiduciary
duty to the members of the APFA.

        Plaintiff argues Defendant Ross used the APFA credit card for his own personal use.
Several meals were charged on the credit card and the participants were National Officers, the
Officers and their Regional Representatives as well as himself eating alone. This violates Section
5.F. Meal Expenses/Meal Expense Allowance (MEA), 5. Business Related Expenses, a.1.2.
Plaintiff argues this violates the following:

Section 5 Business Related Expenses:
       a. Representatives are authorized to pay for and to be reimbursed for the meal,
           snack or beverage of a guest(s) or other business associate(s) on those
           occasions with a representative would reasonably be considered the host of an
           authorized APFA function or meeting.
   1. Discretion and good judgment should be used when exercising this privilege and
       when incurring such a legitimate and necessary business-related expense. Abuse,
       as determined by the executive committee, may lead to the limitation of revocation
       of this privilege.




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   2. In no case may an individual who is otherwise receiving an APFA MEA in any
      manner be considered the “guest” for the purposes of this provision.

Section 5.G of the Policy Manual provides the following:

       Actual out-of- pocket expenses incurred by a member in conducting APFA business
       will be reimbursed to the extent provided in this policy. In all cases, receipts must
       be submitted to verify the expense and to substantiate reimbursement. Expense
       reimbursement is not intended to be for the personal profit of the APFA member,
       but to compensate him /her for actual expenses and losses, and is exclusive of other
       applicable reimbursement provisions in this policy.

       Additionally, the items Defendant Ross purchased were for his personal benefit such as dry
cleaning, trips to the gas station, 7-eleven, and a monthly GOGO internet subscription.

        Plaintiff argued Defendant Ross violated the Meal Expense provisions of the APFA Policy
Manual during his term in office. Ross claimed per diem and actual meals. He used the APFA
credit card for meals at fast food restaurants by himself. As a National Officer Defendant Ross
received a guarantee MEA ($300.00 per month). The APFA Policy Manual does not permit
National Officers to charge actual meals in their city of residence. National Officers are provided
Guaranteed MEA instead of actual meal expense. There are no provisions for National Officers to
receive actual meals. Actual meals are covered in F.2 of the Policy Manual and do not include the
National Officers or other full-time representatives nor is there a working lunch exception. The
only time an APFA National Officer can purchase actual meals is the hosting exception.

        Defendant Ross argued with respect to SAF/MEA and meal expenses that he did not fail in
his responsibility to act in accordance with the APFA Policy Manual by citing a violation of
Section 5.F: Business Related Expenses. He states that the APFA had no policy on how to
differentiate or separate any amounts from the guaranteed MEA/SAF totals when National
Officers, Regional Representatives, National Chairs, or other Representatives, who are authorized
a full month trip removal pay and are receiving guaranteed stipends of MEA/SAF and are
considered a host of an authorized APFA meeting. APFA also had no policy in place until 2021,
for a National Officer in relation to one’s union credit card practice.

       Defendant Ross additionally argued the parties cited the wrong policy in support of these
charges, evidence of their lack of understanding of the process and policy. No purchases were
made on the APFA union credit card were submitted for reimbursement on the weekly/monthly
expenses. Receipts were submitted for each credit card charge and reviewed per policy by the
appropriate accounting and legal departments.

        The arbitrator finds the Plaintiff provided sufficient evidence to establish merit and a
violation of the Policy Manual to reveal Defendant Ross abused his fiduciary duty to the
membership of the APFA. Under these circumstances, the APFA will hire an Independent Auditor
to perform the task of auditing Defendant Ross purchase of meals and other items on the APFA
credit card from April 1, 2016 through July 31, 2018. Record evidence revealed that he had
purchased meals and used the APFA credit card for a personal vacation for his family at the Grand


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Canyon and other items that are not business related. The Independent Auditor will have to
determine if such meal(s) or other purchases were for conducting union business or not. Defendant
Ross as the National President was required to submit documentation to support all credit card
expenses for meals as well as other expenses. If no documentation was provided to support the
expenses were for union related business, then Defendant Ross will be required to repay APFA for
all of those expenses not substantiated. Moreover, the audit must comply with federal income tax
guidelines which distinguish between personal and nonpersonal expenses. Additionally,
Defendant Ross is hereby Ordered to repay all of the Independent Auditor’s fee to the APFA.

3. Rental Car

        Plaintiff argued Defendant Ross violated the APFA Policy Manual by having a rental car
in DFW for six months. The Policy Manual in Section 5.G.1 does not allow a National Officer to
have a rental car in base. Defendant Ross upon assuming office is considered for all expenses to
be living in Dallas. The only way a rental car would be approved is if the APFA Representative
was renting it away from their city of residence per 5.G.1.b. If it is used for personal reasons, it is
considered income. Moreover Section 8.D governs the use of APFA provided vans and cars,
“Automobiles owned or leased by the APFA are to be used primarily to conduct APFA business
during normal business hours. After hours, they may be reserved on a first-come, first served basis
for the use of representatives who reside outside of the DFW metropolitan area,” Section 8.D.1. in
Section 8.D.2 a Regional Representative whose residence is outside of DFW may get a rental car
when leased cars are not available. Cathy Lukensmeyer testified that National Officers should not
be getting a rental car in Dallas for their personal use. Defendant Ross received a rental car from
March 2016 until October 16, 2016. He booked a rental on March 28, 2016 for 24 days. On May
5, 2016, Defendant Ross upgraded the car to a luxury car. The car rentals were updated several
times into October 2016. At hearing, Defendant Ross denied having a rental car but when
confronted with rental car receipts, he then claimed it was for his department and not for him.
Several emails (June 16, 2016 extended the rental to July 29, 2016, July 18, 2018, September 30,
2016 extended to October 3, 2016) from APFA secretaries disclosed it was for Bob’s rental car
(CLX-45). Additionally, ross did not have a personal car in DFW to commute to APFA
headquarters. Here, the arbitrator finds Defendant Ross abused his Fiduciary duty to the
membership of the APFA by renting cars for his personal use to commute to work.

         Defendant Ross did not move his wife's car to Dallas until August, 2016 so Ross was using
APFA rental cars exclusively during that period. He charged APFA for the mileage, hotels, gas
and meals. Ross admitted he did not have a vehicle to get to work so he used the rental car. Plaintiff
argued that if an Employer provides an automobile to an employee, including for commuting to
and from work, that is considered a fringe benefit and is considered taxable income by the IRS.
(26 CFR § 1.61-21(a)(1) - Taxation of fringe benefits.) Under the LMRDA the governing body is
the APFA Board of Directors and they have an obligation to recover the money. (29 U.S.C. 501)
So Defendant Ross saying the Board looked into the matter in 2019 does not resolve the matter. If
it is determined Defendant Ross received over $6200 in unlawful compensation in the form of a
rental car he was not entitled to under federal labor law, the money must be paid back to the APFA.

       Defendant Ross argued with respect to the misuse of a Rental Car was billed to the National
President’s department during the timeframe according to the Charging party’s allegation, is



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coincidental to the timeframe of the Ross relocation, but was not as a condition of the relocation.
2016 APFA Policy Manual Section 5.H – Relocation – was silent on the use of rental cars in
connection with or during the timeframe of a relocation.

        The arbitrator finds the Plaintiff has supported their charge to establish merit and a
violation of the Policy Manual over the use of rental cars, thus, Defendant Ross abused his
Fiduciary duty to the membership of the APFA. the Independent Auditor will audit Defendant
Ross’ use of a rental car from April 2016 through October 2016 and determine the cost of the
rental from April 2016 through October 16, 2016. If Defendant Ross did not support the use of a
rental car with documentation for Union related business matters, Defendant Ross will be required
to repay APFA for the use of the rental cars. Whatever the amount of dollars the Independent
Auditor has determined Defendant Ross owes for using a rental car for his personal use in lieu of
a union business, he shall be Ordered to repay that amount to the APFA.

4.Mileage

       Plaintiff argued Defendant Ross claimed mileage that he was not entitled to, including the
period he had a rental car. The AFPA Policy Manual has detailed language to a National Officer
assuming office.

               Relevant Provisions
               Upon assuming office/appointment, National Officer(s) / Chair(s)
               shall be expected and, for the purposes of this policy, shall be
               considered to reside in the DFW area per 5.H.1.

               5.G.1.b. Ground Transportation
               “[1] A representative shall be reimbursed for mileage at the IRS
               standard mileage rate for travel to conduct APFA business, not to
               exceed a monthly maximum of one thousand (1000) miles. All
               mileage must be recorded on an “APFA Mileage Log” and
               submitted per Section 5.I.5. of this Policy Manual,” per Section
               5G.1.b.1.

               “ S/he is not authorized to claim any other expenses as provided in
               this policy for the purpose of personal travel between DFW and
               his/her permanent residence,” per Section H.5.c.

       The mileage logs are included in CLX-13-19 and specify that Ross drove the following
mileage:

       March 2016     336 miles
       April 2016     294 miles
       May 2016       294 miles
       June 2016      336 miles
       July 2016      294 miles




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       Plaintiff argued Defendant Ross violated the APFA Policy Manual by claiming mileage to
and from his permanent residence in Sacramento and the Sacramento airport. He claimed mileage
between his Sacramento permanent residence and the Sacramento Airport at 42 miles each way.
The APFA Policy Manual states that a National Officer may not claim expenses for his commute
home. All commuting back to your home city is on your own money. But Defendant Ross charged
mileage, parking and meals at the airport. Defendant Ross also charged APFA $105 a month for
parking his vehicle at the Sacramento Airport. This is not an authorized expense as no additional
expenses for commuting home were authorized. All of this occurred at the same time Defendant
Ross had a rental car.

        Defendant Ross states Plaintiff’s have formed their own theory and alleged that former
APFA National President, Bob Ross is in violation for claiming mileage for attending meetings
with the Company or claiming mileage for any event outside of APFA headquarters while
conducting APFA business while using a rental car. At no time did Ross file for reimbursement
for mileage from his residence to the APFA headquarters. The Charging Party did not present
evidence that Ross claimed a mileage reimbursement while using a rental car and not his own
vehicle. Defendant Ross submits Section 5.G.b.1.a.1., is silent on a specific vehicle to be used in
the reimbursement of mileage. At any given time, an APFA Representative could be subject to
using their personal vehicle or a “Rental Car” for conducting APFA business.

        The arbitrator finds the plaintiff has supported their charge to establish merit and a violation
of the Policy Manual. Thus, Defendant Ross abused his Fiduciary duty to the membership of the
APFA by claiming mileage to and from his residence and parking his personal vehicle in the
Sacramento Airport. The arbitrator requests the Independent Auditor to look at the mileage logs
or statements from April 1, 2016 through October, 2016 and determine the amount of money
Defendant Ross was paid for claiming mileage from the Sacramento airport and return. Defendant
Ross’ claimed 42 miles from the Sacramento airport to his residence and 42 miles to return to the
airport on weekends. Additionally, Defendant Ross charged $105.00 a month for parking his car
at the Sacramento airport and claimed this cost to APFA for payment. The Independent Auditor
shall investigate the claims for parking his car and determine how much he claimed and received
payment from the APFA Whatever dollar amount the Independent Auditor has determined for
mileage and parking, Defendant Ross is hereby Ordered to repay the APFA.

5.   Maintaining an Office

        Plaintiff withdrew this charge in their post-hearing brief.

6. Charges related to Ross Leaving Office as National President (Buyout)
7. Sick and Vacation Payouts
8. Receiving MEA and SAF when Performing no work.

      Defendant Ross left office on March 1, 2018 in the face of a DOL ordered rerun election.
He was elected to a four-year term but he voluntarily resigned and negotiated a Transition
Agreement to leave. The economic terms of the Transition Agreement are as follows:

     3. APFA agrees that ROSS will continue to receive from APFA his current full salary and
        benefits, including full insurance coverage, through July 31, 2018.


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   4. APFA agrees to pay ROSS all of his accrued and unused sick and accrued and unused
      vacation time, from April 1, 2016 through July 31, 2018.
   5. APFA agrees to pay ROSS, upon his request, a one-time lump sum in the total amount of
      ten thousand dollars ($10,000), which represents ROSS’s moving expenses. ROSS shall
      present the moving expenses to a APFA for payment through 2019.

         Plaintiff argued that nowhere in the exit package language does it specify that Defendant
Ross should get paid MEA and SAF expense payments for the months he is not working in March,
April, May, June and July 2016. Yet, Defendant Ross received $1050 a month in these payments
for five months for a total of $5250. MEA and SAF are considered expenses. Salary is included in
Section 6-National Officer Salary and benefits. In Section 5-Trip Removal and Expense Policy is
where SAF and MEA are located and discussed. The APFA Constitution defines salary in Section
6.A which provides, “The salary of the National President shall be equivalent to the highest purser
flight attendant pay rates, including international override pay, for a flight attendant based on 116
hours monthly.”

Section 6: National Officer Pay and Benefits
B.1: Vacation

       a.      National officers shall be entitled to thirty-five (35) days of paid vacation
               to be taken in each fiscal year while in office or the seniority respective
               vacation allowance s/he is contractually entitled to as a Flight Attendant,
               whichever is greater. This calculation will not be based on the Article 6.H
               of the Collective Bargaining Agreement referring to “trips missed.” This
               vacation allowance may be taken at the discretion of the National Officer,
               however, not more than fourteen (14) consecutive days taken at any one
               time.
       b.      National Officers should schedule their vacations so as to avoid the
               simultaneous absence of more than two (2) National Officers. In no case
               shall the National President and the National Vice President be on vacation
               simultaneously.
       c.      At the end of a fiscal year, up to fourteen (14) days of any unused APFA
               vacation allowance, as provided in B.1.a above, will be paid to the National
               Officer at a rate prorated on the National Officers’ annual salary for the
               period of APFA vacation allowance owed, less applicable state and federal
               taxes. If the National Officer is entitled to more than thirty-five days
               vacation, up to twenty-one (21) days will be paid as stated above.
       d.      At the beginning of a term, the National Officer should be paid by the
               Company for any vacation allowance accrued as a flight attendant.
       e.      At the end of the term, the APFA will ensure that the departing National
               Officer is provided with the vacation time to which s/he would ordinarily
               be entitled as if the National Officer had been an active Flight Attendant for
               the previous and current calendar years. If the company does not provide
               the out-going officer with the appropriate vacation allowance accrued for
               the previous and current calendar year the APFA will:




                                                 19
                                                                                   APFA App. 038
 Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                  Page 44 of 92 PageID 1135



               1. Provide payback of accrued vacation allowance to be taken in
                  corresponding consecutive vacation days in a block(s) that is seniority
                  respective at his/her domicile per Article 6.1 of the AA/APFA
                  Collective Bargaining Agreement, within 13 months following the end
                  of the applicable term; or
               2. The APFA will provide the departing National Officer with the
                  appropriate Flight Attendant vacation by means of cash reimbursement
                  at a rate prorated on the National Officers annual salary for the period
                  of APFA vacation allowance owed less applicable state and federal
                  taxes.

        Plaintiff argued that Defendant Ross was paid 14 days of vacation for fiscal year 2017
which ran from April 2016 and through March 2017. Ross used four vacation days and was entitled
to be paid out 14 of the remaining 31 days. Ross was paid that amount in 2017. In fiscal year 2018
Ross was entitled to be paid out an additional 14 vacation days as he used 6 days and should have
received the maximum 14 days. Ross was also entitled to his end of term vacation which provides
that he can receive vacation he would have accrued during present and previous year. For bidding
purposes as a Flight Attendant, he should have received 35 days of vacation. So, the total amount
Ross should have received in 2018 was 49 days which would have been 35 days for the end of
term and 14 days maximum payout for fiscal year 2018. This is on top of the 14 days Ross already
received for fiscal year 2018.

        Plaintiff additionally argued that Ross received 101.44 days paid out in the amount of
$38,574.68. Part of this payment includes the inflated pay which is the subject of a separate
violation. Ross was overpaid 52.44 hours of vacation.

        Defendant Ross argued the Ross TA is controlling. Defendant Ross would be paid any and
all accrued and unused sick and vacation from April 1, 2016 – July 31, 2018. The calculation of
the unused days was to be paid as though Ross was able to use any of those days while in office
as President for his remaining 5 months had he not resigned. There was no agreement that these
days were not to be paid per Policy as the Charging Party insists. An investigation into the payout
of the Sick and Vacation days paid, brought about by the Charging Party’s allegations, revealed
Ross was not properly paid all of his accrued and unused Sick days from April 1, 2016 – July 31,
2018. Ross earned and did not use 18 Sick days in each of the fiscal years April 2016-March 2017
and April 2017-March 2018. Ross was only paid Per Policy 6.B.3.d Offset/Loss of Sick Time, of
12 days for each fiscal year. The additional 12 days, (6) days Apr. 2016-2017 and (6) days Apr.
2017-2018 have still not been acknowledged or paid to Ross in accordance with the Ross TA. The
value of these lost Sick days, depending on the calculation used, is in excess of $3400 is still owed
to Ross.

       The arbitrator finds that MEA and SAF is guaranteed to the National Officers to
compensate them for not working as a Flight Attendant. The TA provides for “Full Salary”
including benefits. While one can argue that MEA and SAF is a guaranteed benefit, the Policy
Manual states it is not wages or benefits but rather are expenses as stated in Section 5 of the Policy
Manual. The TA does not mention MEA and SAF as a benefit but the purpose of providing a
guaranteed MEA and SAF to the National Officers so they would not suffer monetarily. MEA and



                                                 20
                                                                                   APFA App. 039
 Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                 Page 45 of 92 PageID 1136



SAF is a guaranteed expense to be paid monthly to the National Officers. If Defendant Ross did
not receive the MEA and SAF that he was guaranteed as a National Officer, it would then be
reasonable to assume that he would suffer monetarily. The TA states he will continue to receive
his current full salary and benefits. The language regarding benefits in Section 6 of the Policy
Manual and expenses in Section 5 of the Policy Manual is clear and unambiguous. However, if the
BOD enters into a TA with an employee to pay his full salary for an additional 5 months without
working then the TA language would be in conflict with the language over expenses (guaranteed
MEA and SAF for National Officers) in Section 5 of the Policy Manual. During these five months
of the TA that Defendant Ross was paid his full salary, no evidence was introduced that Defendant
Ross worked as a Flight Attendant while receiving guaranteed MEA and SAF. Under normal
circumstances, expenses are listed in box 1 of a W-2 but they are not considered wages or salary.
It is therefore, the Opinion of this arbitrator the intent of the TA reached between Attorney Mark
Richards, Robert Ross and the 2018 BOD was for the purpose of maintaining the “status quo ante”
for Defendant Ross. Thus, it would be reasonable to conclude Defendant Ross received MEA and
SAF for the months of March through July 2018 as a guaranteed expense benefit. However, it
should be noted that MEA and SAF are expenses and are not to be included in or considered with
his full salary for use in the payout determination of accrued sick and vacation leave. For these
reasons, the arbitrator is of the Opinion this charge over MEA and SAF should be dismissed.

       With respect to sick and vacation payout, the APFA Board of Directors has determined
that Defendant Ross was overpaid in the amount of $5,436.47 in 2018. “The Board’s finding was
based on the results of a review from an independent accounting firm which determined that the
formula used to determine the daily rate for your sick and vacation payout was incorrect.” Record
evidence revealed National Treasurer Vasquez admitted he had changed the formula without the
approval of the BOD or the EC.

         Moreover, it is the arbitrator’s understanding that Defendant Ross has refused to repay
$5,436.47 to APFA and is presently in litigation to recoup the money owed to APFA. The arbitrator
finds this is very troublesome in view of the fact that he is a standing Board member and the other
National Officers have acknowledged the computation of their debt and has either paid their debt
in full or have arranged to pay off their debt. As National President, Defendant Ross was elected
to a position of trust with the responsibility of protecting APFA assets. Ross has a Fiduciary duty
to the membership of the APFA and this arbitrator finds that he has abused this trust.

       It is therefore arbitrator’s Opinion, Defendant Ross has failed and abused his Fiduciary
Duty. The non-payment of these monies reveals Defendant Ross is not accepting this
responsibility. Thus, it is this arbitrator’s Opinion that Defendant Ross should be and is hereby
Ordered to immediately repay the APFA $5,436.47.

Leasing an Apartment at the Bear Creek Complex

        The APFA provides National Officers two choices for relocating to the Dallas metroplex.
They can either accept a corporate apartment or they can accept the relocation moving expense
entitling them up to $10,000 in moving expenses. But they are required to select their choice before
they move. Here, the record evidence revealed Defendant Ross accepted both choices. Plaintiff
argued that Defendant Ross leased an apartment at the Bear Creek Complex on June 1, 2016.



                                                21
                                                                                  APFA App. 040
 Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                  Page 46 of 92 PageID 1137



Defendant Ross testified and denied leasing an apartment at the Bear Creek Complex but after
Plaintiff showed him documentation, Defendant Ross then admitted that he had leased the
apartment at the Bear Creek Complex for one year to be paid by APFA.

        On Defendant Ross’s weekly report, he claimed that he was house hunting on June 7 and
8, 2016. Defendant Ross explained that his children’s school in California ended in June 2016.
Kim Ross, packed household items into pods without furniture because their furniture was too
large for the South Lake home and was delivered in August 2016. Defendant Ross decided to order
furniture from Ashley furniture and ordered $3,637.00 worth of furniture on August 13, 2016 with
the APFA credit card. Defendant Ross denied that he had ordered the furniture for his residence,
that it was ordered for the corporate apartment because it had no furniture. Documentation was
presented to Defendant Ross revealing he had the furniture delivered to the South Lake residence
on August 18 and 25, 2016. Thus, Defendant Ross chose both options for his own personal benefit
and was not looking out for APFA’s benefit. He also acquired APFA furniture to be moved to his
his residence per Mike Trapp’s testimony when he was not entitled to do so. As a result of his
actions, the corporate apartment he leased for his own personal benefit at the Bear Creek Complex
cost APFA $8,106.13 which is an unnecessary expense for the APFA.

       Thus, it is the arbitrator’s Opinion, that Defendant Ross abused his Fiduciary duty to the
membership of the APFA and should be assessed the cost of leasing that apartment in the amount
of $8,106.13.

Conclusion:

        The arbitrator finds that throughout this proceeding, Defendant Ross intentionally and
willfully ignored the provisions of the APFA Policy Manual and thus, has violated and abused his
fiduciary duty entrusted to him by the APFA membership. Ross’s testimony was inconsistent and
not forthright. Because Ross abused his position of trust as well as his fiduciary duty to the
membership of the APFA, he can no longer hold a position of trust with the APFA. Moreover,
Article VII, Section 1 of the APFA Constitution provides that:
        1. Any member is subject to fine, suspension or expulsion, or suspension from or removal
            from office, for any of the following acts:
        ……
        F. Willful violation of an express Article of this Constitution, or of a proper and express
            written resolution or policy of the Board of Directors or the Executive Committee;

         Here, Defendant Ross has overwhelmingly violated the APFA Policy Manual and APFA
Constitution. Ross has refused to repay APFA for an inappropriate overpayment in the amount of
$5,436.47. The Union has been forced to put the matter in collections after Ross refused and is
now forced to commence a lawsuit against Ross. The policy manual has a procedure for APFA
representatives to follow if they disagree with the determination on any expenses which is to appeal
to the APFA Executive Board and Board of Directors per Section 5.B. Ignoring the Board of
Directors is not an option, especially for a sitting Board member. John Nikides testified that Ross’s
refusal to repay APFA as a sitting Board member undermines the Union, and the memberships
faith in its officers.




                                                 22
                                                                                   APFA App. 041
 Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                  Page 47 of 92 PageID 1138



         Plaintiff argued that Defendant Ross should be expelled from membership. It is the Opinion
of this arbitrator that Defendant Ross should be prohibited from serving in any official position
for life within the APFA organization that is set forth and included in the APFA Constitution and
Policy Manual that is covered or identified. Additionally, if Ross currently holds any official
position presently, he is to resign said position. This is to bar Ross from any official position for
life other than that of member.

                                             REMEDY

   1. The APFA will hire an Independent Forensic Auditor to audit Robert Ross’ weekly
      reports, monthly reports and APFA credit card charges from April 1, 2016 through July,
      2018 and perform the following tasks:

   Specifically:
      a. The Auditor shall inspect the receipts for the Ross family vacation taken in the
          Grand Canyon in August 2016. Ross claimed all of hotel stays, meals and
          mileage charges as relocation moving expenses when some are for a personal
          vacation. Please determine what costs should not have been claimed as
          relocation moving expenses. Ross is liable for the excess cost and is hereby
          Ordered to repay APFA for all inappropriate charges!
      b. The Auditor shall inspect Ross’ APFA credit card usage for personal and group
          meals and purchases for personal items such as tools, toiletries, bath towels, and
          candy from April 1, 2016 through July 2018 and determine the cost of all
          inappropriate charges. If no documentation was provided to support each
          purchase was a union related business cost, then Ross is liable for all
          inappropriate charges and is hereby Ordered to repay the APFA for all
          inappropriate charges!
      c. The Auditor shall inspect all of Ross’ rental car usage from April 1, 2016
          through October 16, 2016 and determine if these rentals were for union related
          business. APFA paid for the rental cars but there should be documentation to
          show if it was for union related business. If not, Ross is to be assessed the cost
          of the rental cars during the above period and is hereby Ordered to repay APFA
          for inappropriate rental car usage!
      d. The Auditor shall inspect all of Ross’ claimed mileage from the Sacramento
          Airport to his residence (42 miles) and return (42 miles) as well as all monthly
          parking of his personal car. He claimed $105.00 per month from April 1, 2016
          through July 2016 to park his car at the Sacramento airport. Ross is to be
          assessed the mileage and monthly parking he claimed and Ross is hereby
          Ordered to repay APFA for all of these inappropriate charges!

   2. Ross is hereby Ordered to immediately repay the APFA $5,436.47 per the finding of the
      APFA Board of Directors. An independent accounting firm determined the formula used
      to determine the daily rate assessed for sick and vacation payout was incorrect.
   3. Ross is hereby Ordered to repay the APFA $8,106.13 for leasing an apartment at the Bear
      Creek Complex where he had no intention of occupying.
   4. Ross is hereby fined and Ordered to repay the APFA for all of the Arbitrator’s Fee for
      this arbitration.


                                                 23
                                                                                   APFA App. 042
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                 Page 48 of 92 PageID 1139



 5. Ross is hereby ordered to repay the APFA the full cost of hiring the Independent Forensic
    Auditor.
 6. Ross is hereby Ordered to repay $3,637.00 to the APFA for all of the furniture he had
    purchased and delivered to his residence located in South Lake, Texas.
 7. Ross is prohibited from serving in any official position within the APFA organization
    that is set forth and included in the APFA Constitution and Policy Manual that is covered
    or identified. If Ross currently holds any official position presently, he is to resign said
    position. This is to bar Ross from any official position for life other than that of member.
 8. The APFA if it hasn’t done so, must create a separate body of trained forensic
    accountants to oversee the annual audit and to create procedures and recommendations to
    preclude fraud for the BOD’s review and action to be included within the Policy Manual.
    National Officers or Officers who have the authority to extend APFA to credit or use of
    an APFA credit card must be held economically responsible. The language created must
    be very clear and unambiguous. Training over the LMRDA must be a requirement for all
    National Officers or any person who can extend APFA to credit and whom is given an
    APFA credit card. These individuals must sign a document declaring and attesting that
    they have read and understand their responsibilities in using an APFA credit card or
    extending credit to the APFA for rental cars, apartments, etc., and that negligence will not
    be tolerated and will be dealt with severe penalties.
 9. The arbitrator shall retain jurisdiction over any issue involving this remedy only. Moreover,
    if the Independent Auditor determines any monies are due from Ross, that will be the
    amount to be assessed or due for repayment to the APFA. The APFA shall either Order
    said repayment from Ross or submit the Independent Auditors findings to have this
    arbitrator issue a Supplemental Decision and Remedy.

                                             AWARD

    The grievance is sustained in part and denied in part.

    Issued in San Antonio, Texas the 19th day of March, 2022.




                                                24
                                                                               APFA App. 043
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 49 of 92 PageID 1140




                                                               Exhibit C
     Arbitrator’s Supplemental Decision issued on August 24, 2022
 Case 4:22-cv-00343-Y Document 44 Filed 09/20/22          Page 50 of 92 PageID 1141



In the Matter of Arbitration Between__
                                         )
Melissa Chinery                          )
Sandra Lee                               )     RE: Article VII Charges
                                         )     Violations of APFA Constitution
      APFA Charging Party Members        )     and APFA Policy Manual
           (Plaintiff)                   )
                                         )
And                                      )
                                         )
Robert Ross, Former APFA National        )
President                                )
                                         )
      APFA Charged Party Member          )
           (Defendant)                   )
                                         )
__________________________________

           SUPPLEMENTAL DECISION AND REMEDY MODIFICATION

Before:                                  Alternate Article VII Arbitrator Ruben R.
                                         Armendariz



Place and Dates of Hearing:              The Westin Irving Convention Center at Las
                                         Colinas, 400 West Las Colinas Boulevard,
                                         located in the City of Irving, Texas.

                                         June 16, 2021, continued to November 17 and 18,
                                         2021

Appearances:

      For Charging Party Members:        Melissa Chinery, Representative
            (Plaintiff’s)                Sandra Lee, Representative


      For Charged Party Member:          Kit Gomez Alba, Representative
            (Defendant)                  Gina Guidry, Representative
                                         Robert Ross, Representative




                                                                       Exhibit C

                                                                           APFA App. 044
    Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                            Page 51 of 92 PageID 1142
RE: Supplemental Decision and Remedy Modification
    Article VII Charges

        On the 19th day of March 2022, the undersigned arbitrator issued a Decision in the above
matter. In the original Remedy, the undersigned arbitrator requested APFA to hire a forensic
auditor to audit certain items of this case to identify all inappropriate charges listed in item 1.,
1(a.), 1(b)., 1(c.), and 1(d.) concerning Defendant Ross.

       In accordance with the original remedy, the APFA hired Cornwell Jackson, Certified
Public Accountants to conduct the requested audits. On August 5, 2022, the Independent
Accountant’s Audit Report was completed and submitted to the APFA. This report was
subsequently transmitted to this arbitrator to review and to issue a “Supplemental Decision and
Remedy Modification.”

        The arbitrator has reviewed the Independent Accountant’s Audit Report and finds
Defendant Ross has violated certain identified items. Thus, the March 19, 2022 Original Remedy
is hereby modified to reflect the Auditors’ identified items. Accordingly, the arbitrator finds
those monetary amounts found inappropriate are now subject for repayment to APFA.
Additionally, the Auditors invoices for services rendered shall be included for repayment.

                                          REMEDY MODIFICATION

        It is hereby Ordered that Defendant Ross shall repay the APFA the following amounts
the auditors identified as inappropriate. The accountant’s Audit Report is a thorough explanation
of the auditor’s findings and those amounts found inappropriate.1

           1(a): Inappropriate costs claimed as moving expenses.                                    $. 775.05
           1(b): Inappropriate credit card charges for meals and personal items.                     12, 274.00
           1(c): Inappropriate costs related to rental cars.                                          6, 454.38
           1(d): Inappropriate costs related to mileage to Sacramento airport.                           725.76
           1(d): Inappropriate costs related to airport parking.                                         107.00
                                                                                                   $ 20,336.19_
           Auditors Invoices:
           05/31/2022                                                                              $    150.00
           06/30/2022                                                                                 3,325.00
           07/31/2022                                                                                11,000.00
           08/05/2022                                                                                   350.00
                                      Total                                                        $ 14,825.00

       2. Ross is hereby Ordered to immediately repay the APFA $5,436.47 per the finding of the
          APFA Board of Directors. An independent accounting firm determined the formula used
          to determine the daily rate assessed for sick and vacation payout was incorrect.
       3. Ross is hereby Ordered to repay the APFA $8,106.13 for leasing an apartment at the Bear
          Creek Complex where he had no intention of occupying.
       4. Ross is hereby fined and Ordered to repay the APFA for all of the Arbitrator’s Fee of
          $10, 217.96 for this arbitration.
       5. Ross is hereby Ordered to repay $3,637.00 to the APFA for all of the furniture he had
          purchased and delivered to his residence located in South Lake, Texas.
1
    Mr. Ross can request a copy of the auditor’s report from the APFA if he has not already received a copy of it.


                                                            2
                                                                                                   APFA App. 045
 Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                Page 52 of 92 PageID 1143
RE: Supplemental Decision and Remedy Modification
    Article VII Charges

   6. Ross is prohibited from serving in any official position within the APFA organization
      that is set forth and included in the APFA Constitution and Policy Manual that is covered
      or identified. If Ross currently holds any official position presently, he is to resign said
      position. This is to bar Ross from any official position for life other than that of member.
   7. The APFA if it hasn’t done so, must create a separate body of trained forensic
      accountants to oversee the annual audit and to create procedures and recommendations to
      preclude fraud for the BOD’s review and action to be included within the Policy Manual.
      National Officers or Officers who have the authority to extend APFA to credit or use of
      an APFA credit card must be held economically responsible. The language created must
      be very clear and unambiguous. Training over the LMRDA must be a requirement for all
      National Officers or any person who can extend APFA to credit and whom is given an
      APFA credit card. These individuals must sign a document declaring and attesting that
      they have read and understand their responsibilities in using an APFA credit card or
      extending credit to the APFA for rental cars, apartments, etc., and that negligence will not
      be tolerated and will be dealt with severe penalties.
   8. The arbitrator shall retain jurisdiction over any issue involving this remedy for only 90
      days from the date of this Supplemental Decision and Remedy Modification.

Issued the 24th day of August, 2022, in San Antonio, Texas.




                                                    3
                                                                                APFA App. 046
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 53 of 92 PageID 1144




                                                               Exhibit D
                 Ross’s Post-Hearing Brief to the Arbitrator (Excerpt)
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 54 of 92 PageID 1145




                                                              Exhibit D

                                                              APFA App. 047
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 55 of 92 PageID 1146




                                                              APFA App. 048
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 56 of 92 PageID 1147




                                                               Exhibit E
           Ross’s Resignation as San Francisco (SFO) Base President
SFO BP                                                                                                      .

         Case 4:22-cv-00343-Y Document 44 Filed 09/20/22            Page 57 of 92 PageID 1148


   From: 1rross@comcast.net <1rross@comcast.net>
   Sent: Monday, March 21, 2022 1:34 PM
   To: Tim Schwartz <tschwartz@apfa.org>
   Cc: 'anthony cataldo' <anthcat@yahoo.com>
   Subject: SFO BP

   Please consider this my Resignafion as SFO Base President.


   Bob Ross
   916-284-2402 Mobile/Text
   1RRoss@comcast.net


   This e-mail, including attachments, is intended for the exclusive use of the addressee. If you are not
   the intended recipient, any dissemination, use, distribution or copying is prohibited.




                                                                                   Exhibit E

                                                                                    APFA App. 049
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 58 of 92 PageID 1149




                                                                Exhibit F
                                 Non-Published Cases Cited in the Brief
Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 59 of 92 PageID 1150




Allied Waste Systems Inc. v. Teamsters Local 767, 2007
U.S. Dist. LEXIS 43035, 2007 WL 1703634 at *11-13,
19-21 (N.D. Tex. 2007) (J. Means)


                                                              APFA App. 050
     Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                                       Page 60 of 92 PageID 1151

    Westtaw.
    Westlaw.
   Not Reported in F.Supp.2d
                   F.Supp.2d                                                                                                        Page 11
                                                                                                                                    Page
                                       1703634 (N.D.Tex.)
   Not Reported in F.Supp.2d, 2007 WL 1703634   (N.D.Tex.)
   (Cite as: 2007 WL 1703634
   (Cite              1703634 (N.D.Tex.))
                               (N.D.Tex.))

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                                           available.
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    ORDER   DENYING PLAINTIFF'S
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                                                                          ing   the voluntary
                                                                                    voluntary arbitration
                                                                                                arbitration ofof labor
                                                                                                                  labor disputes.
                                                                                                                         disputes.
     SUMMARY JUDGMENT
    SUMMARY   JUDGMENT AND AND GRANTING
                                 GRANTING DE-  DE-
                   FENDANT'S
                   FENDANT'S                                              I.I. Factual
                                                                               Factual Background
                                                                                       Background
     CROSS-MOTION FOR
    CROSS-MOTION   FOR SUMMARY
                        SUMMARY JUDGMENT
                                       JUDGMENT
   TERRY R.
   TERRY R. MEANS,
             MEANS, United
                    United States
                            States District
                                   District Judge.
                                            Judge.                         The material
                                                                          The     material facts
                                                                                            facts inin this
                                                                                                        this case
                                                                                                             case are
                                                                                                                   are not
                                                                                                                         not inin dispute.
                                                                                                                                   dispute.
                                                                           Allied Waste
                                                                          Allied    Waste andand Local
                                                                                                   Local 767
                                                                                                           767 are
                                                                                                                are parties
                                                                                                                     parties to to aa valid
                                                                                                                                      valid
     *1 This
    *1  This case
               case involves
                      involves the
                                 the final
                                       final and
                                              and binding
                                                   binding decision
                                                              decision     CBA that
                                                                          CBA      that includes
                                                                                         includes aa final
                                                                                                        final and
                                                                                                              and binding
                                                                                                                   binding arbitration
                                                                                                                                arbitration
    of an
   of    an arbitrator
              arbitrator concluding
                             concluding that that plaintiff
                                                    plaintiff Allied
                                                                Allied     procedure for
                                                                          procedure     for settling
                                                                                              settling grievances.
                                                                                                         grievances. ItIt isis undisputed
                                                                                                                               undisputed
    Waste Systems,
   Waste     Systems, Incorporated
                           Incorporated ("Allied
                                            ("Allied Waste"),
                                                        Waste"), vi-vi-    that the
                                                                          that   the CBA
                                                                                     CBAcovers
                                                                                           covers the
                                                                                                    the grievance
                                                                                                         grievance at
                                                                                                                    at issue
                                                                                                                        issue here.
                                                                                                                               here.
    olated the
   olated   the collective-bargaining
                  collective-bargaining agreement
                                               agreement ("CBA")
                                                             ("CBA")
    when itit terminated
   when        terminated the the employment
                                    employment of   of David
                                                        David Esco-
                                                                Esco-      Allied Waste
                                                                          Allied    Waste provides
                                                                                               provides aa variety
                                                                                                              variety ofof trash-hauling
                                                                                                                             trash-hauling
    bar because
   bar   because he  he had
                          had not
                                not performed
                                      performed his his regular
                                                         regular job
                                                                   job     services in
                                                                          services    in the
                                                                                           the greater
                                                                                                 greater Dallas-Fort
                                                                                                           Dallas-Fort Worth,
                                                                                                                          Worth, Texas,
                                                                                                                                    Texas,
    duties for
   duties   for aa period
                    period of of six
                                  six months.
                                       months. Allied
                                                  Allied Waste
                                                           Waste has
                                                                   has     area. As
                                                                          area.   As part
                                                                                      part ofof its
                                                                                                 its services,
                                                                                                      services, Allied
                                                                                                                 Allied Waste
                                                                                                                         Waste picks
                                                                                                                                  picks up
                                                                                                                                         up
    refused to
   refused    to abide
                  abide byby the
                               the arbitrator's
                                    arbitrator's decision
                                                   decision and
                                                              and has
                                                                   has     trash and
                                                                          trash    and garbage
                                                                                         garbage containers
                                                                                                      containers on on regularly
                                                                                                                        regularly estab-
                                                                                                                                     estab-
    brought suit
   brought     suit in
                     in this
                         this Court
                                Court under
                                        under section
                                                 section 301
                                                          301 ofof the
                                                                    the    lished routes
                                                                          lished     routes usingusing "roll-off'
                                                                                                          "roll-off trucks.
                                                                                                                       tracks. Escobar
                                                                                                                                   Escobar
    Labor Management
   Labor       Management Relations Relations Act  Act of   of 1947
                                                                  1947     worked for
                                                                          worked     for Allied
                                                                                           Allied Waste
                                                                                                     Waste asas aa driver
                                                                                                                   driver of
                                                                                                                           of these
                                                                                                                                these roll-
                                                                                                                                       roll-
    ("LMRA"), as
   ("LMRA"),        as amended,
                        amended, 29    29 U.S.C.
                                           U.S.C. §§ 151151 etet seq.,
                                                                  seq.,    off trucks
                                                                          off   trucks atat its
                                                                                              its Fort
                                                                                                   Fort Worth,
                                                                                                         Worth, Texas,
                                                                                                                   Texas, facility
                                                                                                                            facility from
                                                                                                                                      from
    requesting that
   requesting     that the
                        the Court
                              Court vacate
                                       vacate the
                                                the arbitrator's
                                                      arbitrator's de-
                                                                    de-     1982until
                                                                          1982    until his
                                                                                        histermination
                                                                                             termination on onJuly
                                                                                                               July23,
                                                                                                                     23, 2003.
                                                                                                                         2003.
    cision and
   cision   and award.
                   award. Defendant
                             Defendant International
                                            International Brother-
                                                              Brother-
    hood of
   hood    of Teamsters,
               Teamsters, Local
                              Local 767767 ("Local
                                             ("Local 767"),
                                                       767"), filed
                                                               filed aa    Escobar's position
                                                                          Escobar's    position involved
                                                                                                  involved heavy-duty
                                                                                                              heavy-duty work. work. HeHe
    counterclaim requesting
   counterclaim       requesting thatthat the
                                           the Court
                                                 Court confirm
                                                         confirm thethe    worked alone
                                                                          worked    alone and
                                                                                            and was
                                                                                                  was required
                                                                                                        required toto lift
                                                                                                                       lift amounts
                                                                                                                             amounts in in
    arbitrator's decision
   arbitrator's    decision and and order
                                       order the
                                               the enforcement
                                                    enforcement of   of    excess of
                                                                          excess   of twenty-five
                                                                                       twenty-five pounds,
                                                                                                     pounds, push
                                                                                                                push and
                                                                                                                       and pull
                                                                                                                              pull heavy
                                                                                                                                    heavy
    his award.
   his    award. Local
                    Local 767 767 alsoalso counters
                                             counters that
                                                         that Allied
                                                                Allied     doors, and
                                                                          doors,   and install
                                                                                        install and
                                                                                                 and remove
                                                                                                      remove heavy
                                                                                                                heavy tarpaulins.
                                                                                                                         tarpaulins. HeHe
    Waste's refusal
   Waste's     refusal toto abide
                             abide byby the
                                          the binding
                                               binding decision
                                                          decision ofof    routinely worked
                                                                          routinely  workedten-hour
                                                                                                ten-hour shifts
                                                                                                           shifts on
                                                                                                                   on as
                                                                                                                       as many
                                                                                                                           many days
                                                                                                                                   days aa
                                                                           week as
                                                                          week   as was
                                                                                     was required
                                                                                          required byby the
                                                                                                          the volume
                                                                                                              volume of  of work
                                                                                                                             work toto be
                                                                                                                                        be




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    NotReported
   Not           inF.Supp.2d
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                                                                                                                                                 Page 2
   NotReported
   Not           in F.Supp.2d,
        Reportedin             2007 WL
                    F.Supp.2d, 2007    1703634 (N.D.Tex.)
                                    WL 1703634 (N.D.Tex.)
   (Cite as: 2007
   (Cite as:           1703634 (N.D.Tex.))
                  WL 1703634
             2007WL             (N.D.Tex.))


   completed.
   completed.                                                                    any accommodat
                                                                                 any   accommodations ions consistent    with the physician's
                                                                                                             consistent with the physician's
                                                                                 restrictions.    Thus,    for   approximatel
                                                                                 restrictions. Thus, for approximately one week
                                                                                                                                y one week
   On     January 23,
    On January             2003, Escobar
                     23, 2003,                suffered an
                                   Escobar suffered      an on-
                                                              on-                Escobar performed
                                                                                 Escobar                  all of  the  regular  duties includ-
                                                                                            performed all of the regular duties includ-
   the-job    injury. The
    the-job injury.          next day,
                       The next                    saw aa physi-
                                         Escobar saw
                                   day, Escobar           physi-                 ing  the  heavy   work   despite   his restrictions.
                                                                                 ing the heavy work despite his restrictions. About a
                                                                                                                                      About a
   cian    selected by
    cian selected                  Waste. The
                           Allied Waste.
                     by Allied                    physician de-
                                             The physician    de-                week    later,  Allied  Waste     assigned   Escobar
                                                                                 week later, Allied Waste assigned Escobar an as-
                                                                                                                                        an as-
                                                        arm but
                                                  right arm                      sistant,  but  the  assistant  failed  to provide   any help.
    termined that Escobar had injured his right
   termined     that Escobar    had  injured  his             but                sistant, but the assistant failed to provide any help.
    that he
   that        could return
          he could             to work
                       return to                 certain restric-
                                           with certain
                                   work with             restric-                He             observed Escobar
                                                                                      merely observed
                                                                                 He merely                            perform all of his du-
                                                                                                            Escobar perforru all of his du-
   tions.          physician ordered
             The physician
    tions. The                                  Escobar be
                                          that Escobar
                                ordered that              be re-
                                                              re-                ties.
                                                                                 ties.
   stricted
    stricted   from   lifting anything that weighed more
                      lifting  anything    that  weighed   more
   than twenty-five       pounds and
           twenty-five pounds                   working longer
                                         from working
                                    and from              longer                           complained to
                                                                                 Escobar complained
                                                                                 Escobar                      his supervisors
                                                                                                          to his
                                                                                                                                but nothing
                                                                                                                   supervisors but nothing
          eight hours per day.
   than eight               day.                                                 happened.   Then,   in  late February,   Escobar
                                                                                 happened. Then, in late February, Escobar and two
                                                                                                                                     and two
                                                                                 of  his  union   representativ  es  met   with
                                                                                 of his union representatives met with his super-
                                                                                                                                  his  super-
                                                                 let-
                                                    Escobar aa let-
                                              sent Escobar                       visors  and  again   informed    them  that  Escobar's    as-
   *2 On February
             February 3,     Allied Waste
                         3, Allied    Waste sent                                 visors and again informed them that Escobar's as-
   ter informing him        that  it had   reviewed
                                           reviewed    the
                                                       the medical                        was not
                                                                                 sistant was        providing    any  help.  Still, the  situ-
                      him that it had                       medical              sistant       not providing any help. Still, the situ-
   report concerning his        injury. Allied
                           his injury.           Waste indicated
                                         Allied Waste     indicated              ation   remained unchanged.
                                                                                 ation remained                      On March 4, 2003,
                                                                                                     unchanged. On March 4, 2003,
   that it         identified an
             had identified
         it had                  an appropriate                duty
                                                   modified duty
                                     appropriate modified                        Escobar's   assistant  failed  to  show
                                                                                 Escobar's assistant failed to show up     up at work and
                                                                                                                              at work and
                for  him   based     on  the  physician's    assess-             was   not seen   again.  Escobar    never  contacted   Silva
   position          him based on the physician's assess-                        was not seen again. Escobar never contacted Silva
   ment andand stated    that it
                 stated that            extending to
                                  was extending
                               it was                   Escobar "a
                                                    to Escobar    "a             to         her of the  situation.
                                                                                    inform her of the situation.
                                                                                 to inform
           fide offer
   bona fide            of employment
                  offer of                   pursuant to
                             employment pursuant            [Rule §§
                                                        to [Rule
    129.6 ofof the   Texas Administrative
                the Texas                                  (App. in
                                                 Code]." (App.
                              Administrative Code]."               in            The    next day,
                                                                                 The next            Escobar saw
                                                                                               day, Escobar                    physician
                                                                                                                      another physician
                                                                                                                saw another                          ap-
   129.6                                                                                                                                  ap-
   Supp.     of  PL's   Mot.    Summ.     J.  at  36.)  The   letter,            proved    by  Allied   Waste.   He  concluded  that Escobar
   Supp. of Pl.'s Mot. Siimm. J. at 36.) The letter,                             proved by Allied Waste. He concluded that Escobar
   however, did            specify the
                      not specify
                 did not                  position Allied
                                      the position            Waste
                                                     Allied Waste                was                  incapable of
                                                                                        physically incapable
                                                                                 was physically                       performing his duties
                                                                                                                  of performing
        identified for
   had identified     for Escobar's               duty.
                                       modified duty.
                          Escobar's modified                                      and   removed    Escobar    from
                                                                                 and removed Escobar from his job.   his      The his
                                                                                                                         job. The
                                                                                                                                        duties
                                                                                                                                   physician
   had                                                                                                                             physician
                                                                                       not clear
                                                                                  did not
                                                                                 did              Escobar to
                                                                                            clear Escobar       return to
                                                                                                             to return     work without any
                                                                                                                        to work
                                                                                                                                without any
          letter instructed
    The letter                      Escobar to
                    instructed Escobar               return to
                                                to return          work on
                                                               to work     on                   until  August   22.  Escobar
                                                                                  restrictions until August 22. Escobar never never  returned
   The                                                                           restrictions                                        returned
    February 3.
   February                informed him
                  3. ItIt informed      him that      his work
                                               that his            schedule
                                                           work schedule          to work   after March
                                                                                 to work after March 5.   5.
    would be
   would            Monday through
               be Monday                      Friday from
                                  through Friday         from 5:00       a.m.
                                                                 5:00 a.m.
            he   completed        his  route    and
    until he completed his route and that he would be  that  he   would    be     UnderArticle
                                                                                 Under                    Section 55 of
                                                                                                     16,Section
                                                                                            Article 16,                      the
                                                                                                                          ofthe CBA,
   until                                                                                                                         CBA, rights and
    paid   at   the
               the     same
                      same     rate
                              rate    as
                                     as    roll-off
                                          roll-off    truck
                                                     truck    drivers.
                                                              drivers.   The
                                                                         The        An                  shall lose
                                                                                           employee shall
                                                                                     An employee                  lose hishis seniority rights
   paid at                                                                                                                     seniority underand       the
                   went on
            then went
    letter then             onto    state,
                                to state,                                          the                     relationship shall
                                                                                           employment relationship
                                                                                     the employment                                    cease
                                                                                                                               shall cease
   letter                                                                                                                                       under the
               position will
       This position                 entail these
                             will entail                            physical
                                                        specific physical
                                              these specific                         following     conditions      ....  Failing   to    perform     duties
      This                                                                          following conditions .... Failing to perform duties
       and    tune     requirements      :   No   lifting    objects/carry
                                                            objects/carry-   -       of any
                                                                                    of                    position or
                                                                                                regular position
                                                                                          any regular                         classification for
                                                                                                                          or classification        for any
      and time requirements: No lifting                                                                                                                any
             objects more
       ing objects               than 251bs
                         more than              for more
                                        251bs for                       hours
                                                              than 88hours
                                                      more than                      reason    for  longer   than     six   (6) months.
                                                                                    reason for longer than six (6) months. Performing
                                                                                                                                              Performing
      ing
       per day           Please be
                    .... Please
             day ....                   assured that
                                    be assured      that [Allied]      Waste
                                                           [Allied] Waste          modified                pursuant to
                                                                                                  duties pursuant
                                                                                     modified duties                           Article 14,
                                                                                                                           to Article      14, Section 4
      per                                                                                                                                       Section 4
       will only        assign     you    task   [sic]
               only assign you task [sic] consistent with consistent     with        of  this   agreement     does      not   constitute
                                                                                    of this agreement does not constitute "performing
                                                                                                                                             "performing
      will
       your    physical      abilities,    knowledge,       and   skills
                                                                 skills   and
                                                                         and          duties of
                                                                                    duties         any regular
                                                                                               of any                   position or
                                                                                                         regular position                  classification"
                                                                                                                                     or classification"
      your physical abilities, knowledge, and
             provideyou
       willprovide
      will                youtraining         necessary.
                                training ififnecessary.                              under   this  provision.
                                                                                    under this provision.
             Finally, the
    (Id) Finally,                 letter advised
                           the letter                   Escobar that
                                            advised Escobar                he
                                                                     that he     *3                 Supp. of
                                                                                       (App. inin Supp.
                                                                                  *3 (App.                       PL'sMot.
                                                                                                            ofPl.'s              Summ. J.J. atat27.)
                                                                                                                         Mot. Summ.                 27.) In
   (Id)                                                                                                                                                  In
                            Ruby      Silva,    Allied
               contact Ruby Silva, Allied Waste's safety
    could contact                                          Waste's     safety     accordance      with   its  interpretation       of   this   article, Al-
   could                                                                         accordance with its interpretation of this article, Al-
    manager, ifif he         had any
                        he had                                         signed
                                                          Escobar signed
                                           questions. Escobar
                                    any questions.                                lied Waste
                                                                                 lied              determined that
                                                                                         Waste determined                    Escobar had
                                                                                                                     that Escobar          had not been
   manager,                                                                                                                                     not driver
                                                                                                                                                      been
    the letter     indicating that
         letter indicating               he accepted
                                   that he                           Waste's
                                                           Allied Waste's
                                              acceptedAllied                      performing       the  regular       duties    of
                                                                                 performing the regular duties of a roll-off driver   a   roll-off
   the
                  returnedtotowork
            andreturned
     offerand                      workon      February3.3.
                                            onFebruary                                     January 23,
                                                                                  since January             2003,the
                                                                                                      23, 2003,              day the
                                                                                                                       the day            first
                                                                                                                                  the first      physician
   offer                                                                         since                                                          physician
                                                                                             Escobar on
                                                                                  placed Escobar
                                                                                 placed                       modified duty.
                                                                                                        on modified           duty. OnOn July 23, six
                                                                                                                                            July 23, six
     Whenhe   returnedtotowork,
           hereturned             Escobarresumed
                           work,Escobar                du-
                                                   hisdu-
                                           resumedhis                             months later,
                                                                                 months                         Waste sent
                                                                                                      Allied Waste
                                                                                              later, Allied                          letter to Escobar
                                                                                                                            sent aa letter
   When                                                                                                                                      to Escobar
                                                                                                                                                   employ-
    ties operating        roll-off truck.
          operating aa roll-off                    Waste,
                                            Allied Waste,
                                    truck. Allied                                 informing      him   that    it  was     terminating
                                                                                 informing him that it was terminating his employ-
                                                                                                                                             his
   ties                                                                                                                                  his  regular   du-
     however,did   notimmediately
              didnot                                  with
                                              Escobarwith
                                      provideEscobar
                       immediatelyprovide                                        ment      because    he  had     not    performed
                                                                                  mentbecause he had not performed his regular du-
   however,




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                         six months.
    ties during the past six                                                          "the contractual
                                                                         Waste had "the     contractual obligation
                                                                                                          obligation to
                                                                                                                      to establish
                                                                                                                          establish
                                                                         that Escobar
                                                                              Escobar did not perform
                                                                                                  perform the
                                                                                                            the regular
                                                                                                                 regular duties
                                                                                                                          duties of
                                                                                                                                 of
   Escobar timely filed filed a grievance under the CBA. In              any bargaining unit job classification
                                                                                                     classification after
                                                                                                                     after January
                                                                                                                           January
    accordance with the CBA,
   accordance                   CBA, the grievance was sub-              23, 2003."
                                                                         23, 2003." (Id.
                                                                                    (Id. at
                                                                                          at 9.)
                                                                                             9.) In
                                                                                                 In other
                                                                                                    other words,
                                                                                                           words, Marcus
                                                                                                                    Marcus placed
                                                                                                                            placed
                            arbitration and
   mitted to binding arbitration          and the parties agreed                     on Allied
                                                                         the burden on   Allied Waste
                                                                                                  Waste toto prove
                                                                                                              prove that
                                                                                                                     that Escobar
                                                                                                                           Escobar
    on Bernard Marcus to serve
   on                              serve asas the arbitrator. Ac-Ac-     performed only modified
                                                                                          modified duties
                                                                                                      duties between
                                                                                                              between February
                                                                                                                        February 33
    cording to the CBA,
   cording                                                               and March
                                                                         and March 5.
                                                                                    5.
      The arbitrator
     The    arbitrator will
                         will be jointly contacted
                                             contacted andand asked
                                                               asked
      to hold
     to   hold aa hearing
                      hearing at  at which
                                     which bothboth parties
                                                       parties may
                                                                may       Based on
                                                                         Based       on the
                                                                                         the evidence,
                                                                                              evidence, Marcus
                                                                                                           Marcus found
                                                                                                                      found that
                                                                                                                               that Escobar
                                                                                                                                     Escobar
      present evidence.
     present    evidence. The The arbitrator
                                    arbitrator shall
                                                 shall decide
                                                        decide only       had perfoi
                                                                                performed ned his regular
                                                                                                    regular duties
                                                                                                              duties asas aa roll-off
                                                                                                                             roll-off driver
                                                                                                                                       driver
     the grievance
     the   grievance submitted
                         submitted by applying
                                            applying thethe express       between February
                                                                         between        February 33 and and March
                                                                                                              March 5,   5, despite
                                                                                                                             despite being
                                                                                                                                        being
      language of
     language     of this
                      this agreement
                            agreement and and shall
                                                shall have
                                                       have nono au-     placed on    on modified
                                                                                           modified duty.
                                                                                                       duty. Marcus
                                                                                                               Marcus rejected
                                                                                                                           rejected Allied
                                                                                                                                       Allied
     thority to
     thority   to add
                   add to,
                         to, subtract
                              subtract from,
                                        from, modify
                                                 modify or or amend
                                                              amend       Waste's argument
                                                                                      argument thatthat Escobar
                                                                                                         Escobar was
                                                                                                                   was obligated
                                                                                                                           obligated toto in-
                                                                                                                                          in-
      this agreement,
     this   agreement, but but shall
                                 shall be
                                        be limited
                                             limited to
                                                      to determin-
                                                           determin-      form its
                                                                         farm     its safety
                                                                                       safety manager
                                                                                                manager thatthat his
                                                                                                                  his assistant
                                                                                                                        assistant failed
                                                                                                                                    failed to
                                                                                                                                           to
      ing whether
     ing   whether or  or not
                           not aa violation
                                   violation of of the
                                                   the terms
                                                         terms have
                                                                have      offer any
                                                                         offer     any help.
                                                                                           help. Nevertheless,
                                                                                                  Nevertheless, Marcus
                                                                                                                     Marcus foundfound that
                                                                                                                                         that
      been committed.
     been    committed.                                                   Escobar had,
                                                                         Escobar       had, onon two
                                                                                                  two occasions,
                                                                                                        occasions, notified
                                                                                                                       notified his
                                                                                                                                  his super-
                                                                                                                                       super-
      The arbitrator's
     The     arbitrator's duly
                            duly rendered
                                   rendered decision
                                                decision shall
                                                            shall be
                                                                   be     visors that
                                                                         visors     that his
                                                                                          his assistant
                                                                                               assistant was
                                                                                                          was not
                                                                                                                not providing
                                                                                                                      providing any any help
                                                                                                                                         help
      final and
     fmal    and binding
                  binding on  on the
                                  the employer
                                       employer concerned,
                                                    concerned, thethe     and that
                                                                         and     that because
                                                                                         because no  no corrective
                                                                                                          corrective action
                                                                                                                         action occurred,
                                                                                                                                   occurred,
      union, and
     union,    and the
                    the employee(s)
                         employee(s) involved.
                                        involved.                         Escobar continued
                                                                         Escobar       continued to to perform
                                                                                                       perform hishis regular
                                                                                                                        regular duties
                                                                                                                                  duties un-
                                                                                                                                          un-
    (App. in
   (App.   in Supp.
               Supp. ofof Pl.'s
                          PL's Mot.
                                Mot. Summ.
                                      Summ. J.J. atat22.)
                                                      22.)                til March
                                                                         til  March 5.    5. Marcus
                                                                                              Marcus also
                                                                                                        also noted
                                                                                                              noted that
                                                                                                                       that Allied
                                                                                                                              Allied Waste
                                                                                                                                       Waste
                                                                          had not
                                                                         had    not produced
                                                                                      produced any any evidence
                                                                                                        evidence to to counter
                                                                                                                         counter Escobar's
                                                                                                                                   Escobar's
    The parties
   The    parties asked
                   asked Marcus
                          Marcus to to answer
                                       answer the
                                               the question,
                                                    question,             assertion that
                                                                         assertion      that he
                                                                                              he continued
                                                                                                   continued to to perform
                                                                                                                    perform his  his regular
                                                                                                                                      regular
       Did [Allied
      Did     [Allied Waste]
                       Waste] havehave just
                                        just cause
                                             cause toto terminate
                                                         terminate        duties between
                                                                         duties      between February
                                                                                                 February 33 and and March
                                                                                                                        March 55 without
                                                                                                                                     without
       the employment
      the   employment of    of [Escobar]
                                 [Escobar] on
                                            on the
                                                the grounds
                                                     grounds that
                                                                that      modification. Marcus
                                                                         modification.        Marcus particularly
                                                                                                        particularly noted
                                                                                                                        noted that
                                                                                                                                 that Allied
                                                                                                                                       Allied
       [Escobar] failed
      [Escobar]     failed to
                            to perform
                                perform the
                                          the duties
                                              duties of
                                                      of any
                                                          any reg-
                                                               reg-       Waste never
                                                                         Waste      never called
                                                                                             called the
                                                                                                     the assistant
                                                                                                         assistant itit assigned
                                                                                                                        assigned to to Esco-
                                                                                                                                        Esco-
       ular position
      ular    position oror classification
                              classification in
                                              in the
                                                  the bargaining
                                                       bargaining         bar to
                                                                         bar   to testify
                                                                                   testify at
                                                                                            atthe
                                                                                               the hearing.
                                                                                                   hearing.
       unit for
      unit   for aa period
                     period longer
                               longer than
                                       than six
                                             six months,
                                                  months, as as re-
                                                                 re-
       quired in
      quired     in Article
                     Article 16, 16, Section
                                      Section 5,
                                               5, ofof the
                                                        the labor
                                                              labor       *4 Because
                                                                         *4   Because he  he found
                                                                                              found that
                                                                                                       that Escobar
                                                                                                             Escobar did did inin fact
                                                                                                                                   fact per-
                                                                                                                                           per-
       agreement?
      agreement?                                                          form the
                                                                         form    the regular
                                                                                      regular duties
                                                                                                duties ofof aa roll-off
                                                                                                                roll-off driver,
                                                                                                                           driver, Marcus
                                                                                                                                      Marcus
    (App. in
   (App.     in Supp.
                Supp. of of Pl.'s
                            PL's Mot.
                                   Mot. Summ.
                                         Summ. J.J. at
                                                     at 2.)
                                                        2.) In
                                                             In ac-
                                                                 ac-      concluded that
                                                                         concluded      that the
                                                                                              the six-month
                                                                                                    six-month clockclock under
                                                                                                                            under Article
                                                                                                                                       Article
    cordance with
   cordance     with the
                       the CBA,
                            CBA, Marcus
                                    Marcus held
                                             held aa hearing
                                                      hearing and
                                                                and        16(5) did
                                                                         16(5)    did not
                                                                                       not begin
                                                                                            begin to to run
                                                                                                         run until
                                                                                                              until March
                                                                                                                      March 5,   5, the
                                                                                                                                     the day
                                                                                                                                           day
    received evidence.
   received      evidence. After
                              After the
                                      the hearing,
                                           hearing, Marcus
                                                      Marcus in- in-      Escobar stopped
                                                                         Escobar     stopped performing
                                                                                               performing his  his regular
                                                                                                                     regular duties
                                                                                                                                duties alto-
                                                                                                                                          alto-
    vited the
   vited    the parties
                  parties to
                           to submit
                                submit post-hearing
                                         post-hearing briefs
                                                        briefs ar-
                                                                 ar-      gether due
                                                                         gether     due to
                                                                                         to his
                                                                                             his on-the-job
                                                                                                   on-the-job injury.
                                                                                                                 injury. Marcus
                                                                                                                            Marcus inter-inter-
    guingtheir
   guing    their positions.
                   positions.                                             preted the
                                                                         preted    the plain
                                                                                        plain language
                                                                                               language of  of Article
                                                                                                                Article 16(5)
                                                                                                                           16(5) to to mean
                                                                                                                                         mean
                                                                          that the
                                                                         that   the question
                                                                                     question isis whether
                                                                                                    whether in in fact
                                                                                                                   fact the
                                                                                                                         the employee
                                                                                                                              employee isis
    After review
   After   review of of the
                         the evidence
                               evidence and
                                          and the
                                               the parties'
                                                     parties' briefs,
                                                              briefs,     actually performing
                                                                         actually    performing his  his regular
                                                                                                          regular duties
                                                                                                                     duties oror was
                                                                                                                                   was per-
                                                                                                                                          per-
    Marcus concluded
   Marcus      concluded that that Allied
                                   Allied Waste
                                            Waste hadhad breached
                                                           breached       forming modified
                                                                         forming     modified duties--not
                                                                                                  duties—not whether
                                                                                                                 whether thatthat employ-
                                                                                                                                     employ-
    the CBA.
   the   CBA. Marcus
                 Marcus began
                            began his
                                    his opinion
                                         opinion discussing
                                                    discussing Art-
                                                                  Art-    ee was
                                                                         ee   was technically
                                                                                    technically placed
                                                                                                   placed onon aa modified
                                                                                                                    modified duty duty by by aa
    icle 16(5)
   icle   16(5) of
                 of the
                     the CBA.
                           CBA. He  He found
                                        found that
                                                 that article
                                                       article to
                                                                to be
                                                                   be     physician. Since
                                                                         physician.     Since itit wasn't
                                                                                                   wasn't until
                                                                                                            until March
                                                                                                                    March 55 thatthat Esco-
                                                                                                                                         Esco-
    "clear and
   "clear    and unambiguous."
                  unambiguous." (App.  (App. in in Supp.
                                                     Supp. ofof Pl.'s
                                                                 PL's     bar ceased
                                                                         bar    ceased performing
                                                                                         performing his  his regular
                                                                                                              regular duties,
                                                                                                                          duties, thethe six-
                                                                                                                                           six-
    Mot. Summ.
   Mot.    Summ. J.J. atat 8.)
                             8.) The
                                 The clear
                                      clear meaning,
                                              meaning, according
                                                          according       month clock
                                                                         month     clock did
                                                                                           did not
                                                                                                not expire
                                                                                                      expire until
                                                                                                              until September
                                                                                                                      September 5.5. And  And
    to Marcus,
   to   Marcus, was  was thatthat Article
                                   Article 16(5)
                                              16(5) gave
                                                       gave Allied
                                                               Allied     because Escobar
                                                                         because     Escobar was was cleared
                                                                                                       cleared to to work
                                                                                                                      work without
                                                                                                                              without any  any
    Waste the
   Waste     the right
                   right toto terminate
                                terminate anyany employee
                                                    employee who who      restrictions on
                                                                         restrictions    onAugust
                                                                                            August 22, 22, which
                                                                                                            which waswas before
                                                                                                                           beforethe  the six-
                                                                                                                                           six-
    failed to
   failed   to perform
                perform the the duties
                                 duties of
                                         of any
                                             any regular
                                                   regular position
                                                            position      month period
                                                                         month      period had
                                                                                             had expired,
                                                                                                    expired, Allied
                                                                                                                Allied Waste
                                                                                                                          Waste violated
                                                                                                                                     violated
    or classification
   or   classification for for any
                                 any reason,
                                      reason, including
                                                 including injury,
                                                              injury,     the CBA
                                                                         the   CBAwhenwhen itit terminated
                                                                                                 terminated his his employment
                                                                                                                     employment on      on Ju-
                                                                                                                                            Ju-
    for longer
   for   longer than
                  than sixsix months.
                                months. HeHe stated
                                               stated that
                                                        that Allied
                                                              Allied




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     Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                                           Page 63 of 92 PageID 1154
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                                                                                                                                           Page
   NotReported
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        Reported in            2007WL
                    F.Supp.2d,2007     1703634 (N.D.Tex.)
                                    WL 1703634 (N.D.Tex.)
   (Cite     2007WL
         as:2007
   (Cite as:           1703634 (N.D.Tex.))
                   WL 1703634   (N.D.Tex.))


   ly  23, which
    ly 23,       was also
           which was      before the
                     also before      six-month period
                                  the six-month period                     1358,         L.Ed.2d 1424
                                                                            1358, 44 L.Ed.2d                  (1960). Of
                                                                                                     1424 (1960).         Of course,      the arbit-
                                                                                                                               course, the arbit-
   had  expired.
    had expired.                                                            rator is not free to disregard the taints of the
                                                                           rator    is  not   free  to  disregard     the   terms     of        CBA
                                                                                                                                           the CBA
                                                                           and     impose      "his   own     brand    of   industrial
                                                                            and impose "his own brand of industrial justice."               justice."
   As     result, Marcus
   As aa result,                              Waste to
                                      Allied Waste
                            directed Allied
                   Marcus directed                     to offer
                                                          offer            Beaird, 404
                                                                           Beaird,       404 F.3dF.3d at            Accordingly, the
                                                                                                            944. Accordingly,
                                                                                                        at 944.                           the Court
                                                                                                                                                Court
   Escobar    reinstatement to
   Escobar reinstatement               former or
                                  his former
                              to his            or equivalent
                                                    equivalent             will affirm an arbitral award " 'as long as the
                                                                           will    affirm    an   arbitral  award     "  'as  long    as        arbit-
                                                                                                                                           the arbit-
   position  with no
   position with        interruption in
                    no interruption                 or senior-
                                          benefits or
                                      in benefits       senior-             rator is
                                                                           rator         even arguably construing or applying the
                                                                                     is even      arguably     construing       or  applying       the
   ity. Further, Marcus
   ity. Further,                              Waste to
                                     Allied Waste
                            directed Allied
                   Marcus directed                    to make
                                                          make              contract and
                                                                           contract      and acting     within the
                                                                                                acting within           scope of
                                                                                                                  the scope       of his
                                                                                                                                            authority
                                                                                                                                      his authority
             whole for
   Escobar whole
   Escobar                any loss
                      for any       of wages
                               loss of               other be-
                                                and other
                                        wages and           be-             ...." Id.
                                                                           ...."                     United Paperworker
                                                                                        (quoting United
                                                                                  Id. (quoting                 Paperworkers      s Int'l    Union v.
                                                                                                                                    Int'l Union v.
   nefits between
   nefits                     23, 2003,
                     August 23,
          between August                       the date
                                          and the
                                   2003, and              he is
                                                    date he  is            Misco, Inc., 484 U.S. 29, 38, 108 S.Ct. 364,
                                                                           Misco,       Inc.,   484   U.S.     29,   38,    108    S.Ct.            98
                                                                                                                                             364, 98
   reinstated      advises Allied
   reinstated or advises                    that he
                                    Waste that
                            Allied Waste             does not
                                                 he does    not            L.Ed.2d 286
                                                                           L.Ed.2d        286 (1987)).         If  the    arbitrator's
                                                                                                  (1987)). If the arbitrator's decision      decision
   desire to return   to work.
              return to                  allowed for
                                Marcus allowed
                         work. Marcus                   an off-
                                                   for an  off-             "draw[s] its
                                                                            "draw[s]      its essence      from the
                                                                                                essence from             [CBA] ...
                                                                                                                   the [CBA]         ... the
                                                                                                                                               fact a
                                                                                                                                         the fact a
   set of any interim       earnings, unemployme
                  interim earnings,    unemployment  nt com-
                                                          com-              court is convinced he committed serious error does
                                                                           court     is  convinced      he   committed       serious     error   does
                                                  Escobar re-
   pensation, or state or federal assistance Escobar        re-                   suffice to
                                                                           not suffice
                                                                           not                    overturn his
                                                                                             to overturn            decision." Eastern
                                                                                                              his decision."       Eastern Asso-Asso-
   ceived after
           after August
                 August   23.                                               ciated Coal
                                                                            ciated             cotp. v.
                                                                                      Coal corp.          United Mine
                                                                                                      v. United              Workers of
                                                                                                                     Mine Workers              Amer-
                                                                                                                                            of Amer-
                                                                           ica,    District     17,  et  al.,  531   U.S.    57,
                                                                            ica, District 17, et al., 531 U.S. 57, 62, 121 S.Ct.   62,     121   S.Ct.
   II. Analysis                                                            462,      148    L.Ed.2d     354     (2000)
                                                                           462, 148 L.Ed.2d 354 (2000) (internal quotations(internal     quotations
                                                                           and    citations omitted).
                                                                            and citations      omitted).
   A. Standard
                                                                               The Court
                                                                           *5 The
                                                                           *5                   characterized the
                                                                                           has characterized
                                                                                     Court has                         "essence test"
                                                                                                                 the "essence             as
                                                                                                                                   test" as
                                        when the
                           is proper when             record es-
                                                the record                 "rather   metaphysical  ."  Kergosien     v.  Ocean     Energy,
   Summary judgment
               judgment is                                      es-        "rather metaphysical." Kergosien v. Ocean Energy,
              "that there is no genuine issue
   tablishes "that                            issue as         any
                                                           to any
                                                       as to               Inc., 390
                                                                           Inc.,              346, 353
                                                                                        F.3d 346,
                                                                                  390 F.3d            353 (5th                    (internal
                                                                                                                    Cir.2004) (internal
                                                                                                            (5th Cir.2004)
                                          party is
                                  moving party    is entitled    to
                                                       entitled to         quotations   and  citations   omitted).    Thus,  to
                                                                           quotations and citations omitted). Thus, to draw its   draw    its
   material fact and that the moving
                                 law." Fed.
                              of law."           Civ. P.
                                             R. Civ.
                                       Fed. R.              56(c).
                                                        P. 56(c).          essence   from  the  CBA,    the  award    must
                                                                           essence from the CBA, the award must in some lo-  in  some    lo-
   judgment as a matter of
                                            facts in
                     above, the material facts      in this   case
                                                        this case          gical  way be
                                                                           gical way        derived from
                                                                                        be derived                 wording or
                                                                                                             the wording
                                                                                                      from the                    purpose
                                                                                                                              or purpose
   As mentioned above,
    are not in dispute. What the parties         dispute is
                                       parties dispute          the
                                                            is the         of  the contract,
                                                                           of the                   "the  single   question   is
                                                                                              and "the single question is whether
                                                                                    contract, and                                 whether
                 of the arbitrator        Allied Waste
                         arbitrator that Allied              viol-
                                                   Waste viol-             the   award,  however     arrived   at,  is  rationally
                                                                           the award, however arrived at, is rationally infer-        infer-
   conclusion of
         the CBA
    ated the
   ated              when itit terminated
              CBA when                                   employ-
                                           Escobar's employ-
                               terminated Escobar's                         able from  the contract."  Id. at 353-54.
                                                                           able from the contract." Id. at 353-54.
   ment   because    he had   not  performed
   ment because he had not performed his       his   regular
                                                    regular    du-
                                                               du-
   ties for
   ties     longer than
        for longer             months.
                         six months.
                    than six                                               B. Discussion
                                                                           B. Discussion

                review of
    Judicial review             an arbitration
                            of an                              arising
                                                    decision arising
                                     arbitration decision                   Allied Waste
                                                                           Allied             begins its
                                                                                     Waste begins           attack by
                                                                                                        its attack        arguing that
                                                                                                                     by arguing             Mar-
                                                                                                                                     that Mar-
   Judicial
    from    the   terms    of a  CBA     is narrowly
                                            narrowly     limited,
                                                        limited,   and
                                                                  and      cus   "fashioned his
                                                                            cus "fashioned            own     brand    of  industrial
                                                                                                 his own brand of industrial justice    justice
   from the teinis of a CBA is
          Court is
    the Court           required to
                    is required                         deference to
                                                great deference
                                        afford great
                                   to afford                         to    and   rendered an
                                                                            and rendered      an award             does not
                                                                                                             that does
                                                                                                    award that                   draw its
                                                                                                                           not draw           es-
                                                                                                                                         its es-
   the
                      award. See
           arbitral award.
    the arbitral                See Beaird                     Inc. v.v.
                                                Industries, Inc.
                                      Beaird Industries,                    sence   from   the  contract."     (PL's Mot.    for
                                                                           sence from the contract." (Pl.'s Mot. for Summ J at    Summ.     J. at
   the
             2297, 404
    Local 2297,                   942, 944
                            F.3d 942,
                      404 F.3d            944 (5th   Cir.2005). The
                                               (5th Cir.2005).     The      5.)  It   contends     that    Marcus     "completely
                                                                           5.) It contends that Marcus "completely ignored             ignored
   Local
    Supreme      Court    has emphasized     that                           [the] plain
                                                                           [the]            language of
                                                                                    plain language                 CBA." (Id.)
                                                                                                              the CBA."
                                                                                                          of the                      Although
                                                                                                                              (Id) Although
   Supreme Court has emphasized that
             question of
       the question            interpretation of
                           of interpretation      of the    collective
                                                      the collective        characterized     in  that    fashion,   as   will
                                                                           characterized in that fashion, as will be discussed   be   discussed
      the
       bargaining agreement                 question for
                       agreement isis aa question                arbit-
                                                            the arbit-
                                                       for the              below,     in  reality   Allied     Waste's    arguments
                                                                           below, in reality Allied Waste's arguments invite               invite
      bargaining
               It  is  the  arbitrator's   construction
       rator. It is the arbitrator's construction which waswhich   was      the   Court    to  second-guess       Marcus's
                                                                           the Court to second-guess Marcus's interpretation     interpretation
      rator.                                                                                                                                   to
       bargained for,       and so
                      for, and    so far        the arbitrator's
                                            as the
                                       far as                       de-
                                                     arbitrator's de-      of             16(5) and
                                                                                Article 16(5)
                                                                            of Article                       application of
                                                                                                       his application
                                                                                                  and his                   of that   article to
                                                                                                                                that article
      bargained
      cision                  construction of
                 concerns construction
        cision concerns                            the contract,
                                              of the                the
                                                        contract, the       the facts   of this case.
                                                                           the facts of this case.
                 have no
        courts have
      courts                  business    overruling    him
                          no business overruling him because  because
               interpretation of
       their interpretation
      their                             the contract
                                   of the                     different
                                             contract isis different       AlliedWaste
                                                                           Allied                       that,
                                                                                          asseveratesthat,
                                                                                  Wasteasseverates
                                                                                                                                      re-
                                                                                                                              doctor re-
                                                                                                               clear—if aa doctor
             his.
       thanhis.
      than                                                                  The language of the CBA isis clear--if
                                                                             The  language    of the  CBA
                Steehvorkers of
     United Steelworkers            of America              Enterprise
                                          America v.v. Enterprise            leases an  employee     to  work  with   restrictions,
                                                                            leases an employee to work with restrictions, the
                                                                                                                                      the
   United                                                                                                                       perform-
     Wheel    &    Car   Corp.,  363   U.S.  593,   598-99,
                                                   598-99,   80   S.Ct.
                                                              80S.Ct.       employee         onmodified
                                                                              employee isis on             duty and
                                                                                                modified duty              not perfoiui-
                                                                                                                 and isis not
   Wheel & Car Corp., 363 U.S. 593,




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                        1703634    (N.D.Tex.))
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         ing
       ing the the functionsofof
                 functions     hishis  regular
                                    regular       position.
                                               position.                        clearlyadvised
                                                                              clearly    advisedhim
                                                                                                  himtotodirect
                                                                                                            directany
                                                                                                                    anyquestions
                                                                                                                          questionsororcon-
                                                                                                                                         con-
       (PL's   Mot.   for  Summ.    J.  at  6.)
   (Pl.'s Mot. for Summ. J. at 6.) Allied Waste  Allied   Wasteargues
                                                                    argues      cernshehehad
                                                                              cerns        hadregarding
                                                                                                regardinghishismodified
                                                                                                                  modifiedduty
                                                                                                                             dutytotoSilva.
                                                                                                                                        Silva.
      thatMarcus's
   that      Marcus'sconstruction
                          constructionofofArticle
                                               Article16(5)
                                                          16(5)is iserro-
                                                                      erro-     UnderthetheCBA,
                                                                              Under          CBA,Allied
                                                                                                     AlliedWaste
                                                                                                              Wastecontends
                                                                                                                       contendsthat
                                                                                                                                 thatEsco-
                                                                                                                                       Esco-
      neousbecause
   neous         becauseit itmakes
                               makesit itimpossible
                                              impossible forforAllied
                                                                    Allied      barhad
                                                                              bar    hadnonoauthority
                                                                                              authoritytotocontinue
                                                                                                             continuetotoperform
                                                                                                                           performhis
                                                                                                                                    hisreg-
                                                                                                                                         reg-
      Wastetotoplace
   Waste             placeany
                            anyofofitsitsemployees
                                            employeesononmodified
                                                                modified        ularduties
                                                                              ular   dutieswithout
                                                                                             withoutinforming
                                                                                                      informingSilva.
                                                                                                                   Silva.
       duty   under   the  CBA    or  to   terminate
   duty under the CBA or to terminate any of itsitsem-  any   of       em-
      ployeesforforfailing
   ployees             failingtotoperform
                                    performtheir  theirregular
                                                         regularduties
                                                                     duties     Marcus considered
                                                                              Marcus       considered these
                                                                                                          thesearguments
                                                                                                                  arguments and  andrejected
                                                                                                                                        rejected
   forforsixsixmonths.
                 months.(Pl.'s
                            (PL'sMot.
                                   Mot.forforSumm.
                                                 Summ.J. J.atat6.)6.)Al-Al-     them.HeHeobserved
                                                                              them.           observedthatthatArticle
                                                                                                                Article16(5)
                                                                                                                          16(5)clearly
                                                                                                                                   clearlyandand
      lied   Waste     contends    that   his   interpretation
   lied Waste contends that his interpretation allows               allows      unambiguouslygave
                                                                              unambiguously         gaveAllied
                                                                                                           AlliedWaste
                                                                                                                    Wastethetheright
                                                                                                                                  righttototer-
                                                                                                                                             ter-
   itsitsemployees
           employeestotosimply
                             simplyclaimclaimthatthatthey
                                                       theyperformed
                                                             performed          minatethe
                                                                              minate     theemployment
                                                                                               employmentofofany   anyemployee
                                                                                                                        employeewho   whowas was
      someofoftheir
   some             theirregular
                           regular duties
                                     dutieswhilewhilethey
                                                        theywerewereonon        not performing
                                                                              not    performing his   hisregular
                                                                                                            regular duties,
                                                                                                                      duties, for
                                                                                                                                for whatever
                                                                                                                                      whatever
      modified     duty,   and that  any    employee
   modified duty, and that any employee can just reset    can  just   reset     reason,for
                                                                              reason,     forlonger
                                                                                               longerthan
                                                                                                        thansixsixmonths.
                                                                                                                   months.He  Heconcluded,
                                                                                                                                    concluded,
     the    six-month
   the six-month clock by clock  by    performing
                                    performing         his
                                                     his    regular
                                                          regular      du-
                                                                      du-       however,that
                                                                              however,      thatArticle
                                                                                                  Article16(5)
                                                                                                             16(5)speaks
                                                                                                                    speaksininterms
                                                                                                                                 termsofofanan
      tieswhile
   ties    whileplaced
                    placedononmodified
                               modifiedduty. duty.                              employee'sactual
                                                                              employee's       actualperformance
                                                                                                       performanceand  andnotnotininterms
                                                                                                                                      termsofof
                                                                              a aphysician's
                                                                                   physician'sorder
                                                                                                 orderplacing
                                                                                                         placingananemployee
                                                                                                                       employeeononmodi-  modi-
     AlliedWaste
   Allied     Wasteargues
                       arguesthat thatthe
                                        thecorrect
                                             correctinterpretation
                                                        interpretation          fiedduty.
                                                                              fied    duty.Thus,
                                                                                             Thus,forforMarcus,
                                                                                                          Marcus,whether
                                                                                                                     whetherEscobar
                                                                                                                                Escobar con-con-
   ofof Article
       Article     16(5)
                16(5)   isis  that
                            that     any
                                   any    work
                                        work   an an  employee
                                                    employee      per-
                                                                 per-           tinuedtotoperform
                                                                              tinued       performhis hisregular
                                                                                                           regularduties
                                                                                                                    dutiesdespite
                                                                                                                            despitea aphysi-
                                                                                                                                         physi-
     formswhile
   forms    whileplaced
                    placedononmodified
                                   modifieddutydutybybya aphysician
                                                            physician           cian order
                                                                              cian     ordertoto the
                                                                                                   the contrary
                                                                                                         contrarywaswas notnot "besides
                                                                                                                                 "besides thethe
    doesnot
   does    notqualify
                 qualifyasasperforming
                               performingregular
                                              regular duties.
                                                         duties.ItItisis        point,"but
                                                                              point,"   butwas
                                                                                             wasthe
                                                                                                  thecritical
                                                                                                       criticalquestion.
                                                                                                                 question.
    not  until   a  physician      removes    the   restrictions
   not until a physician removes the restrictions and              and
    clearsthe
   clears    the employee
                   employeetoto perform
                                      performhis his regular
                                                      regular duties
                                                               duties          Basedononthe
                                                                              Based         theevidence,
                                                                                                evidence,Marcus
                                                                                                             Marcusfound,
                                                                                                                       found,asasfact,
                                                                                                                                   fact,that
                                                                                                                                          that
    doesthe
   does    thesix-month
                 six-monthclockclock end--according
                                        end-accordingtotoAlliedAllied          Escobar had
                                                                              Escobar      had been
                                                                                                been performing
                                                                                                       performing his  his regular
                                                                                                                             regular duties
                                                                                                                                        duties
    Waste's    interpretation   .  Thus,   "the   fact
   Waste's interpretation. Thus, "the fact that Escobar that Escobar           from February
                                                                              from    February33until
                                                                                                    untilMarch
                                                                                                            March 55despite
                                                                                                                        despitethe
                                                                                                                                 the physi-
                                                                                                                                       physi-
    claimstotohave
   claims        haveperformed
                        performedhis   hisregular
                                            regularduties
                                                       dutiesfor
                                                              forap-
                                                                   ap-          cianorder.
                                                                              cian   order.Applying
                                                                                              Applyinghishisinterpretation
                                                                                                              interpretation ofofthe
                                                                                                                                  the CBA,
                                                                                                                                        CBA,
    proximately     one
   proximately one month month......isisbeside
                                          besidethethepoint"
                                                        point."(Pl.'s
                                                                 (PL's         Marcus concluded
                                                                              Marcus      concluded that
                                                                                                      that the
                                                                                                             the six-month
                                                                                                                  six-month clock
                                                                                                                               clock under
                                                                                                                                        under
    Resp.totoDef.'s
   Resp.       Def.'sMot.
                      Mot.for forSumm.
                                    Summ.J.J.atat2.)
                                                  2.)                          Article16(5)
                                                                              Article   16(5)did
                                                                                               didnot
                                                                                                   notbegin
                                                                                                        begintotorunrununtil
                                                                                                                        untilMarch
                                                                                                                               March5,5,thethe
                                                                               dayEscobar
                                                                              day    Escobaractually
                                                                                               actually stopped
                                                                                                          stoppedperforming
                                                                                                                     performing hishis regu-
                                                                                                                                        regu-
     Further, Allied
   Further,     Allied Waste
                           Waste argues
                                   argues that
                                             that Marcus's
                                                   Marcus's inter-inter-       larduties.
                                                                              lar  duties.
    pretation
   pretation isiserroneous
                     erroneousbecause
                                  becauseitit allows
                                                allowsforforitsits em-
                                                                    em-
    ployeestotomerely
   ployees        merely disregard
                             disregardthetheorders
                                              ordersofofphysicians
                                                           physicians           Furthermore,Allied
                                                                              Furthermore,         Allied Waste
                                                                                                           Waste did didnot
                                                                                                                          not discharge
                                                                                                                               dischargeEsco-
                                                                                                                                           Esco-
    placing them
   placing    them on   onmodified
                            modified duty.
                                        duty.Allied
                                               Allied Waste
                                                         Waste con-con-        barbecause
                                                                              bar   becausehe    hecontinued
                                                                                                     continuedtotoperform
                                                                                                                      performhishisregular
                                                                                                                                     regular du-
                                                                                                                                               du-
    tends that
   tends    that its
                   its termination
                        termination ofof Escobar
                                           Escobar waswas justified
                                                              justified        ties despite
                                                                              ties     despite aa physician
                                                                                                    physician order
                                                                                                                  order otherwise.
                                                                                                                          otherwise. AndAnd thethe
    nonetheless because
   nonetheless       because he he violated
                                    violated thethe CBA
                                                      CBA and  and itsits      partiesdid
                                                                              parties     didnot
                                                                                               notsubmit
                                                                                                    submitthat
                                                                                                             thatissue
                                                                                                                   issuetotoMarcus
                                                                                                                              Marcusforforarbit-
                                                                                                                                            arbit-
    rules  when     he   continued   to  perform
   rules when he continued to perform his regular   his  regular du- du-       ration. According
                                                                              ration.     According toto thethe CBA,
                                                                                                                 CBA, Marcus
                                                                                                                          Marcus waswas strictly
                                                                                                                                          strictly
    ties despite
   ties   despiteaaphysician
                       physician order
                                   ordertoto the
                                              the contrary.
                                                   contrary.Allied
                                                                Allied          confined toto adjudicating
                                                                              confined           adjudicating the the issue
                                                                                                                       issue the
                                                                                                                              the parties
                                                                                                                                    parties sub-
                                                                                                                                              sub-
    Waste    argues, "Escobar
   Waste argues,         "Escobarshould
                                    should notnot be
                                                   be able
                                                        able toto uni-
                                                                    uni-       mitted toto him,
                                                                              mitted           him, andand that
                                                                                                              that issue
                                                                                                                    issue concerned
                                                                                                                             concerned Allied
                                                                                                                                           Allied
    laterally avoid
   laterally    avoid thethe plain
                              plain language
                                      language ofof the
                                                      the CBACBA by   by       Waste's decision
                                                                              Waste's        decision toto terminate
                                                                                                             terminate Escobar's
                                                                                                                           Escobar's employ-
                                                                                                                                        employ-
    blatantly    disregarding     his   doctor's
   blatantly disregarding his doctor's orders     orders     and
                                                            and    per-
                                                                  per-         ment because
                                                                              ment      becausehe  he had
                                                                                                       had not
                                                                                                             not performed
                                                                                                                  performed his his regular
                                                                                                                                     regular du-
                                                                                                                                               du-
    forming work
   forming     work beyond
                        beyond hishis restrictions
                                       restrictions without
                                                      without noti-
                                                                  noti-        ties for
                                                                              ties   for more
                                                                                           more than
                                                                                                   than six
                                                                                                         six months
                                                                                                               months under
                                                                                                                         under Article
                                                                                                                                 Article 16(5).
                                                                                                                                           16(5).
    fying   the  safety manager,
   fying the safety        manager, RubyRuby Silva."
                                               Silva." (Pl.'s
                                                          (PL's Mot.
                                                                  Mot.         Thus, Marcus
                                                                              Thus,      Marcus would
                                                                                                    would have
                                                                                                             have acted
                                                                                                                    acted outside
                                                                                                                            outside ofof his
                                                                                                                                         his au-
                                                                                                                                               au-
    for Summ.
   for   Summ.S.J.atat6.)6.)                                                   thority ifif he
                                                                              thority        he determined
                                                                                                  determined that,
                                                                                                                that, because
                                                                                                                       because Allied
                                                                                                                                  Allied Waste
                                                                                                                                           Waste
                                                                               could have
                                                                              could      have terminated
                                                                                                terminated Escobar
                                                                                                               Escobar for
                                                                                                                         for alternative
                                                                                                                              alternative reas-
                                                                                                                                             reas-
    *6 Finally,
   *6   Finally, Allied
                  Allied Waste
                             Waste contends
                                      contends that
                                                  that Marcus
                                                        Marcus                 ons, itit did
                                                                              ons,       didnot
                                                                                              not violate
                                                                                                  violate the
                                                                                                           the CBA.
                                                                                                                CBA.
    erred when   he   concluded that
   erred when he concluded         that Escobar
                                         Escobar was
                                                   was not
                                                        not re-
                                                             re-
    quired to
   quired to   report
              report   his
                      his   situation
                           situation   to
                                      to  Silva.
                                          Silva.  According
                                                  According   to
                                                             to                Moreover, Allied
                                                                              Moreover,     Allied Waste
                                                                                                   Waste fails
                                                                                                            fails to
                                                                                                                   to point
                                                                                                                      point to
                                                                                                                             to any
                                                                                                                                 any provi-
                                                                                                                                     provi-
   Allied Waste,
   Allied   Waste, thethe February
                            February 33 letter
                                            letter to
                                                    to Escobar
                                                       Escobar                 sion in
                                                                              sion   in the
                                                                                         the CBA
                                                                                             CBA that
                                                                                                   that required
                                                                                                         required Escobar
                                                                                                                     Escobar toto report
                                                                                                                                  report to
                                                                                                                                          to




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                                             Thomson Reuters.
                                                     Reuters. No
                                                              No Claim
                                                                 Claim to
                                                                       to Orig.
                                                                          Orig. US
                                                                                US Gov.
                                                                                   Gov. Works.
                                                                                        Works.




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                                       am.aspx? sv—Spplit&destination=atp&
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     Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                                                  Page 65 of 92 PageID 1156
     Not
   Not   Reported
       Reported   in in F.Supp.2d
                      F.Supp.2d                                                                                                                      Page
                                                                                                                                                    Page 66
     Not
   Not   Reported
       Reported   in in F.Supp.2d,
                      F.Supp.2d,   2007
                                 2007 WLWL  1703634
                                          1703634   (N.D.Tex.)
                                                  (N.D.Tex.)
     (Cite
   (Cite as:as: 2007
             2007  WL WL   1703634
                         1703634    (N.D.Tex.))
                                  (N.D.Tex.))


   itsitssafety
           safetymanager,
                     manager,Silva,Silva,that
                                            thatthetheconditions
                                                           conditionsofofhishis        Local767
                                                                                    Local        767contends
                                                                                                        contendsthat
                                                                                                                   thatAllied
                                                                                                                          AlliedWaste's
                                                                                                                                  Waste'srefusal
                                                                                                                                             refusaltoto
      position      required   him    to   perform
   position required him to perform his regular          his   regularduties
                                                                          duties       abidebybyand
                                                                                    abide             andcomply
                                                                                                             complywith
                                                                                                                      withthe
                                                                                                                            thearbitrator's
                                                                                                                                 arbitrator'sdecision
                                                                                                                                               decision
      beyond       the  physician-or
   beyond the physician-ordered          dered     restrictions.
                                                 restrictions.     AtAt     best,
                                                                         best,      is iswithout
                                                                                            withoutjustification.
                                                                                                       justification.Thus,
                                                                                                                       Thus,Local
                                                                                                                              Local767767argues
                                                                                                                                            arguesthat
                                                                                                                                                    that
      AlliedWaste
   Allied       Wastepointspointstotothe
                                       theletter
                                              letterit itsent
                                                            sentEscobar
                                                                  Escobaronon       it it
                                                                                       is isentitled
                                                                                              entitledtotoreasonable
                                                                                                            reasonableattorney's
                                                                                                                        attorney'sfees.
                                                                                                                                    fees.
      February3.3.The
   February             TheCBA,
                              CBA,however,
                                      however,provides
                                                     providesthat, that,"Em-
                                                                           "Em-
      ployees       shall   immediately,
   ployees shall immediately,                or oratatthe the   end
                                                              end   ofof    their
                                                                         their      AsAsa astarting
                                                                                                 startingpoint,
                                                                                                           point,the theSupreme
                                                                                                                            SupremeCourt Courthas hasre-re-
      shift,report
   shift,     reportallallinjuries
                              injuriestototheir theirimmediate
                                                         immediatesuper- super-        peatedlyreaffirmed
                                                                                    peatedly        reaffirmedthe  the"American
                                                                                                                          "AmericanRule" Rule"holding
                                                                                                                                                  holding
      visor...."
   visor      ...."(App.
                      (App.ininSupp.
                                  Supp.ofofPl.'s PL'sMot.
                                                        Mot.Summ.Summ.3.J.atat         thateach
                                                                                    that     eachparty
                                                                                                    partyinina alawsuit
                                                                                                                  lawsuitordinarily
                                                                                                                              ordinarilyshall
                                                                                                                                           shallbear
                                                                                                                                                  bearitsits
      25.)  Escobar       twice  reported      to  his
   25.) Escobar twice reported to his immediate super-    immediate      super-     ownownattorney's
                                                                                              attorney'sfees--"the
                                                                                                           fees-"theprevailing
                                                                                                                         prevailingparty
                                                                                                                                       partyisisnot
                                                                                                                                                  noten-
                                                                                                                                                       en-
      visorsthat
   visors       thathishisassistant
                             assistant failed
                                          failedtotohelp  helphimhimininany  any      titledtotocollect
                                                                                    titled         collectfrom
                                                                                                            fromthe theloser."
                                                                                                                         loser."Buckhannon
                                                                                                                                  BuckhannonBd     Bd.&&
   waywayand andasasa aresult,
                           result,hehewas
                                        wasrequired
                                                requiredtotocontinue
                                                                  continuetoto         CareHome,
                                                                                    Care       Home,Inc.,
                                                                                                        Inc.,etetal.al.v.v.West
                                                                                                                              WestVirginia
                                                                                                                                    VirginiaDep'tDep'tofoj
     performhis
   perform        hisregular
                       regularduties
                                 dutiesdespite
                                          despitebeing
                                                     beinginjured.
                                                               injured.               Health&&Human
                                                                                    Health            HumanRes.,
                                                                                                               Res.,etetal.,al, 532
                                                                                                                                 532U.S.
                                                                                                                                       U.S.598,598,602,
                                                                                                                                                     602,
                                                                                    121121S.Ct.
                                                                                             S.Ct1835,1835,149149L.Ed.2d
                                                                                                                    L.Ed.2d855  855(2001);
                                                                                                                                     (2001);Hensley,
                                                                                                                                                 Hensley,
   TheTherecord
            recordshowsshowsthatthatMarcus
                                       Marcusdischarged
                                                  dischargedhis    hisduties
                                                                       duties       etetal.al.v.v.Eckerhart,
                                                                                                   Eckerhart,etetal., al.,461
                                                                                                                            461U.S.
                                                                                                                                 U.S.424,
                                                                                                                                        424,429,429,103
                                                                                                                                                      103
      in  accordance
   in accordance with      withthetheCBACBAand  andthat
                                                     thatheheactedactedwell
                                                                          well         S.Ct.1933,
                                                                                    S.Ct.      1933,7676L.Ed.2d
                                                                                                           L.Ed.2d4040(1983);
                                                                                                                            (1983);Alyeska
                                                                                                                                     AlyeskaPipeline
                                                                                                                                                 Pipeline
      within the
   within       the scope
                       scope ofofhis  his authority.
                                            authority. Following
                                                           Following the    the       ServiceCo.
                                                                                    Service        Co.v.v. Wilderness
                                                                                                             WildernessSociety,
                                                                                                                             Society, 421
                                                                                                                                        421U.S.
                                                                                                                                              U.S. 240,
                                                                                                                                                     240,
      termsofofthe
   terms           theCBA,
                         CBA,Marcus
                                 Marcusheld   helda ahearing
                                                       hearingand   andgave
                                                                         gave         247,9595S.Ct.
                                                                                    247,           S.Ct.1612,
                                                                                                          1612,4444L.Ed.2d
                                                                                                                       L.Ed.2d141  141(1975).
                                                                                                                                         (1975).Under
                                                                                                                                                   Under
      bothsides
   both      sidesthe theopportunity
                            opportunitytotosubmitsubmitevidence.
                                                            evidence.Ad-  Ad-         thispractice,
                                                                                    this    practice,a acourt
                                                                                                            courtwill
                                                                                                                    willnotnotaward
                                                                                                                                awardattorney's
                                                                                                                                         attorney'sfees
                                                                                                                                                      fees
      ditionally,    a  review     of  the  language
   ditionally, a review of the language in Article       in   Article16(5)
                                                                        16(5)       totoa aprevailing
                                                                                              prevailingparty
                                                                                                            party"absent
                                                                                                                     "absent explicit
                                                                                                                                explicitstatutory
                                                                                                                                           statutory au-
                                                                                                                                                       au-
   andandininthe
               theCBA CBAestablishes
                              establishesthat thatMarcus's
                                                   Marcus'sinterpreta-
                                                                  interpreta-         thority."Buckhannon,
                                                                                    thority."      Buckhannon532  , 532U.S.
                                                                                                                         U.S.atat602.
                                                                                                                                  602.
      tionand
   tion     anddecision
                   decisioncan  canbeberationally
                                          rationallyinferred
                                                        inferredfrom fromit.it.
     Article 16(5)
   Article       16(5) uses
                          uses thethe words
                                        words "perform"
                                                  "perform" and   and"per-
                                                                        "per-         Section301
                                                                                    Section        301ofofLMERA
                                                                                                              LMBAdoes     doesnotnot explicitly
                                                                                                                                        explicitlyprovide
                                                                                                                                                     provide
      forming." Thus
   forming."         Thus itit isis rational
                                      rational toto infer
                                                      infer that
                                                               that Article
                                                                      Article         forattorney's
                                                                                    for     attorney'sfeesfeesinina asuitsuitbrought
                                                                                                                               broughttotovacate
                                                                                                                                              vacateananar- ar-
      16(5)'sprimary
   16(5)'s      primaryconcern
                             concernisisthe  theactual
                                                  actualworkworkthe  theem-
                                                                          em-         bitrator'saward
                                                                                    bitrator's      awardorortotoorder orderitsitsenforcement.
                                                                                                                                    enforcement.Never-Never-
     ployeeisisperfoiming
   ployee           performingand   andnotnotwhether
                                                whetherthe   theemployee
                                                                   employee           theless,under
                                                                                    theless,      underthe thelaw lawofofthis
                                                                                                                            thisCircuit,
                                                                                                                                 Circuit, "when
                                                                                                                                             "whenaachal-chal-
     wasplaced
   was      placedononmodified
                            modified duty dutyby by aaphysician.
                                                         physician. And  And          lenger refuses
                                                                                    lenger       refuses toto abideabide byby anan arbitrator's
                                                                                                                                     arbitrator's decision
                                                                                                                                                    decision
     the   CBA     provides
   the CBA provides that        that   employees
                                     employees        are
                                                    are   totoreport
                                                                reporttheir
                                                                         their        withoutjustification,
                                                                                    without       justification, attorney's
                                                                                                                      attorney's fees
                                                                                                                                    fees and
                                                                                                                                           and costs
                                                                                                                                                 costs may
                                                                                                                                                         may
     injuries toto their
   injuries             their immediate
                                immediate supervisors,
                                                 supervisors, not    not the
                                                                           the        properly be
                                                                                    properly        be awarded."
                                                                                                         awarded." Bell   Bell Production
                                                                                                                                 Production Engineers
                                                                                                                                                  Engineers
     safety    manager.         Thus,
   safety manager. Thus, Marcus's         Marcus's conclusion
                                                        conclusion that   that        Association v.v. Bell
                                                                                    Association              Bell Helicopter
                                                                                                                      Helicopter Textron,
                                                                                                                                      Textron, 688 688 F.2d
                                                                                                                                                         F.2d
     Escobarwas
   Escobar       wasnot  not required
                               requiredtoto report
                                                reporthishis situation
                                                                situation toto        997,999
                                                                                    997,       999(5th
                                                                                                    (5thCir.1982).
                                                                                                          Cir.1982).Of     Ofcourse,
                                                                                                                                course,ititisisnot
                                                                                                                                                not enough
                                                                                                                                                      enough
     Silva
   Silva and and    that
                  that    he
                         he    fulfilled
                             fulfilled     any
                                         any     obligations
                                                obligations     hehehad
                                                                      hadby by        simplytotosay
                                                                                    simply           saythat
                                                                                                           that because
                                                                                                                   becausethe thejudicial
                                                                                                                                   judicial challenge
                                                                                                                                               challenge toto
     reporting his
   reporting       his situation
                         situation toto his
                                          his immediate
                                                immediate supervisors
                                                                supervisors          the arbitration
                                                                                    the     arbitration decision
                                                                                                            decisionwas  was unsuccessful,
                                                                                                                               unsuccessful, the  the refus-
                                                                                                                                                       refus-
   isisalso
        alsorationally
              rationallybasedbasedon  onthe
                                         theCBA.
                                               CBA.                                 alal toto abide
                                                                                                abidebyby it,it, aafortiori,
                                                                                                                     fortiori, was
                                                                                                                                 was without
                                                                                                                                        without justifica-
                                                                                                                                                   justifica-
                                                                                     tion. International
                                                                                    tion.      International Association
                                                                                                                     Association of    of Machinists
                                                                                                                                           Machinists &&
   *7*7ItIt isisbeyond
                 beyondthe  the purview
                                 purview of    ofthis
                                                   this Court
                                                          Courttotoreview
                                                                      review         Aerospace Workers,
                                                                                    Aerospace          Workers, District
                                                                                                                       District 766766 v.v. Texas
                                                                                                                                               Texas Steel
                                                                                                                                                        Steel
    Marcus's       findings ofoffact
   Marcus's findings               fact oror toto second-guess
                                                   second-guess his   his in-
                                                                           in-        Company, 639
                                                                                    Company,          639 F.2d
                                                                                                             F.2d 279,279, 283283 (5th
                                                                                                                                    (5th Cir.1981).
                                                                                                                                            Cir.1981). On  On
    terpretation and
   terpretation       and application
                            application of  ofthe the CBA.
                                                        CBA.As  As long
                                                                     long asas       the other
                                                                                    the     other hand,
                                                                                                    hand, merely
                                                                                                             merely asserting,
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    III. Conclusion
   III. Conclusion
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Case 4:22-cv-00343-Y Document 44 Filed 09/20/22   Page 67 of 92 PageID 1158




Ball Metal Container Corp. v. UAW Local 129, 2022 U.S.
App. LEXIS 33214, 2022 WL 340573 at *7-8 (5th Cir.
2022) (unpublished).


                                                              APFA App. 058
      Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                        Page 68 of 92 PageID 1159

     Neutral
As of: September 18, 2022 12:08 AM Z


                     Ball Metal Bev. Container Corp. v. Local 129, UAW
                                  United States Court of Appeals for the Fifth Circuit
                                                February 4, 2022, Filed
                                                     No. 21-10755

Reporter
2022 U.S. App. LEXIS 3214 *; 2022 WL 340573
                                                              his award; [3]-Because the company's challenge was
BALL METAL BEVERAGE CONTAINER
                                                              jurisdictional, the district court did not abuse its
CORPORATION, Plaintiff-Appellee, versus LOCAL 129,
                                                              discretion in denying a fee award; [4]-When an
UNITED AUTOMOBILE, AEROSPACE, AND
                                                              arbitrator's decision did not specify the award during a
AGRICULTURAL IMPLEMENT WORKERS OF
                                                              period of noncompliance, the court was authorized to
AMERICA, Defendant-Appellant.
                                                              remand to the arbitrator for clarification.
Notice: PLEASE REFER TO FEDERAL RULES OF
                                                              Outcome
APPELLATE PROCEDURE RULE 32.1 GOVERNING
                                                              Judgment reversed and remanded.
THE CITATION TO UNPUBLISHED OPINIONS.

Prior History: [*1] Appeal from the United States             LexisNexis® Headnotes
District Court for the Northern District of Texas. USDC
4:20-CV-797.


Ball Metal Bev. Container Corp. v. United Auto., Aero. &
Agric. Implement Workers, Local 129, 547 F. Supp. 3d              Business & Corporate Compliance > ... > Alternative
568, 2021 U.S. Dist. LEXIS 145414, 2021 WL 3277270                Dispute Resolution > Arbitration > Arbitrability
(N.D. Tex., July 6, 2021)
                                                                  Labor & Employment Law > Collective Bargaining &
                                                                  Labor Relations > Labor Arbitration > Arbitration
Core Terms                                                        Awards
arbitrator, termination, just cause, harassment, Grievant,
                                                                  Business & Corporate Compliance > ... > Pretrial
discipline, violations, arbitration award, suspension,
                                                                  Matters > Alternative Dispute Resolution > Judicial
parties, arbitral decision, employees, proper cause,
                                                                  Review
attorney's fees, ambiguity, benefits, modified, terms,
backpay, bargaining, seniority, exceeded, plant,                  Business & Corporate Compliance > ... > Pretrial
disciplinary action, summary judgment, noncompliance,             Matters > Alternative Dispute Resolution > Validity
reasons, suspend, vacatur, rights                                 of ADR Methods

Case Summary                                                  HN1[   ] Arbitration, Arbitrability

                                                              When the parties submit a dispute for arbitration, the
Overview                                                      arbitrator's decision shall be final and binding on all
HOLDINGS: [1]-The employee's harassment violation             parties. The arbitrator's authority, however, is
warranted appropriate disciplinary action, up to and          constrained.
including termination, and the flexibility in this
disciplinary approach permitted the arbitrator to opt for a
penalty short of termination; [2]-Because the arbitrator's
                                                                  Governments > Courts > Rule Application &
opinion did not unambiguously reflect that the arbitrator
                                                                  Interpretation
exceeded his authority, the appellate court must enforce

                                                                                               APFA App. 059
                                                                                                Page 2 of 12
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                                            2022 U.S. App. LEXIS 3214, *1

HN2[   ] Courts, Rule Application & Interpretation            Review

More generally, for violations of plant rules and             Judicial review of arbitration awards is severely limited.
company policies, progressive discipline is to be             The standard for this review is among the narrowest
followed except that steps for discipline may be              known to the law. When an arbitration award settles a
accelerated depending upon the severity of the                labor dispute, judicial review is particularly constrained.
infraction and if there is a pattern of violation of any of   The reasons for insulating arbitral decisions from judicial
the rules.                                                    review are grounded in the federal statutes regulating
                                                              labor-management relations, which reflect a decided
                                                              preference for private settlement of labor disputes
                                                              without the intervention of government.
    Business & Corporate Compliance > ... > Pretrial
    Matters > Alternative Dispute Resolution > Judicial
    Review
                                                                  Business & Corporate Compliance > ... > Pretrial
    Labor & Employment Law > ... > Labor                          Matters > Alternative Dispute Resolution > Judicial
    Arbitration > Judicial Review > Second Level                  Review
    Review
                                                                  Labor & Employment Law > Collective Bargaining &
    Civil Procedure > ... > Summary                               Labor Relations > Labor Arbitration > Arbitration
    Judgment > Entitlement as Matter of                           Awards
    Law > Appropriateness
                                                                  Labor & Employment Law > ... > Labor
    Civil Procedure > Judgments > Summary                         Arbitration > Judicial Review > Essence of
    Judgment > Entitlement as Matter of Law                       Agreements

    Civil Procedure > ... > Summary                               Labor & Employment Law > ... > Labor
    Judgment > Summary Judgment                                   Arbitration > Judicial Review > Scope of Authority
    Review > Standards of Review
                                                                  Labor & Employment Law > ... > Labor
HN3[ ]     Alternative Dispute Resolution, Judicial               Arbitration > Arbitrators > Authority
Review
                                                              HN5[ ]     Alternative Dispute Resolution, Judicial
The appellate court reviews a district court's grant of       Review
summary judgment in a suit to vacate an arbitration
award de novo. Summary judgment is appropriate if the         Under this unusually deferential standard of review,
movant shows that there is no genuine dispute as to any       courts are not authorized to reconsider the merits of an
material fact and the movant is entitled to judgment as a     award. Because the parties bargained for the arbitrator's
matter of law.                                                construction of their agreement, an arbitral decision
                                                              even arguably construing or applying the contract must
                                                              stand, regardless of a court's view of its (de)merits.
                                                              Instead of assessing how well the arbitrator interpreted
    Business & Corporate Compliance > ... > Pretrial
                                                              the contract, we ask if the arbitrator acted within the
    Matters > Alternative Dispute Resolution > Judicial
                                                              contract's bounds. An arbitrator is confined to
    Review
                                                              interpretation and application of the collective bargaining
    Labor & Employment Law > Collective Bargaining &          agreement; he does not sit to dispense his own brand of
    Labor Relations > Labor Arbitration > Arbitration         industrial justice.
    Awards

    Labor & Employment Law > ... > Labor                          Business & Corporate Compliance > ... > Pretrial
    Arbitration > Judicial Review > Scope of Authority            Matters > Alternative Dispute Resolution > Judicial
                                                                  Review
HN4[   ]   Alternative Dispute Resolution, Judicial


                                                                                                APFA App. 060
                                                                                                Page 3 of 12
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                                            2022 U.S. App. LEXIS 3214, *1

    Labor & Employment Law > ... > Labor                          Matters > Alternative Dispute Resolution > Judicial
    Arbitration > Arbitrators > Authority                         Review

    Labor & Employment Law > ... > Labor                      HN8[ ]    Alternative Dispute Resolution, Judicial
    Arbitration > Judicial Review > Essence of                Review
    Agreements
                                                              The correctness of the arbitrator's interpretation is
    Labor & Employment Law > ... > Labor                      irrelevant so long as it was an interpretation.
    Arbitration > Judicial Review > Second Level
    Review
                                                                  Business & Corporate Compliance > ... > Pretrial
    Labor & Employment Law > ... > Labor
                                                                  Matters > Alternative Dispute Resolution > Judicial
    Arbitration > Judicial Review > Scope of Authority
                                                                  Review
HN6[ ]     Alternative Dispute Resolution, Judicial
                                                                  Labor & Employment Law > Collective Bargaining &
Review
                                                                  Labor Relations > Labor Arbitration > Arbitration
                                                                  Awards
To determine whether arbitrators have overstepped their
authority, courts apply the essence test, evaluating
                                                                  Labor & Employment Law > ... > Labor
whether the arbitration award has a basis that is at least
                                                                  Arbitration > Judicial Review > Essence of
rationally inferable, if not obviously drawn, from the
                                                                  Agreements
letter or purpose of the collective bargaining agreement.
Where the arbitrator exceeds the express limitations of
                                                                  Labor & Employment Law > ... > Labor
his contractual mandate, judicial deference is at an end.
                                                                  Arbitration > Judicial Review > Scope of Authority
In these situations, an arbitrator is no longer applying or
interpreting the agreement but rewriting it, and the              Labor & Employment Law > ... > Labor
appellate court will vacate the award. Where there is             Arbitration > Judicial Review > Second Level
ambiguity as to whether an arbitrator is acting within the        Review
scope of his authority, however, that ambiguity must be
resolved in favor of the arbitrator.                          HN9[ ]    Alternative Dispute Resolution, Judicial
                                                              Review

    Labor & Employment Law > Collective Bargaining &          When there are two alternative constructions of an
    Labor Relations > Labor Arbitration > Discipline,         arbitrator's reasoning, one of which would uphold the
    Layoffs & Terminations                                    decision, the appellate court must enforce the award. As
                                                              the Supreme Court has explained, a mere ambiguity in
    Labor & Employment Law > Wrongful                         the opinion accompanying an award, which permits the
    Termination > Breach of Contract > For Cause              inference that the arbitrator may have exceeded his
    Standard                                                  authority, is not a reason for refusing to enforce the
                                                              award. Unless the arbitral decision does not draw its
HN7[ ] Labor Arbitration, Discipline, Layoffs &               essence from the collective bargaining agreement, a
Terminations                                                  court is bound to enforce the award even when the
                                                              basis for the arbitrator's decision may be ambiguous.
Explicating broad CBA terms like cause, when left
undefined by contract, is the arbitrator's charge. In
addition to assessing the nature of the violations, an
                                                                  Business & Corporate Compliance > ... > Pretrial
arbitrator may under the precedents take account of
                                                                  Matters > Alternative Dispute Resolution > Judicial
employee tenure in determining whether just cause for
                                                                  Review
discipline exists rather than for dismissal.
                                                              HN10[ ] Alternative Dispute Resolution, Judicial
                                                              Review
    Business & Corporate Compliance > ... > Pretrial


                                                                                               APFA App. 061
                                                                                                Page 4 of 12
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                                            2022 U.S. App. LEXIS 3214, *1

Given that arbitrators need not explain their reasoning at
all, an ambiguity in reasoning generally will not disturb
their awards. It has long been settled that arbitrators are       Business & Corporate Compliance > ... > Alternative
not required to disclose or explain the reasons                   Dispute Resolution > Arbitration > Arbitrability
underlying an award. Although explanations of
arbitration awards are not mandatory, they are                    Business & Corporate Compliance > ... > Pretrial
desirable. To encourage justification, the Supreme                Matters > Alternative Dispute Resolution > Judicial
Court has advised against overturning awards based on             Review
ambiguities that can be identified in the explanations
arbitrators choose to give, since that would discourage       HN13[    ] Arbitration, Arbitrability
them from providing those reasons in the first place. So
long as the appellate court can discern a possible            Courts award fees when the challenge to the arbitrator's
rationale from the arbitrator's actions, his decision must    decision is without justification. Without justification
stand.                                                        refers not to the strength of the challenge but to the
                                                              type. Challenges to an arbitrator's jurisdiction or
                                                              authority do not result in fee awards, whereas
                                                              challenges to the intrinsic merits of a dispute justify fee
    Business & Corporate Compliance > ... > Pretrial          awards even if the challenges are not frivolous. When
    Matters > Alternative Dispute Resolution > Judicial       parties have agreed to arbitrate a dispute, a subsequent
    Review                                                    court challenge to the merits is not justified even when
                                                              that question is close because going to court is at odds
HN11[ ] Alternative Dispute Resolution, Judicial              with the parties' agreement to be bound by the
Review                                                        arbitrator's decision.

Before the court rejects an award because of language
in the arbitrator's opinion, the opinion must
unambiguously reflect that the arbitrator based his               Business & Corporate Compliance > ... > Pretrial
decision on noncontractual grounds.                               Matters > Alternative Dispute Resolution > Judicial
                                                                  Review

                                                              HN14[ ] Alternative Dispute Resolution, Judicial
    Business & Corporate Compliance > ... > Pretrial          Review
    Matters > Alternative Dispute Resolution > Judicial
    Review                                                    When an arbitrator's decision does not specify the
                                                              award during a period of noncompliance, the court is
    Civil Procedure > Appeals > Standards of                  authorized to remand to the arbitrator for clarification.
    Review > Abuse of Discretion
                                                              Counsel: For Ball Metal Beverage Container
    Labor & Employment Law > ... > Labor                      Corporation, Plaintiff - Appellee: onathan Gary Rector,
    Arbitration > Judicial Review > Second Level              Esq., Barbi McClennen Lorenz, Littler Mendelson, P.C.,
    Review                                                    Dallas, TX.

    Civil Rights Law > ... > Procedural Matters > Costs       For Local 129, United Automobile, Aerospace, and
    & Attorney Fees > Appellate Review                        Agricultural Implement Workers of America, Defendant -
                                                              Appellant: James Roddy Tanner, Esq., Jamie King
HN12[ ] Alternative Dispute Resolution, Judicial              Harrison, Tanner & Associates, P.C., Fort Worth, TX.
Review
                                                              Judges: Before OWEN, Chief Judge, and CLEMENT
The appellate court reviews the district court's denial of    and ENGELHARDT, Circuit Judges.
attorneys' fees for abuse of discretion. For the same
reason that judicial review of arbitration awards is          Opinion
limited, a party may be awarded attorneys' fees if it has
to fight back a court challenge to the award it obtained
in the parties' chosen forum.


                                                                                                APFA App. 062
       Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                            Page 72 of 92 PageID 1163
                                               2022 U.S. App. LEXIS 3214, *1

PER CURIAM:*                                                      constrained. The agreement states that "[t]he jurisdiction
                                                                  of the arbitrator shall be limited to interpreting or
This labor dispute concerns an arbitrator's decision. We          determining compliance with the terms of this
uphold the award and reverse the contrary judgment of             Agreement. The arbitrator shall have no power to add to
the district court. The parties may present their                 or subtract from, to disregard or modify any part or all of
arguments regarding back pay and benefits from the                the terms of this Agreement."
date that the employee was prepared to return to work
for arbitration.                                                  Ball Metal has rules and policies that govern
                                                                  misconduct. There is a plant rule against harassment as
                                                                  well as a company policy that prohibits discrimination,
I                                                                 harassment, and retaliation. The plant rule defines
                                                                  harassment as activity "of a sexual nature, racial nature,
Ball Metal Beverage Container Corporation (Ball Metal)            a religious nature or any activity that can be construed
operates a beverage can plant in Fort Worth, Texas.               as harassment." Employee training materials describe
Local 129, United Automobile, Aerospace, and                      harassment as including "behavior towards another
Agricultural Implement Workers of America (Local 129)             person which is unwelcome and personally offensive to
is a labor union that serves as the exclusive bargaining          [the] recipient and . . . creates an intimidating, offensive
representative for some Ball Metal employees.                     or hostile work environment."

Ball Metal and Local 129 are parties to a collective              Ball Metal does not prescribe any particular sanction for
bargaining agreement [*2] (CBA) that governs the                  a harassment violation. The harassment policy provides
terms of employment for employees represented by the              only that violations "will subject th[e] employee to
union. The version of the CBA pertinent to this dispute           appropriate disciplinary action, up to and including
contains a management rights provision that includes              termination." HN2[ ] More generally, for violations of
this provision:                                                   plant rules and company policies, "progressive
     Except as otherwise expressly limited by this                discipline [*4] is to be followed except that steps for
     Agreement, all functions of management not                   discipline 'may be accelerated depending upon the
     otherwise relinquished or limited shall remain               severity of the infraction and if there is a pattern of
     vested exclusively in the Company, including, but            violation of any of the rules.'" The procedure is different
     not limited to . . . hire, discipline, or discharge          for selected rules not at issue here whose violation "will
     employees for just cause; . . . provided that these          result in automatic suspension for purpose of
     rights shall not be exercised in any manner which            discharge."
     would constitute a breach of any other Article of this
     Agreement.                                                   Shawn Allen, a Ball Metal employee, was a member
                                                                  and an elected shop chairman of the union. He had
Another article of the agreement, titled "Disciplinary            worked at Ball Metal since 2006. In 2019, Allen was
Actions and Discharge," provides: "The right of the               accused of harassing a coworker. Specifically, he was
Company to discipline or discharge employees for good             accused of yelling at the coworker and calling him a "f---
cause including violations of this Agreement or                   ---g scab" after learning that the coworker had left the
Company rules is hereby acknowledged." Aside from                 union. Allen had been accused of similar conduct in the
these provisions, the CBA does not describe what                  past. He had not otherwise been disciplined for
constitutes just or good cause.                                   behavioral or productivity issues.

The CBA also outlines procedures for addressing                   After an investigation, Ball Metal terminated Allen in late
grievances, including arbitration procedures. HN1[ ]              June 2019. Local 129 filed a grievance contesting the
When the parties submit a dispute for arbitration, the            termination decision, which proceeded to arbitration.
arbitrator's decision "shall be final and binding on all          The parties presented these questions to the arbitrator:
parties." The arbitrator's authority, however, is [*3]            "Whether or not the Grievant, Shawn Allen, was
                                                                  terminated for proper cause and, if not, what is the
                                                                  appropriate remedy?"1
* Pursuant to 5TH CIRCUIT RULE 47.5, the court has determined

that this opinion should not be published and is not precedent
except under the limited circumstances set forth in 5TH CIRCUIT   1 As noted, the CBA uses the terms "just cause" and "good

RULE 47.5.4.                                                      cause," and the parties framed the issue for the arbitrator

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On July 6, 2020, the arbitrator issued an opinion and                Ball Metal and vacated the arbitrator's award. The court
award. In the "DISCUSSION [*5] AND FINDINGS"                         held that the arbitrator exceeded his authority under the
section of the decision, the arbitrator determined that,             CBA by modifying Allen's sanction after stating that
"[u]nder the parties['] CBA, . . . the Company had proper            there was just cause for termination. The court did not
cause to discipline the Grievant for violation of" Ball              discuss the portion of the award in which the arbitrator
Metal's harassment policy and plant rule. The arbitrator             stated that Allen "was not terminated for proper cause."
also determined that, "[b]esides the CBA and Company                 The court also denied attorneys' fees. On appeal, Local
Policy, the Grievant's conduct violated the Preamble of              129 challenges the vacatur and attorneys' fees rulings.
the CBA," which urged "promot[ing] a cooperative and
progressive industrial and economic relationship
between the Company and its employees." The                          II
arbitrator further explained that "while the Company's
decision to terminate the Grievant was for just cause,
the Arbitrator must give some recognition to his thirteen            A
(13) years of service." He concluded that "based upon
all the previous discussion the termination decision is              We begin with the challenge [*7] to the vacatur ruling.
modified in the following AWARD."                                    HN3[ ] "We review a district court's grant of summary
                                                                     judgment in a suit to vacate an arbitration award de
On the following page, under the heading "AWARD," the                novo."2 Summary judgment is appropriate "if the movant
arbitrator wrote: "The Grievant, Shawn Allen was not                 shows that there is no genuine dispute as to any
terminated for proper cause, as the Company failed to                material fact and the movant is entitled to judgment as a
give proper consideration to the Grievant's seniority."              matter of law."3
The award provided that, instead of termination, Allen
would be suspended from the date of his discharge to                 HN4[ ] "Judicial review of arbitration awards is
the date of his return to work; he would be offered                  severely limited."4 "The standard for this review is
immediate reinstatement [*6] without back pay or                     'among the narrowest known to the law.'"5 When an
benefits; and he would retain his seniority. In essence,             arbitration award settles a labor dispute, judicial review
the arbitrator reduced the sanction to a roughly yearlong            is "particularly constrained."6 "The reasons for insulating
unpaid suspension.                                                   arbitral decisions from judicial review are grounded in
                                                                     the federal statutes regulating labor-management
The day after the arbitrator issued the decision, Local              relations," which "reflect a decided preference for
129 informed Ball Metal that Allen wanted to return to               private settlement of labor disputes without the
work and was prepared to do so immediately. The                      intervention of government."7
company declined to reinstate him. Instead, on July 30,
2020, Ball Metal filed suit under § 301 of the Labor                 HN5[     ] Under this unusually deferential standard of
Management Relations Act seeking vacatur of the
arbitrator's award. Local 129 counterclaimed seeking
enforcement of the arbitrator's award, attorneys' fees,
                                                                     2 Beaird Indus. v. Local 2297, Int'l Union, UAW, 404 F.3d 942,
and back pay and benefits for the period of
                                                                     944 (5th Cir. 2005).
noncompliance since the award. The parties filed cross
motions for summary judgment.                                        3 Fed. R. Civ. P. 56(a).


The district court granted summary judgment in favor of              4 ManvilleForest Prods. Corp. v. United Paperworkers Int'l
                                                                     Union, 831 F.2d 72, 74 (5th Cir. 1987).
using a third term, "proper cause." The record shows no
distinction in the meaning of the terms, and neither party           5 Cont'l Airlines v. Air Line Pilots Ass'n, Int'l, 555 F.3d 399, 405

argues for one. For ease of reading, we use the terms                (5th Cir. 2009) (quoting E. Air Lines, Inc. v. Transp. Workers
interchangeably. Cf. Delta Queen Steamboat Co. v. Dist. 2            Union, Local 533, 580 F.2d 169, 172 (5th Cir. 1978)).
Marine Eng'rs Beneficial Ass'n, 889 F.2d 599, 604 (5th Cir.
1989) (observing that the phrases "proper cause" and "just           6 Teamsters Local No. 5 v. Formosa Plastics Corp., 363 F.3d

cause" "carr[y] no talismanic significance in labor                  368, 371 (5th Cir. 2004).
jurisprudence" but rather are merely "term[s] of art that define[]
the many unrelated, independent acts that serve as grounds           7 United Paperworkers Int'l Union v. Misco, 484 U.S. 29, 37,

for employee discipline").                                           108 S. Ct. 364, 98 L. Ed. 2d 286 (1987).

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review, "courts are not authorized to reconsider the              favor of the arbitrator.'"15
merits of an award."8 "Because the parties 'bargained
for the arbitrator's construction of their agreement,' an
arbitral decision 'even arguably construing or applying           B
the contract' must stand, regardless of a court's view of
its (de)merits."9 Instead of assessing how well the               Our decisions in Albemarle Corp. v. United Steel
arbitrator interpreted the contract, [*8] we ask if the           Workers ex rel. AOWU Local 10316 and Weber Aircraft
arbitrator acted within the contract's bounds.10 "[A]n            Inc. v. General Warehouseman and Helpers Union
arbitrator is confined to interpretation and application of       Local 76717 are instructive, if not dispositive. In
the collective bargaining agreement; he does not sit to           Albemarle,        an      arbitration  award      ordered
dispense his own brand of industrial justice."11                  suspension [*9] instead of termination for employees
                                                                  who had violated safety rules. We reversed the district
HN6[ ] To determine whether arbitrators have                      court's vacatur of that award.18 The management rights
overstepped their authority, "courts apply the 'essence           clause in the CBA provided that "the suspending,
test,' evaluating whether the arbitration award 'ha[s] a          disciplining and discharging employees for cause . . .
basis that is at least rationally inferable, if not obviously     are all rights solely of the COMPANY."19 We understood
drawn, from the letter or purpose of the collective               the clause to "contemplate[] situations in which a finding
bargaining agreement.'"12 "[W]here the arbitrator                 of 'cause' could support lesser sanctions than
exceeds the express limitations of his contractual                termination."20 We drew a distinction between this
mandate, judicial deference is at an end."13 In these             clause and clauses in other CBAs that provided only for
situations, "an arbitrator is no longer applying or               discharge, from which "authority to impose a lesser
interpreting the agreement but rewriting it," and we will         alternative sanction cannot be arguably inferred."21
vacate the award.14 "Where 'there is ambiguity as to
whether an arbitrator is acting within the scope of his           Because the CBA in Albemarle did not "make clear that
authority,'" however, "'that ambiguity must be resolved in        any violation of safety rules is an offense requiring
                                                                  discharge," we accepted the interpretation of the
                                                                  arbitrator, who determined that the employees'
                                                                  violations were cause only for discipline, not
8 Id. at 36.
                                                                  termination.22 We acknowledged that "an arbitrator
                                                                  could quite naturally read the CBA to specify that
9 Oxford Health Plans LLC v. Sutter, 569 U.S. 564, 569, 133 S.    Albemarle employees' jobs are contingent on strict
Ct. 2064, 186 L. Ed. 2d 113 (2013) (quoting Eastern               adherence to safety rules," but we concluded that was
Associated Coal Corp. v. UMW, Dist. 17, 531 U.S. 57, 62, 121
S. Ct. 462, 148 L. Ed. 2d 354 (2000)).

10 United Steelworkers v. Enter. Wheel & Car Corp., 363 U.S.      15 Quezada v. Bechtel OG & C Constr. Servs., 946 F.3d 837,

593, 597, 80 S. Ct. 1358, 4 L. Ed. 2d 1424 (1960); see also       844 (5th Cir. 2020).
Delta Queen Steamboat Co. v. District 2 Marine Eng'rs
Beneficial Ass'n, 889 F.2d 599, 602 (5th Cir. 1989) ("We          16 703 F.3d 821 (5th Cir. 2013).

have interpreted Supreme Court jurisprudence as requiring
vacation of arbitral decisions that reinstate discharged          17 253 F.3d 821 (5th Cir. 2001).

employees when such arbitral action is deemed to be an ultra
vires act.").                                                     18 Albemarle, 703 F.3d at 824, 828.


11 Id.                                                            19 Id. at 823.


12 Communs. Workers of Am., AFL-CIO v. Southwestern Bell          20 Id. at 825.

Tel. Co., 953 F.3d 822, 826-27 (5th Cir. 2020) (quoting
Executone Info. Sys., Inc. v. Davis, 26 F.3d 1314, 1325 (5th      21 Id. (quoting Weber, 253 F.3d at 825) (first citing E.I. DuPont

Cir. 1994)).                                                      de Nemours & Co. v. Local 900 of Intern. Chem. Workers
                                                                  Union, 968 F.2d 456, 459 (5th Cir. 1992); then citing Delta
13 Delta Queen, 889 F.2d at 602.
                                                                  Queen Steamboat Co. v. Dist. 2 Marine Eng'rs Beneficial
                                                                  Ass'n, 889 F.2d 599, 601, 603-04 (5th Cir. 1989)).
14 Delek Refin., Ltd. v. Local 202, United Steel, 891 F.3d 566,

570 (5th Cir. 2018).                                              22 Id.



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"not the only arguable reading."23 It was also                  the flexibility within the provisions, "to find in favor of
permissible to read the CBA as the arbitrator had done          Weber's suspension or discharge of an employee, the
and "infer degrees of punishment [*10] for infractions          arbitrator has to find that Weber had just cause for the
based on the egregiousness of employee conduct,"                particular disciplinary action taken."33
rather than "assume[] that all safety violations mandate
the same, harsh penalty of termination."24                      Like the CBAs in Albermarle and Weber, the CBA here
                                                                "contemplates situations in which a finding of 'cause'
Similarly, in Weber, we reversed the district court's           could support lesser sanctions than termination."34 The
vacatur of an arbitration award that ordered suspension         management rights clause provides that Ball Metal
instead of termination for an employee who had                  could "hire, discipline, or discharge employees for just
committed sexual harassment.25 The employee had                 cause." As in Weber, this provision suggests that "just
worked at the company for over twenty-five years.26 The         cause" means "just cause for the particular disciplinary
CBA reserved for the employer "the right to . . .               action taken."35 Indeed, when the parties framed the
suspend, and/or discharge for just cause."27 For the            issue for the arbitrator, they did so in terms of the
harassment rule specifically, the CBA categorized               sanction and asked whether Allen "was terminated for
violations as grounds for "Immediate Suspension for             proper cause."
investigation/Possible Discharge."28 Although the
                                                                HN7[ ] We have determined "that explicating broad
arbitrator determined that the employee had engaged in
                                                                CBA terms like 'cause,' when left undefined by contract,
sexual harassment, he decided that termination was
                                                                is the [*12] arbitrator's charge."36 In addition to
"excessive, given the facts of the case and [the
employee's] prior record of service."29                         assessing the nature of the violations, an arbitrator may
                                                                under our precedents take account of employee tenure
We held that the arbitrator was within "the ambit of his        in determining whether just cause for discipline exists
authority under the CBA by determining that, while there        rather than for dismissal.37 Had Ball Metal wished to
was not just cause to fire [the employee], there was just       remove consideration of any mitigating factors, it could
cause to suspend him without backpay for some eleven            have required termination for all harassment violations
months."30 We accepted the arbitrator's interpretation of       in the CBA or in company rules.38 In fact, Ball Metal did
the CBA as "authorizing a range of punishment" [*11]
for harassment violations.31 We deemed this reading
                                                                33 Id. at 823 (emphasis added).
"plausible because the CBA provides that [the] . . .
violation calls for suspension and possible, not certain,
                                                                34 Albemarle Corp. v. United Steel Workers ex rel. AOWU
discharge; and because the CBA does not establish a
fixed definition of 'just cause,' plainly indicating that the   Local 103, 703 F.3d 821, 825 (5th Cir. 2013).
standard varies with the level of punishment."32 Given          35 Weber, 253 F.3d at 823.


                                                                36 Albemarle,   703 F.3d at 826 (citing Amalgamated Meat
23 Id. at 826.                                                  Cutters & Butcher Workmen, Dist. Local No. 540 v. Neuhoff
                                                                Bros. Packers, Inc., 481 F.2d 817, 820 (5th Cir. 1973)); see
24 Id.
                                                                also Delek Refin., Ltd. v. Local 202, United Steel, 891 F.3d
                                                                566, 571 (5th Cir. 2018) (the amount of discretion involved
25 Weber, 253 F.3d at 823-24.
                                                                makes it difficult to see how an arbitrator's assessment of
                                                                judgment-laden terms like "extreme" and "excessive" can
26 Id. at 823.
                                                                amount to the direct conflict with the CBA that is necessary for
                                                                judicial override).
27 Id.

                                                                37 Weber, 253 F.3d at 823; see also Gulf States Tel. Co. v.
28 Id.
                                                                International Brotherhood of Electrical Workers, 416 F.2d 198,
29 Id.                                                          200-202 (5th Cir. 1969) (affirming the enforcement of an
                                                                arbitration award in which the arbitrator determined that the
30 Id. at 824.                                                  employee's "previous record and seniority count for something
                                                                in arguing against the extreme penalty in industrial relations").
31 Id.
                                                                38 Albemarle, 703 F.3d at 826 ("Had the Company wished to

32 Id.                                                          remove doubt as to whether safety violations like the

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designate violations of other rules as mandating                      In declining to terminate Allen, the arbitrator explained
"automatic suspension for purpose of discharge." The                  his reasoning as follows:
company did not place harassment violations like Allen's                   Under the parties['] CBA, the Arbitrator concludes
within that category, providing instead that they                          that the Company had proper cause to discipline
warranted "appropriate disciplinary action, up to and                      the Grievant for violation of the Company's
including termination." The flexibility in this disciplinary               Discrimination, Harassment, and Retaliation Policy
approach permitted the arbitrator to opt for a penalty                     (CX-4) and Plant Rules No. 21 . . . . The Grievant's
short of termination. The penalty selected—unpaid                          conduct created the violations and he alone must
suspension for over a year—was well within the                             bear the repercussions. Besides the CBA and
arbitrator's discretion.39                                                 Company Policy, the Grievant's conduct violated
                                                                           the Preamble of the CBA . . . .
In light of our precedents, we conclude that the
arbitrator could construe the CBA to mean that Allen's                    The Arbitrator is of the opinion, however, that while
violations were just cause for discipline, rather than just               the Company's decision to terminate the Grievant
cause for termination, given the character of the                         was for just cause, the Arbitrator must give some
violations and his tenure. We hold only [*13] that this                   recognition to his thirteen (13) years of service.
interpretation is an "arguable reading" of the CBA, not                   Accordingly, based upon all the previous discussion
that it is the best or even a good one.40 HN8[ ] "The                     the termination decision [*14] is modified in the
correctness of the arbitrator's interpretation is irrelevant              following award.
so long as it was an interpretation."41
                                                                      On the following page, labeled "AWARD," the arbitrator
                                                                      continued: "The Grievant, Shawn Allen was not
                                                                      terminated for proper cause, as the Company failed to
C
                                                                      give proper consideration to the Grievant's seniority."
The arbitrator stated both that there was just cause for              The award then set forth the terms of Allen's modified
termination and that there was not. Given our especially              suspension sanction.
deferential standard of review, we are bound to resolve
                                                                      Ball Metal argues that the arbitrator exceeded his
the ambiguity in the arbitrator's favor.42
                                                                      jurisdiction under the CBA because he impermissibly
                                                                      altered the sanction after he determined that there was
Grievants' met the criteria for cause to terminate, it had only 'to   just cause for termination. In Ball Metal's view, the
bargain for a specific list of violations that will be considered
                                                                      arbitrator recognized that there was just cause to
sufficient grounds for discharge' in the CBA.") (quoting
                                                                      terminate Allen but then went on to factor in tenure,
Amalgamated Meat Cutters & Butcher Workmen, Dist. Local
                                                                      which he had no authority to consider at that point.
No. 540 v. Neuhoff Bros. Packers, Inc., 481 F.2d 817, 820 (5th
Cir. 1973)).                                                          Local 129 takes another view, emphasizing the
                                                                      arbitrator's later conclusion that there was not just cause
39 See United Steelworkers v. Enter. Wheel & Car Corp., 363           for termination. The union reads the arbitrator's earlier
U.S. 593, 597, 80 S. Ct. 1358, 4 L. Ed. 2d 1424 (1960) ("When         reasoning to mean that Ball Metal had just cause to
an arbitrator is commissioned to interpret and apply the              discipline, and could have had just cause for
collective bargaining agreement, he is to bring his informed          termination, but in the last analysis did not, because of
judgment to bear in order to reach a fair solution of a problem.      Allen's seniority.
This is especially true when it comes to formulating remedies.
There the need is for flexibility in meeting a wide variety of        The arbitrator plainly stated that "the Company's
situations."); Gulf States, 416 F.2d at 202 n.10 ("Arbitral           decision to terminate the Grievant was for just cause,"
determination not only of the existence of misconduct but of          and then just as plainly stated that "the Grievant, Shawn
the fitness of the punishment is routinely grist for the arbitral     Allen [*15] was not terminated for proper cause."
mill.").
                                                                      Neither party has persuaded us that its interpretation
40 Albemarle, 703 F.3d at 826.
                                                                      stressing one rather than the other of these statements
                                                                      is the only possible reading. HN9[ ] When there are
41 Sun Coast Res., Inc. v. Conrad, 956 F.3d 335, 337 (5th Cir.        two alternative constructions of an arbitrator's
2020).                                                                reasoning, one of which would uphold the decision, we
                                                                      must enforce the award. As the Supreme Court has
42 Quezada v. Bechtel OG & C Constr. Servs., 946 F.3d 837,            explained, "[a] mere ambiguity in the opinion
844 (5th Cir. 2020).

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accompanying an award, which permits the inference                 Allen's tenure. A Seventh Circuit case involving similar
that the arbitrator may have exceeded his authority, is            facts supports our conclusion. In Arch of Illinois, Division
not a reason for refusing to enforce the award."43                 of Apogee Coal Corp. v. District 12, United Mine
"Unless the arbitral decision does not 'dra[w] its essence         Workers,49 the Seventh Circuit affirmed an arbitration
from the collective bargaining agreement,' a court is              award that ordered suspension instead of termination
bound to enforce the award . . . even when the basis for           for an employee who had violated a rule against
the arbitrator's decision may be ambiguous."44                     sleeping at work.50 Similar to the Ball Metal CBA, the
                                                                   Arch of Illinois CBA provided that covered employees
HN10[ ] Given that arbitrators need not explain their              could not be "disciplined or discharged except for just
reasoning at all, an ambiguity in reasoning generally will         cause."51 Early in the opinion, the arbitrator observed
not disturb their awards. "It has long been settled that           that "sleeping is sufficient just cause to trigger a
arbitrators are not required to disclose or explain the            discharge" and described other concerns with the
reasons underlying an award."45 Although explanations              employee's conduct, concluding that, "[f]or all of those
of arbitration awards are not mandatory, they are                  reasons therefore the grievant should [*17] be
desirable.46 To encourage justification, the Supreme               terminated."52 Later in the opinion, however, the
Court has advised against "overturning [*16] awards                arbitrator decided that the employee should be
based on ambiguities that can be identified in the                 suspended rather than terminated, reasoning that "the
explanations arbitrators choose to give," since that               senior person's length of service must be recognized
"would discourage them from providing those reasons in             when that individual is dealt with by way of
the first place."47 So long as "[w]e can discern a                 termination."53
possible rationale from the arbitrator's actions, . . . his
decision 'must stand.'"48                                          The company argued that the arbitrator had exceeded
                                                                   his authority by modifying the penalty after already
We deem possible the rationale that the union suggests:            determining that there was just cause for termination.54
the arbitrator could have determined that the offense              The Seventh Circuit considered the company's
was not in fact just cause for termination in light of             interpretation reasonable but not inevitable.55 That was
                                                                   insufficient because the company "must do more than
                                                                   merely show that its interpretation of the opinion is
43 Enter. Wheel, 363 U.S. at 598; see also Wireglass Metal         reasonable; it must demonstrate that the opinion cannot
Trades Council v. Shaw Env't & Infrastructure Inc., 837 F.3d       reasonably be interpreted in any other way."56 The
1083, 1091-92 (11th Cir. 2016) ("The rule of Enterprise Wheel
                                                                   company did not make that showing.57 The alternative
is that, when it is 'not apparent' from the arbitrator's stated
                                                                   interpretation that the company "lacked just cause to
reasoning (or lack thereof) whether she permissibly interpreted
a collective bargaining agreement or impermissibly modified it,
                                                                   discharge [the employee] because of its failure to
and one can plausibly read the award either way, the court
must resolve the ambiguity by finding that the award is an
interpretation of the contract and enforcing it.").
                                                                   49 85 F.3d 1289 (7th Cir. 1996).

44 W.R. Grace & Co. v. Local Union 759, Int'l Union of United
                                                                   50 Id. at 1291, 1294.
Rubber, Cork, Linoleum, & Plastic Workers, 461 U.S. 757,
764, 103 S. Ct. 2177, 76 L. Ed. 2d 298 (1983) (internal citation
                                                                   51 Id. at 1291.
omitted) (quoting Enter. Wheel, 363 U.S. at 597 (1960)).
                                                                   52 Id.
45 See Antwine v. Prudential Bache Sec., Inc., 899 F.2d 410,

412 (5th Cir. 1990).                                               53 Id.


46 Delek Refin., Ltd. v. Local 202, United Steel, 891 F.3d 566,
                                                                   54 Id. at 1293.
572 (5th Cir. 2018).
                                                                   55 Id.
47 Id. at 572-73.

                                                                   56 Id. (citing United Steelworkers v. Enter. Wheel & Car Corp.,
48 Commc'ns Workers of Am. v. Sw. Bell Tel. Co., 953 F.3d
                                                                   363 U.S. 593, 597-98, 80 S. Ct. 1358, 4 L. Ed. 2d 1424
822, 828 (5th Cir. 2020) (quoting Oxford Health Plans LLC v.       (1960)).
Sutter, 569 U.S. 564, 569, 133 S. Ct. 2064, 186 L. Ed. 2d 113
(2013)).                                                           57 Id.



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consider his seniority is not so far-fetched as to lead us        frivolous.65 "[W]hen parties have agreed to arbitrate a
to deduce that the arbitrator relied on a noncontractual          dispute, [*19] a subsequent court challenge to the
basis for the award."58 HN11[ ] The court explained               merits is not justified even when that question is close
that, "before we reject an award because of language in           because going to court is at odds with the parties'
the arbitrator's opinion, the opinion must unambiguously          agreement to be bound by the arbitrator's decision."66
reflect that the arbitrator based [*18] his decision on
noncontractual grounds."59                                        Ball Metal challenged the arbitrator's authority, so a fee
                                                                  award is unwarranted. Throughout its brief, Ball Metal
For similar reasons, we uphold the arbitrator's award in          framed its challenge in jurisdictional terms. The
Allen's case. Because the opinion does not                        company consistently characterized the arbitrator's
unambiguously reflect that the arbitrator exceeded his            modified sanction as an action "exceeding his authority,"
authority, we must enforce his award.                             rather than as a misreading of the contract's terms.67
                                                                  Ball Metal did not contest the arbitrator's interpretation
                                                                  of "just cause for termination."68 Instead, Ball Metal
III                                                               assumed that the arbitrator had recognized just cause
                                                                  for termination and argued that he defied the limits on
We next address the union's challenge to the attorneys'
                                                                  his authority that determination imposed.69 Because
fees ruling. HN12[ ] We review the district court's
                                                                  Ball Metal's challenge was jurisdictional, the district
denial of attorneys' fees for abuse of discretion.60 "For
                                                                  court did not abuse its discretion in denying a fee award.
the same reason that judicial review of arbitration
awards is limited, a party may be awarded attorneys'
fees if it has to fight back a court challenge to the award       IV
it obtained in the parties' chosen forum."61 "This
sanction is necessary lest federal labor policy be                Finally, we address the parties' joint request for
frustrated by judicial condonation of dilatory tactics that       clarification about the award during the period of the
lead to wasteful and unnecessary litigation."62                   company's noncompliance. Specifically, the parties
                                                                  request a remand to the arbitrator to determine whether
HN13[ ] Courts award fees when the challenge to the               to award back pay and benefits for this period.
arbitrator's decision is "without justification."63 "'Without
justification' refers not to the strength of the challenge        The arbitrator's [*20] decision does not make clear
but to the type."64 Challenges to an arbitrator's                 what the award would be in the event of noncompliance.
jurisdiction or authority do not result in fee awards,            The award states that "[t]he Grievant will be offered
whereas challenges to the "intrinsic merits" of a dispute         immediate reinstatement without back pay and
justify fee awards even if the challenges are not                 benefits," but it does not address whether back pay or


                                                                  65 Id.

58 Id. at 1294.

                                                                  66 Id. at 573-74.

59 Id. at 1293.

                                                                  67 See id. at 574 ("[A] party cannot avoid paying attorneys' fees

60 Tercero  v. Tex. Southmost Coll. Dist., 989 F.3d 291, 301      by making only a conclusory assertion that it is challenging the
(5th Cir. 2021).                                                  arbitrator's 'power to make the award.'") (quoting Tex. Steel
                                                                  Co., 639 F.2d at 283).
61 Delek Refin., Ltd. v. Local 202, United Steel, 891 F.3d 566,

573 (5th Cir. 2018).                                              68 See   id. (holding that a challenge to an arbitrator's
                                                                  interpretation of a contract is a merits inquiry and awarding
62 Int'l Ass'n of Machinists & Aerospace Workers, Dist. 776 v.    attorneys' fees); Tex. Steel Co., 639 F.2d at 283-84 (holding
Tex. Steel Co., 639 F.2d 279, 283 (5th Cir. 1981).                that a challenge to an arbitrator's interpretation of a contract
                                                                  warranted attorneys' fees).
63 Bruce Hardwood Floors v. UBC, S. Council of Indus.
Workers, Local Union No. 2713, 103 F.3d 449, 453 (5th Cir.        69 See Executone Info. Sys., Inc. v. Davis, 26 F.3d 1314, 1331

1997).                                                            (5th Cir. 1994) (holding that a challenge to an award "upon a
                                                                  matter not submitted" to the arbitrator is a jurisdictional inquiry
64 Delek, 891 F.3d at 573.                                        and denying attorneys' fees).

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benefits would be warranted if Allen was not offered
immediate reinstatement. HN14[ ] When, as here, an
arbitrator's decision does not specify the award during a
period of noncompliance, "the court is authorized to
remand to the arbitrator" for clarification.70 Since both
parties have requested a remand for this purpose, we
will order one.

***

We REVERSE the award of summary judgment in favor
of Ball Metal and RENDER judgment in favor of Local
129. We AFFIRM the denial of attorneys' fees. We
REMAND to determine whether to award backpay and
benefits during Ball Metal's period of noncompliance.


  End of Document




70 Glass, Molders, Pottery, Plastics & Allied Workers Int'l Union

v. Excelsior Foundry Co., 56 F.3d 844, 849 (7th Cir. 1995);
see also United Steelworkers, Dist. 36, Local 8249 v. Adbill
Mgmt. Corp., 754 F.2d 138, 141-42 (3d Cir. 1985); Marshall
Durbin Cos., Inc. v. United Food & Comm. Workers Union,
Local 1991, 254 F.3d 1081, [published in full-text format at
2001 U.S. App. LEXIS 31738], 2001 WL 563907, at *1 (5th
Cir. 2001) (unpublished) (per curiam).

                                                                                            APFA App. 070
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Bldg. Materials Mfg. Co. v. Steelworkers, 2020 U.S. Dist.
LEXIS 37075, 2020 WL 1047895 at *7-8 (N.D. Tex.
2020)


                                                              APFA App. 071
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     Cited
As of: September 18, 2022 4:20 PM Z


                         Bldg. Materials Mfg. Corp. v. USW Int'l Union
                    United States District Court for the Northern District of Texas, Dallas Division
                                      March 3, 2020, Decided; March 3, 2020, Filed
                                            Civil Action No. 3:18-cv-02606-X

Reporter
2020 U.S. Dist. LEXIS 37075 *; 2020 WL 1047895

BUILDING MATERIALS MANUFACTURING
CORPORATION, Plaintiff, v. UNITED
                                                             MEMORANDUM OPINION AND ORDER
STEELWORKERS INTERNATIONAL UNION on behalf
of its local 00759, Defendant.                               Building Materials Manufacturing Corporation ("Building
                                                             Materials") alleges an arbitrator wrongly granted an
Core Terms                                                   arbitration award to one of defendant United
                                                             Steelworkers       International   Union's        ("United
arbitrator, arbitrator's interpretation, summary judgment    Steelworkers") members, Theresa Truesdell. Building
motion, attorney's fees, collective bargaining agreement,    Materials brings this action under 29 U.S.C. § 185,
costs, contradicting, arbitration award, employees,          which allows suits for a [*2] violation of a contract
merits, arbitral decision, express provision, argues,        "between an employer and a labor organization
matter of law, express language, seniority, terminate,       representing employees in an industry affecting
draws, summary judgment, Challenges, intrinsic               commerce" in a federal district court. Building Materials
                                                             moves for summary judgment seeking to vacate the
Counsel: [*1] For Building Materials Manufacturing           arbitration award [Doc. No. 21] while United
Corporation, Plaintiff: Gavin S Martinson, LEAD              Steelworkers moves for summary judgment seeking to
ATTORNEY, Ogletree Deakins Nash Smoak & Stewart              enforce the award, along with requesting attorneys' fees
PC, Dallas, TX; Christopher Murray, PRO HAC VICE,            and costs [Doc. No. 18]. The Court concludes that
Ogletree Deakins Nash Smoak & Stewart PC,                    United Steelworkers has shown it is entitled to judgment
Indianapolis, IN.                                            as a matter of law.
For United Steelworkers International Union on Behalf
                                                             Therefore, the Court GRANTS United Steelworkers's
of its Local 00759, Defendant, Counter Claimant:
                                                             motion for summary judgment and request for attorneys'
Joseph H Gillespie, LEAD ATTORNEY, Gillespie
                                                             fees and costs and DENIES Building Materials's motion
Sanford LLP, Dallas, TX; Bruce Fickman, United
                                                             for summary judgment.
Steelworkers Legal Department, Pittsburgh, PA; Sasha
Shapiro, PRO HAC VICE, United Steelworkers Legal             I.
Department, Pittsburgh, PA.
                                                             Truesdell was hired by Building Materials, a roofing
For Building Materials Manufacturing Corporation,            manufacturer, on October 14, 1992 to work at its Dallas
Counter Defendant: Gavin S Martinson, LEAD                   facility. On October 21, 2016, Truesdell notified Building
ATTORNEY, Ogletree Deakins Nash Smoak & Stewart              Materials that she would be out of work for several days.
PC, Dallas, TX; Christopher Murray, Ogletree Deakins         After informing Building Materials she would not be able
Nash Smoak & Stewart PC, Indianapolis, IN.                   to return because she needed to be in a less dusty
                                                             environment, Truesdell was instructed to contact the
Judges: BRANTLEY STARR, UNITED STATES                        administrator of leave under the Family and Medical
DISTRICT JUDGE.                                              Leave Act ("FMLA"), Liberty Mutual. Truesdell informed
                                                             Liberty Mutual that [*3] her condition was caused by the
Opinion by: BRANTLEY STARR
                                                             working environment at the Dallas facility. Liberty Mutual
                                                             subsequently approved Truesdell's claim for short-term
Opinion                                                      benefits, which gave Truesdell a maximum of 26 weeks
                                                             of income replacement benefits, applied retroactively as

                                                                                               APFA App. 072
       Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                             Page 82 of 92 PageIDPage
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                                              2020 U.S. Dist. LEXIS 37075, *3

of October 21, 2016.                                              had not passed (Truesdell was discharged on June 7,
                                                                  2017), the arbitrator concluded Truesdell was not
On April 24, 2017, Building Materials contacted                   discharged for cause.
Truesdell asking about her return to work intentions and
ability. Truesdell responded that she needed to be                The arbitrator then fashioned a remedy that extended
placed in a less dusty work area. After some back and             Truesdell's seniority for 30 days and sought to give
forth, Building Materials concluded that all jobs at the          Truesdell an opportunity to be reinstated in a way that
Dallas plant Truesdell was working at, including those            would accommodate her health condition:
outside the manufacturing environment, involved some                  1. Truesdell's seniority will continue for 30 days
exposure to dust. Building Materials alleges that, given              from the date hereof.
such circumstances, they had no choice but to terminate               2. Truesdell will promptly notify the Company in
Truesdell and so they did on June 7, 2017.                            writing if she desires to be activated, any
                                                                      accommodation she will need, and will provide
In response, Truesdell filed a grievance under the                    medical evidence in support of that request.
parties' collective bargaining agreement (hereinafter                 3. The Company will take prompt action on her
"Agreement") on June 8, 2017. After completing the                    request including seeking opportunities in areas
various grievance steps, the matter proceeded to                      other than Millwright work as Lienau testified he did
arbitration. The parties stipulated the following question            prior to her 2016 termination. The Company may
be put before the arbitrator: was Truesdell terminated                seek professional evaluation of Truesdell's current
for just cause? After reviewing the Agreement, the                    medical and physical condition and ability, and
arbitrator concluded the [*4] answer was no. In coming                Truesdell will cooperate in that effort.
to its decision, the arbitrator focused on section 4-11 of            4. The Committee's [sic] mentioned in Article VIII-14
the Agreement, which states:                                          are encouraged to act if the Company's paragraph
      Discharge for cause, voluntary resignation, lost time           3 actions do not result in Truesdell's activation.3
      due to layoff exceeding twenty four (24)
      consecutive months, lost time due to reasons other          On September 28, 2018, Building Materials filed a
      than layoff exceeding twelve (12) months for                complaint [Doc. No. 1] contending the arbitration [*6]
      employees with less than fifteen (15) years                 award should be vacated because the arbitrator ignored
      continuous service and eighteen (18) consecutive            the plain text of the Agreement. It makes this same
      months for employees with more than fifteen (15)            argument in its motion for summary judgment filed on
      years continuous service, or absence without leave          April 24, 2019. United Steelworkers filed its motion for
      for more than four (4) consecutive days, shall              summary judgment on the same day, alleging the
      terminate an Employee's continuous service record           arbitration award draws its essence from the Agreement
      and seniority and if reemployed thereafter shall be         and so should be enforced as written.
      considered a new Employee.1
                                                                  II.
The arbitrator interpreted the seniority termination
                                                                  Before the Court is Building Materials and United
deadlines in this provision as also setting tolling periods
                                                                  Steelworkers's motions for summary judgment.
for when Building Materials could start discharging its
                                                                  Summary judgment is appropriate only if, viewing the
employees. The arbitrator also interpreted "discharge for
                                                                  evidence in the light most favorable to the non-moving
cause" to mean "other than for lost time covered
                                                                  party, "the movant shows that there is no genuine
hereinafter."2 As a result of these moves, the arbitrator
                                                                  dispute as to any material fact and the movant is entitled
interpreted section 4-11 to mean that Building Materials
                                                                  to judgment as a matter of law."4 "A fact is material if it
could not discharge Truesdell, who had 15 years
                                                                  'might affect the outcome of the suit'" and "[a] factual
continuous service, until 18 months from presumably
                                                                  dispute is genuine 'if the evidence is such that a
the date Truesdell notified Building Materials she would
                                                                  reasonable jury could return a verdict for the nonmoving
be out [*5] of work, October 21, 2016. As 18 months



1 Exhibit B to Building Materials's Complaint at p.22 [Doc. No.
                                                                  3 Exhibit A to Building Materials's Complaint at p.17-18 [Doc.
1, Ex. B].
                                                                  No. 1, Ex. A].
2 Exhibit A to Building Materials's Complaint at p.17 [Doc. No.

1, Ex. A].                                                        4 Fed. R. Civ. P. 56(a).



                                                                                                      APFA App. 073
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party.'"5                                                           collective bargaining agreement.8 "It is only when the
                                                                    arbitrator strays from interpretation and application of
The Court notes that the dispute between the parties in             the agreement and effectively 'dispense[s] his own
their motions for summary judgment concerns the                     brand of industrial justice' that his decision may be
arbitrator's interpretation, or lack thereof, of the                unenforceable."9 An arbitrator dispenses "industrial
Agreement and not the arbitrator's fact-finding. As such,           justice" by acting contrary to the express provisions of
the issue before the Court is which movant is entitled to           the collective bargaining agreement or otherwise
judgment as a matter of [*7] law rather than whether                ignoring its plain language.10 In such circumstances, the
there is a genuine dispute of material fact.                        arbitrator is "no longer applying or interpreting the
III.                                                                agreement but rewriting it."11 An example of an
                                                                    arbitrator contradicting the express language of a
Building Materials argues in its motion for summary                 collective bargaining agreement is Southwest Airlines
judgment that the arbitrator exceeded his authority in              Co. v. Local 555, Transportation Workers Union of
ignoring the plain language of the Agreement by issuing             America AFL-CIO, where the Fifth Circuit held an
his award and so, as a matter of law, Building Materials            arbitrator's interpretation that the collective bargaining
is entitled to have the arbitration award vacated. In               agreement's effective date was the signing [*9] date
contrast, United Steelworkers argues in its motion for              was contradicted by express language in the collective
summary judgment that the arbitrator's award draws its              bargaining agreement stating the collective bargaining
essence from the Agreement and so, as a matter of law,              agreement shall "remain in full force and effect as of the
is entitled to have the award enforced. United                      date of ratification."12 Lastly, in formulating any remedy,
Steelworkers also contends it is entitled to attorneys'             the arbitrator must be flexible "in meeting a wide variety
fees and costs because Building Materials brought its               of situations," as the "draftsman may never have
challenge to the arbitration award without justification.           thought of what specific remedy should be awarded to
                                                                    meet a particular contingency."13 Even so, the
The Court agrees with United Steelworkers. In showing               arbitrator's award must ultimately draw its essence from
how the arbitrator's award draws its essence from the
                                                                    the collective bargaining agreement.14
Agreement, United Steelworkers has shown how it is
entitled to summary judgment as a matter of law under               If the party fighting back the challenge to the arbitration
the Rule of Civil Procedure 56(a) summary judgment                  decision in district court prevails, a subsequent question
standard. The Court further agrees that Building                    is whether that party is entitled to attorneys' fees and
Materials brought its challenge without justification and           costs. The Fifth Circuit has made it clear that the party
so United Steelworkers is entitled to attorneys' fees and           facing the challenge to the arbitration is entitled to
costs.                                                              attorneys' fees and costs if the challenge was brought
                                                                    "without justification."15 "Without justification" refers to
In actions brought under 29 U.S.C. § 185 questioning
an [*8] arbitrator's decision on a contract dispute, the
Court may only look at whether the arbitrator's decision
                                                                    8 Id.
"draws its essence from the [collective bargaining
agreement]."6       This      standard     is     interpreted
                                                                    9 MajorLeague Baseball Players Ass'n v. Garvey, 532 U.S.
"expansively."7 Even if the arbitrator "seriously erred in
                                                                    504, 509, 121 S. Ct. 1724, 149 L. Ed. 2d 740 (2001) (quoting
his fact finding or contract interpretation," the Court must
                                                                    United Steelworkers of Am. v. Enter. Wheel & Car Corp., 363
uphold a decision that draws from the essence of the
                                                                    U.S. 593, 597, 80 S. Ct. 1358, 4 L. Ed. 2d 1424 (1960)).

                                                                    10 Delek Ref., Ltd., 891 F.3d at 570 (citations omitted).


5 Thomas    v. Tregre, 913 F.3d 458, 462 (5th Cir. 2019)            11 Id.

(alteration in original) (citing Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986)).       12 912 F.3d 838, 845-6 (5th Cir. 2019).



6 Delek Ref., Ltd. v. Local 202, United Steel, Paper & Forestry,    13 United Steelworkers of Am., 363 U.S. at 597.

Rubber, Mfg., Energy, Allied Indus. & Serv. Workers Int'l
                                                                    14 Id.
Union, AFLCIO, 891 F.3d 566, 570 (5th Cir. 2018).

7 Id.                                                               15 Delek   Ref., Ltd., 891 F.3d at 573 (citation omitted); Int'l

                                                                                                          APFA App. 074
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                                               2020 U.S. Dist. LEXIS 37075, *9

the type of challenge and not to the strength of a                  sense and so understood section 4-11 as tying seniority
challenge.16 Challenges to an arbitrator's jurisdiction or          and employment together. At bottom, the arbitrator
authority are "justified" and so will not result in a fee           focused on the text and what would constitute a
award even if the challenge to the arbitration decision             reasonable interpretation in making his decision.
fails in court.17 However, challenges [*10] that go to the
intrinsic merits of a dispute are "without justification" and       Regarding the award itself, it must draw from the
will result in fees even if not brought frivolously.18              essence of the Agreement but the arbitrator has
                                                                    flexibility to meet "a wide variety of situations."23 Here,
Challenges that go to the intrinsic merits of a dispute
include challenges to an arbitrator's interpretation and            the arbitrator is seeking to balance the traditional
application of a collective bargaining agreement and its            remedy of reinstatement with the arbitrator's finding that
discretion in fashioning a remedy.19 Courts must also be            Truesdell's fitness to work is at issue. To that end, the
                                                                    arbitrator includes provisions requiring Building
wary of a challenging party attempting "to transform [a
                                                                    Materials to accommodate her health condition and
merits] claim into an excess-of-powers claim."20 In other
                                                                    requiring Truesdell to cooperate with Building Materials
words, a party cannot in one breath argue "that the
                                                                    to provide any requested health information. Insofar as
arbitrator transcended his authority" while in another
                                                                    the central issue of this dispute is whether Truesdell
assert that he "exercised his contractual authority . . .
                                                                    was properly discharged under the Agreement, this
inconsistent with applicable principles of contractual
                                                                    remedy, a tailored reinstatement, draws from the
construction, which 'necessarily touch[es] upon the
                                                                    essence of the Agreement.24
'intrinsic merits' of the case.'"21
                                                                    In response, Building Materials raises several objections
Here, the arbitrator's decision and award draw from the
                                                                    to the arbitrator's interpretation of the Agreement and to
essence of the Agreement. Regardless of the accuracy
                                                                    the remedy he issued. [*12] First, Building Materials
of the arbitrator's interpretation of section 4-11 of the
                                                                    argues that Article 8-1 of the Agreement expressly
Agreement, the arbitrator did not stray from
                                                                    allows, without qualification, Building Materials to
"interpretation and application of the agreement" into
                                                                    discharge employees for cause:
dispensing "his own brand of industrial justice."22 The
arbitrator's interpretation of section 4-11 does not                     8-1 The management of the Company's Dallas
contradict any other express provisions of the                           Plant, and all of its subdivisions and departments,
Agreement or any express [*11] language in section 4-                    the direction of the working forces and the affairs of
11 itself. In interpreting section 4-11, the arbitrator                  the Company including the right to hire, suspend,
thought that an interpretation where an employee had                     discharge, or discipline Employees for cause, the
seniority but was no longer employed did not make                        right to transfer or lay off Employees due to lack of
                                                                         work or curtailed production, the right to establish
                                                                         rules of conduct and penalties for violation of said
Ass'n of Machinists & Aerospace Workers, Dist. 776 v. Texas
                                                                         rules, the right to establish, determine, maintain and
Steel Co., 639 F.2d 279, 284 (5th Cir. 1981) (noting how the
party seeking arbitration enforcement is entitled to attorneys'
                                                                         enforce standards of production, the right to
fees and costs if a challenge is brought without justification).         determine and control the number and the
                                                                         qualifications of Employees performing each
16 Delek Ref., Ltd., 891 F.3d at 573.                                    operation at all times, the right to determine what
                                                                         shall be done and all methods and processes by
17 Id.
                                                                         which the work will be carried on, and the right to
18 Id. (citations omitted).
                                                                         determine the number of shifts it shall work and the
                                                                         starting and stopping time of each shift are all
19 Delek Ref., Ltd., 891 F.3d at 573; Int'l Ass'n of Machinists,

639 F.2d at 284.
                                                                    23 United Steelworkers of Am., 363 U.S. at 597.
20 Delek Ref., Ltd., 891 F.3d at 574 (quoting Hous. Ref., L.P. v.

United Steel, Paper & Forestry, Rubber, Mfg., 765 F.3d 396,         24 This
                                                                          explanation of how the arbitrator's remedy draws its
412 (5th Cir. 2014)).                                               essence from the CBA disposes of Building Materials's
                                                                    argument that, assuming the arbitrator's interpretation of the
21 Delek Ref., Ltd., 891 F.3d at 574.                               CBA is correct, the awarded remedy still has no basis in the
                                                                    CBA because Truesdell's reinstatement would occur over 5
22 United Steelworkers of Am., 363 U.S. at 597.                     months after the prescribed 18-month leave period.

                                                        Warren Lipschitz                                APFA App. 075
       Case 4:22-cv-00343-Y Document 44 Filed 09/20/22                             Page 85 of 92 PageIDPage
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                                             2020 U.S. Dist. LEXIS 37075, *12

     vested solely and exclusively in the Company                 any other Agreement provision.
     provided that in the exercise of any of said rights or
     any or all other not enumerated rights or powers or          For the reasons stated above, the Court holds that the
     authority       customarily       exercised        by        arbitrator was not dispensing his own brand of industrial
     Management, [*13] the Company shall not violate              justice and that his award and decision draw from the
     the express provisions of this Agreement.25                  essence of the Agreement. Given this holding, the Court
                                                                  must now [*15] decide whether United Steelworkers is
Building Materials contends that the arbitrator's                 entitled to attorneys' fees and costs.
interpretation of section 4-11, specifically its
interpretation of "discharge for cause" to mean                   United Steelworkers is entitled to attorneys' fees and
discharge for reasons other than lost time covered in             costs because Building Materials brought this challenge
section 4-11, contradicts this unqualified right. This            without justification. As noted above, "without
objection misses the mark. Article 8-1 expressly gives            justification" means that the challenge goes to the merits
Building Materials the "sole and exclusive right" to              of the dispute, which includes an arbitrator's
discharge an employee for cause but it does not define            interpretation of a contract.27 Here, Building Materials at
what "cause" means. The arbitrator is interpreting what           several points in its briefing on these motions for
"cause" means and is not contesting Building Materials's          summary        judgment      contests    the     arbitrator's
"sole and exclusive right" to discharge an employee for           interpretation of the Agreement. For example, in its
cause. Moreover, Article 8-1 expressly limits such "sole          motion for summary judgment, Building Materials
and exclusive right" when it states that exercising this          argues that the arbitrator's interpretation of Article 4-11
right "shall not violate the express provisions of this           mandating 18-months of leave for employees is wrong
Agreement." For these reasons, Building Materials has             because Article 4-11, properly interpreted, does not
failed to show how the arbitrator's interpretation of             mandate leave. Additionally, in the same motion,
Article 4-11 contradicts the express language of Article          Building Materials argues the arbitrator's interpretation
8-11.                                                             of Article 4-11 makes no sense and would lead to
                                                                  absurd consequences. In another example, Building
Second, Building Materials argues that the arbitrator             Materials, in its reply to United Steelworkers's motion for
ignored the plain language of the Agreement when it               summary judgment, argues that the arbitrator's
interpreted Article 4-11 to create a right for Truesdell to       interpretation of "discharge for cause" in Article 4-11 is
an 18-month leave of absence before she could be                  incorrect because it is inconsistent with the proper
terminated. This objection [*14] begs the question. It            interpretation [*16] of Article 8-1, which gives Building
assumes that the arbitrator's interpretation of Article 4-        Materials an unqualified right to discharge an employee
11, which this Court must defer to, is incorrect. Indeed,         for cause. As Building Materials's briefing illustrates that
Building Materials discusses at length in its motion for          it is bringing this challenge on the merits, it must pay
summary judgment how Article 4-11 should not be                   United Steelworkers's attorneys' fees and costs.
interpreted to mandate leave but, when all is said and
done, does not point to any express provisions in Article         In response, Building Materials argues it is challenging
4-11 or elsewhere that contradict the arbitrator's                the arbitrator's authority and not the intrinsic merits of
interpretation on 18-month leave. This is a far cry from          the dispute. Building Materials contends that, in alleging
Southwest Airlines Co., where the arbitrator's decision           that the arbitrator is ignoring the plain meaning of the
that the effective date of the collective bargaining              Agreement and contradicting its express provisions,
agreement was the signing date was contradicted by                Building Materials is in fact arguing that the arbitrator is
express language in the collective bargaining                     exceeding its authority and essentially rewriting the
agreement stating the agreement shall "remain in full             agreement. If this were true, then Building Materials
force and effect as of the date of ratification . . . ."26        would be correct. But it is not true. Although Building
Thus, Building Materials has failed to show the                   Materials is careful to cloak its arguments as being
arbitrator's interpretation of the 18-month language              about the arbitrator ignoring the plain meaning of the
contradicts the express language of the Article 4-11 or           Agreement and its express provisions, the substance of
                                                                  its arguments speaks for itself. As noted above, Building
                                                                  Materials's arguments focus on disputing the arbitrator's
25 Exhibit B to Building Materials's Complaint at p.42-43 [Doc.

No. 1, Ex. B].

26 912 F.3d 838, 845-46 (emphasis added).                         27 Delek Ref., Ltd., 891 F.3d at 573.



                                                                                                          APFA App. 076
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                                               2020 U.S. Dist. LEXIS 37075, *16

interpretation of the Agreement and do not cite to any               United Steelworkers, if it seeks to recover attorneys'
express provision contradicting the arbitrator's decision.           fees, must submit a motion pursuant to Federal Rule of
Indeed, this is a clear case of Building [*17] Materials             Civil Procedure 54(d) within 14 days after the entry of
attempting to "transform [a merits] claim into an excess-            judgment, which is being entered alongside this order. If
of-powers-claim.28" As its briefing makes clear, Building            United Steelworkers chooses to file this motion, the
Materials is in one breath arguing "that the arbitrator              Court further requires United Steelworkers to submit
transcended his authority while in another it asserts"               evidence supporting its request for attorneys' fees and
that he wrongly interpreted the contract which,                      costs. For attorneys' fees, [*18] United Steelworkers
"necessarily touch[es] upon the 'intrinsic merits' of the            must itemize the hours spent with sufficient descriptive
case."29 Thus, Building Materials is bringing this                   detail of the work conducted as to this particular case,
challenge on the merits.                                             as well as submit a proffered reasonable hourly rate
                                                                     based on the relevant experience of the attorney
IV.
                                                                     conducting the work. Upon the filing of the motion,
Because this Court has found, as a matter of law, that               Building Materials will have 5 days to file a response
the arbitrator's decision and award flow from the                    should it choose to do so. Upon the filing of the
essence of the Agreement and that Building Materials                 response, United Steelworkers will have 5 days to file a
brought this challenge on the merits of the dispute, the             reply.31
Court hereby GRANTS United Steelworkers's motion for
                                                                     IT IS SO ORDERED this 3rd day of March, 2020.
summary judgment and request for attorneys' fees and
costs and DENIES Building Materials's motion for                     /s/ Brantley Starr
summary judgment.30
                                                                     BRANTLEY STARR

28 Delek
                                                                     UNITED STATES DISTRICT JUDGE
         Ref., Ltd., 891 F.3d at 574 (quoting Houston Ref.,
L.P., 765 F.3d at 412).

29 Delek Ref., Ltd., 891 F.3d at 574.                                  End of Document


30 The   Court notes Building Materials in its complaint also
argues the award should be vacated under the Texas
Arbitration Act and the Federal Arbitration Act. However,
Building Materials does not raise these arguments in its
motion for summary judgment or in any of its other briefing
related to the motions for summary judgment filings. As such,
the Court deems these arguments waived. Even if the Court
were to consider these arguments, they both fall flat. The
Texas Arbitration Act specifically excludes "a collective
bargaining agreement between an employer and a labor
union." Tex. Civ. Prac. & Rem. § 171.002(a)(1). Regarding the
Federal Arbitration Act, assuming it applies, "the Supreme
Court has made clear that district courts' review of arbitrators'
awards under [the Federal Arbitration Act] is limited to the 'sole
question . . . [of] whether the arbitrator (even arguably)
interpreted the parties' contract." BNSF R. Co. v. Alstom
Transp., Inc., 777 F.3d 785, 788 (5th Cir. 2015) (quoting
Oxford Health Plans LLC v. Sutter, 569 U.S. 564, 569, 133 S.
Ct. 2064, 186 L. Ed. 2d 113 (2013)) (alteration added). In
answering this question, the district court must look to the         31 Under § 205(a)(5) of the E-Government Act of 2002 and the

arbitration award and consider at least three factors: "(1)          definition of "written opinion" adopted by the Judicial
whether the arbitrator identifies her task as interpreting the       Conference of the United States, this is a "written opinion[]
contract; (2) whether she cites and analyzes the text of the         issued by the court" because it "sets forth a reasoned
contract; and (3) whether her conclusions are framed in terms        explanation for [the] court's decision." It has been written,
of the contract's meaning." Id. (citation omitted). This question    however, primarily for the parties, to decide issues presented
is disposed of in Section III of this order, which makes clear       in this case, and not for publication in an official reporter, and
that the arbitrator in his award was interpreting the Agreement.     should be understood accordingly.

                                                                                                           APFA App. 077
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Hampton v. Int’l Longshoreman’s Ass’n, 2017 U.S. Dist.
LEXIS 218154 at *5-6 (S.D. Tex. 2007).



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     Neutral
As of: July 11, 2022 5:59 PM Z


                      Hampton v. Int'l Longshoreman's Ass'n, Local 24
           United States District Court for the Southern District of Texas, Houston Division
                      October 27, 2017, Decided; October 27, 2017, Filed, Entered
                                      Civil Action No. H-16-2103


Reporter
2017 U.S. Dist. LEXIS 218154 *
ANTHONY C. HAMPTON, EDWARD J.
RICHARDS, and RICKY HENDERSON,                       ORDER
Plaintiffs, v. INTERNATIONAL
LONGSHOREMAN'S ASSOCIATION, LOCAL                    Pending before the Court is Defendant's
24, Defendant.                                       Motion for Summary Judgment (Document No.
                                                     20).   Having    considered    the    motion,
Prior History: Hampton v. Mar. Ass'n Int'l           submissions, and applicable law, the Court
Longshoreman Ass'n Pension Ret. Welfare &            determines the motion should be granted.
Vacation Funds, 2017 U.S. Dist. LEXIS 62726
(S.D. Tex., Apr. 25, 2017)
                                                     I. BACKGROUND
Core Terms
                                                     This is a suit for declaratory judgment.
fee agreement, summary judgment,                     Plaintiffs Anthony C. Hampton ("Hampton"),
nonmovant, genuine, abide, declaratory               Edward J. Richards ("Richards"), and Ricky
judgment, contractual, funds, allegations, hire      Henderson        ("Henderson")      (collectively,
                                                     "Plaintiffs") are members of Defendant
Counsel: [*1] For Anthony C. Hampton,                International Longshoreman's Association,
Edward J. Richards, Ricky Henderson,                 Local 24 ("Local 24"). Local 24 is a labor union
Plaintiffs: Reginald E McKamie, Sr, LEAD             for maritime workers, located in Houston,
ATTORNEY, Attorney at Law, Houston, TX.              Texas. The parties are bound by the
For ILA Local 24, Defendant: Eric H Nelson,          International Longshoremen's Constitution (the
Attorney at Law, Houston, TX; Billy Bruce            "Constitution"). This dispute arises from a
Johnson, Jr, Berg Feldman Johnson Bell, LLP,         Local 24 general union meeting, held on
Houston, TX.                                         November 6, 2013 (the "Meeting"). At the
                                                     Meeting, a motion was passed by a vote of
Judges: DAVID HITTNER, United States                 union members to hire a lawyer to investigate
District Judge.                                      a longshoremen's [*2] fund called the CR51
                                                     (the "Vote"). In connection with the Vote,
Opinion by: DAVID HITTNER                            Henderson located Reginald McKamie, Sr.

Opinion
                                                     1 The nature and details regarding the CR5 fund are not
                                                     relevant in this dispute.

                                           William W. Osborne                       APFA App. 079
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("McKamie"), an attorney. McKamie provided           specific facts showing there is a genuine
Henderson a fee agreement for Local 24 to            dispute for trial. See Fed. R. Civ. P. 56(c);
hire McKamie as Local 24's attorney (the "Fee        Matsushita Elec. Indus. Co. v. Zenith Radio
Agreement"). Henderson provided a copy of            Corp., 475 U.S. 574, 586-87, 106 S. Ct. 1348,
the Fee Agreement to Local 24's President,           89 L. Ed. 2d 538 (1986). "A dispute about a
T.L. Simon ("Simon"), to sign on behalf of           material fact is 'genuine' if the evidence is such
Local 24. Simon did not sign the Fee                 that a reasonable jury could return a verdict for
Agreement. Despite Simon's failure to sign the       the nonmoving party." Bodenheimer v. PPG
Fee Agreement, McKamie represented                   Indus., Inc., 5 F.3d 955, 956 (5th Cir. 1993)
Plaintiffs in an action, connected with the CRS      (citation omitted).
fund, in Galveston, Texas, in the United States
District Court for the Southern District of Texas    But the nonmoving party's bare allegations,
(the "Underlying Suit"). Final Judgment in the       standing alone, are insufficient to create a
Underlying Suit was entered against Plaintiffs       material dispute of fact and defeat a motion for
on July 14, 2017. Plaintiffs contend Local 24        summary judgment. Anderson v. Liberty
breached its contractual obligation under the        Lobby, Inc., 477 U.S. 242, 247-48, 106 S. Ct.
Constitution to abide by the Vote because            2505, 91 L. Ed. 2d 202 (1986). Moreover,
Simon did not sign the Fee Agreement or              conclusory allegations unsupported by specific
discuss the Fee Agreement with McKamie or            facts will not prevent an award of summary
Local 24 members.                                    judgment; the plaintiff cannot rest on his
                                                     allegations to get to a jury without any
Based on the foregoing, on July 15, 2016,            significant probative evidence tending to
Plaintiffs filed suit seeking a declaratory          support the complaint. Nat'l Ass'n of Gov't
judgment that the Vote requires Local 24 to          Emps. v. City Pub. Serv. Bd. of San Antonio,
pay the legal fees incurred in bringing the          40 F.3d 698, 713 (5th Cir. 1994). If a
Underlying Suit. On August 31, 2017, Local 24        reasonable jury could not return a [*4] verdict
moved for summary judgment. [*3]                     for the nonmoving party, then summary
                                                     judgment is appropriate. Liberty Lobby, Inc.,
                                                     477 U.S. at 248. The nonmovant's burden
II. STANDARD OF REVIEW                               cannot be satisfied by "conclusory allegations,
                                                     unsubstantiated assertions, or 'only a scintilla
Summary judgment is proper when "there is no
                                                     of evidence."' Turner v. Baylor Richardson
genuine dispute as to any material fact and the
                                                     Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007)
movant is entitled to a judgment as a matter of
                                                     (quoting Little v. Liquid Air Corp., 37 F.3d
law." Fed. R. Civ. P. 56(a). The court must
                                                     1069, 1075 (5th Cir. 1994)). Furthermore, it is
view the evidence in a light most favorable to
                                                     not the function of the court to search the
the nonmovant. Coleman v. Hous. Indep. Sch.
                                                     record on the nonmovant's behalf for evidence
Dist., 113 F.3d 528, 533 (5th Cir. 1997).
                                                     which may raise a fact issue. Topalian v.
Initially, the movant bears the burden of
                                                     Ehrman, 954 F.2d 1125, 1137 n.30 (5th Cir.
presenting the basis for the motion and the
                                                     1992). Therefore, "[a]lthough we consider the
elements of the causes of action upon which
                                                     evidence and all reasonable inferences to be
the nonmovant will be unable to establish a
                                                     drawn therefrom in the light most favorable to
genuine dispute of material fact. Celotex Corp.
                                                     the nonmovant, the nonmoving party may not
v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548,
                                                     rest on the mere allegations or denials of its
91 L. Ed. 2d 265 (1986). The burden then
                                                     pleadings, but must respond by setting forth
shifts to the nonmovant to come forward with
                                                     specific facts indicating a genuine issue for

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trial." Goodson v. City of Corpus Christi, 202 parties' intent and summary judgment is
F.3d 730, 735 (5th Cir. 2000).                   inappropriate. Id. However, a contract is not
                                                 ambiguous "merely because the parties to an
                                                 agreement proffer conflicting interpretations of
III. LAW & ANALYSIS                              a term." Gonzalez v. Denning, 394 F.3d 388,
                                                 392 (5th Cir. 2004). Thus, the Court must
Plaintiffs seek a declaratory judgment that the
                                                 determine whether the Constitution could
Vote requires Local 24 to pay the legal fees
                                                 reasonably [*6] be interpreted to bind Local
incurred in the Underlying Suit. A declaratory
                                                 24 to the Vote.
action does not create a cause of action. Collin
Cty., Tex. v. Homeowners Ass'n for Values The only provision at issue is provision five of
Essential to Neighborhoods, 915 F.2d 167, Part I of the Code of Ethics in the Constitution
171-72 (5th Cir. 1990). Thus, Plaintiffs must ("Provision Five"), which reads:
raise a genuine dispute of material fact on a        The       [International   Longshoremen's
cognizable breach of contract claim in order to      Association] and local unions shall ensure
sustain their request for declaratory judgment.      that their operations are conducted in a
Id. Local 24 contends there is no contractual        democratic and fair manner. Regularly
basis for requiring Local 24 to pay the legal        scheduled local union elections shall be
fees incurred in the Underlying Suit and moves       conducted by secret ballot. Corruption,
for summary [*5] judgment on Plaintiffs' suit        discrimination or anti-democratic practices
for declaratory judgment.                            shall not be tolerated.2
In support of Plaintiffs' request for declaratory    The parties' contentions turn on the meaning
relief, Plaintiffs contend Local 24 breached its     and applicability of the phrase "democratic and
contractual duty under the Constitution              fair manner" in Provision Five. "Democratic
because Local 24 failed to abide by the Vote         and fair manner" is not defined in the
when Simon did not sign the Fee Agreement            Constitution. Plaintiffs contend that because
and did not discuss the Fee Agreement with           the Vote was passed by a member vote at a
McKamie and Local 24 members. Local 24               general union meeting, and Provision Five
contends it did not breach a contractual duty        requires Local 24 to conduct its operations in a
because the Constitution does not require            democratic and fair manner, Provision Five
Local 24 to abide by a union meeting vote to         requires Local 24 to abide by the Vote and
hire a lawyer. An international union's              thus Simon's failure to sign the Fee Agreement
constitution is a binding contract between a         breached Local 24's obligation. Local 24
local union and its members. United Ass'n of         contends Provision Five cannot reasonably
Journeyman v. Local 334, United Ass'n of             require Local 24 to abide by the Vote because
Journeyman, 452 U.S. 615, 622, 101 S. Ct.            other provisions in the Constitution govern
2546, 69 L. Ed. 2d 280 (1981). Contract              Local 24's financial practices, including
interpretation is a matter of law. United            requiring Local 24 [*7] officers to act within
Paperworkers Int'l Union v. Champion Int'l           their fiduciary roles when making decisions to
Corp., 908 F.2d 1252, 1256 (5th Cir. 1990).          expend Local 24 funds.3
Traditional rules of contract interpretation are
applied when interpreting a union constitution,
as long as their application is consistent with      2 Defendant's Motion for Summary Judgment, Document No.

federal labor policies. Id. If a contract is         20, Exhibit 7 at 2.
susceptible to two reasonable interpretations,       3 Local 24 also contends (1) Local 24 was not authorized to

there is a genuine issue of fact as to the           sign the Fee Agreement because it concerned individual

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When interpreting a contractual provision,                        regarding hiring a service provider, such as a
"courts must examine and consider the entire                      lawyer. Thus, when making a decision to
writing and give effect to all provisions such                    expend Local 24 funds, Simon is required to
that none are rendered meaningless."                              ensure Local 24 funds will not be used for the
Gonzalez v. Denning, 394 F.3d 388, 392 (5th                       personal advantage of any union officer or
Cir. 2004). Thus, the Court must look at the                      representative. Specifically, when Simon was
entire Constitution to determine whether                          presented with the Fee Agreement, Simon had
Provision Five could reasonably be interpreted                    a duty to ensure that the Fee Agreement was
to require Local 24 to abide by the Vote. The                     in compliance with Local 24's financial
Constitution expressly states that Provision                      practices and that McKamie was properly
Five is meant to "supplement the obligations                      selected based solely on cost, quality,
already imposed on [Local 24]."4 Part III of the                  timeliness, location, and convenience.
Code of Ethics in the Constitution ("Part III"),
entitled "Financial Practices," instructs in                      Plaintiffs' interpretation that Provision Five
relevant part that Local 24 "should not permit                    requires Local 24 to abide by the Vote solely
any of its funds be invested or expended in a                     because the Vote was held at a union meeting
manner which results in the personal profit or                    would render Part III and Part V meaningless
advantage of any officer or representative of                     because such an [*9] interpretation would not
the union."5 Part III also states that union                      allow Local 24 to make the financial decision
members are to be reasonably informed on                          to hire a lawyer based on the duties imposed
how Local 24's funds are used. Further, Part V                    in Part III and Part V. The Court thus finds that
of the Code of Ethics in the Constitution ("Part                  Provision Five cannot reasonably be
V"), entitled "Business and Financial Activities                  interpreted to bind Local 24 to the Vote.
of Union Officials," specifically addresses that                  Therefore, the Court finds, as a matter of law,
service providers for Local 24 [*8] are to be                     Local 24 did not breach its contractual
"selected solely on the basis of cost, quality,                   obligation under the Constitution.7 Accordingly,
timeliness, location, convenience and whether                     Local 24's motion for summary judgment on
the [provider] is unionized. Knowingly paying                     Plaintiffs' suit for declaratory judgment is
excessive amounts for goods or services is a                      granted.
breach of fiduciary duty."6 Part III and Part V
instruct Local 24 officers how and when Local
                                                                  IV. CONCLUSION
24 funds may be expended and impose duties
on Local 24 officers when making decisions                        Based on the foregoing, the Court hereby

                                                                  ORDERS that Defendant's Motion for
members' financial interests; (2) that Plaintiffs' declaratory
relief is wasteful and futile; and (3) that Local 24 is not
                                                                  Summary Judgment (Document No. 20) is
obligated to pay the litigation costs in the Underlying Suit      GRANTED.
because the litigation costs were incurred voluntarily by
Plaintiffs. In light of the Court's holding, however, the Court   7 The   Court notes it is undisputed that Local 24's standard
need not address these contentions.
                                                                  procedure requires an expenditure of Local 24 funds to be
4 Defendant's Motion for Summary Judgment, Document No.           approved by both Local 24's Executive Board and members. It
20, Exhibit 7 at 1.                                               is also undisputed that neither the Fee Agreement nor the
                                                                  litigation costs in the Underlying Suit was approved by Local
5 Defendant's Motion for Summary Judgment, Document No.           24's Executive Board or members. Thus, even if Provision
20, Exhibit 7 at 2.                                               Five could reasonably be interpreted to bind Local 24 to the
                                                                  Vote, the Vote does not require Local 24 to pay the litigation
6 Defendant's Motion for Summary Judgment, Document No.           costs in the Underlying Suit because the expenditure was not
20, Exhibit 7 at 3.                                               approved pursuant to Local 24's standard procedure.

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The Court      will   issue   a   separate     Final
Judgment.

SIGNED at Houston, Texas, on this 27 day of
October, 2017.

/s/ David Hittner

DAVID HITTNER

United States District Judge


FINAL JUDGMENT

Because the Court has granted summary
judgment     for  Defendant       International
Longshoreman's Association, Local 24 on all
claims asserted in this lawsuit by Plaintiffs
Anthony C. Hampton, Edward J. Richards, and
Ricky Henderson (collectively, "Plaintiffs"), the
Court hereby

ORDERS that Plaintiffs' case is DISMISSED.

THIS IS A FINAL JUDGMENT.

SIGNED at Houston, Texas, on this 27 day of
October, 2017.

/s/ David Hittner [*10]

DAVID HITTNER

United States District Judge


 End of Document




                                             William W. Osborne                   APFA App. 083
